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      1                  UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO
      2                     EASTERN DIVISION
      3    IN RE: NATIONAL            )   MDL No. 2804
           PRESCRIPTION OPIATE        )
      4    LITIGATION,                )   Case No.
                                      )   1:17-MD-2804
      5                               )
           THIS DOCUMENT RELATES TO   )   Hon. Dan A.
      6    ALL CASES                  )   Polster
                                      )
      7
      8                            __ __ __
      9                    Thursday, January 10, 2019
                                   __ __ __
     10
               HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
     11                 CONFIDENTIALITY REVIEW
                               __ __ __
     12
     13
     14
     15           Videotaped Deposition of ROXANNE REED,
            held at 4206 South J.B. Hunt Drive, Rogers,
     16     Arkansas, commencing at 8:08 a.m., on the
            above date, before Debra A. Dibble, Certified
     17     Court Reporter, Registered Diplomate
            Reporter, Certified Realtime Captioner,
     18     Certified Realtime Reporter and Notary
            Public.
     19
     20
     21
                                      __ __ __
     22
                         GOLKOW LITIGATION SERVICES
     23                877.370.DEPS | fax 917.591.5672
                               deps@golkow.com
     24
     25

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                                                                             Review

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     20           Paul D. Morris
                  Senior Associate Counsel
     21           Walmart, Inc.
     22           THE VIDEOGRAPHER:
     23           Chris Ritona
                  GOLKOW LITIGATION SERVICES
     24
                                      __ __ __
     25

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      1
                                      I N D E X
      2
            ROXANNE REED                                                  PAGE
      3
               DIRECT EXAMINATION BY MR. BOWER                               9
      4
      5                          E X H I B I T S
      6          No.                  Description                         PAGE
      7        Walmart-       Roxanne Reed LinkedIn                        11
                 Reed 1       profile
      8
               Walmart-       Roxanne Reed Performance                      11
      9          Reed 2       Evaluations.
     10        Walmart-       January 2014 email chain.                     69
                 Reed 3       Subj: The raw data along
     11                       with questions.
                              WMT_MDL-000009635-9637.
     12
              Walmart-        1-30-14 email from                            70
     13         Reed 4        Aishwarya Shukla Subj:
                              Methodology for flagging of
     14                       store orders_30JAN.
                              WMT_MDL-000009629-9630 with
     15                       attachment.
     16        Walmart-       11/3/14 email from Roxy                     126
                 Reed 5       Reed to Maria Smith.
     17                       WMT_MDL_000048562-48598.
     18        Walmart-       November 2014 email. Subj:                  147
                 Reed 6       FW: Executive Summary for
     19                       October Scorecard.
                              WMT_MDL-000026982-26988.
     20
               Walmart-       12-3-14 email from Miranda                  154
     21          Reed 7       Johnson to Roxy Reed.
                              Subj: SOM - Archer.
     22                       WMT_MDL-000009489-9491.
     23        Walmart-       12-4-18 email from Roxy                     193
                 Reed 8       Reed to Miranda Johnson
     24                       Subj:
                              Step_2_Threshold_Calc.xlsx.
     25                       WMT_MDL_000029318-29319

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      1        Walmart-       12-23-14 email from Roxy                    205
                 Reed 9       Reed to Phyllis Harris.
      2                       Subj: H&W Compliance
                              Scorecard - November FY15.
      3                       WMT_MDL_000027994-27999.
               Walmart-       Friday, August 21, 2015                     219
      4         Reed 10       Jabber communication
                              between Kristy Spruell and
      5                       Roxy Reed.
                              WMT_MDL_000009035.
      6
               Walmart-       August 2015 email chain.                    226
      7         Reed 11       Subj: RE: Email
                              Notification of SOM Eval.
      8                       WMT_MDL_000008688-8689.
      9        Walmart-       8-18-15 email from Roxy                     252
                Reed 12       Reed. Subj: 6045 Threshold
     10                       File.
                              WMT_MDL_000053351-53352
     11                       with attachment.
     12        Walmart-       July 2015 email chain.                      267
                Reed 13       Subj: RE: Project ID 28098-
     13                       Wal-Mart - 62128 - Drug
                              Tracking.
     14                       WMT_MDL_000020529-20531.
     15        Walmart-       5-12-16 email chain. Subj:                  338
                Reed 14       [Updated] "SOM Eval - Add
     16                       CS schedule for Top 3 Docs"
                              WMT_MDL_000009030.
     17
               Walmart-       June 2016 email chain.                      343
     18         Reed 15       Subj: FW: SOM Cloud Data
                              Document - Current Version
     19                       ver. 1.3. 5-12-16 email
                              chain. Subj: [Updated]
     20                       "SOM Eval - Add CS schedule
                              for Top 3 Docs"
     21                       WMT_MDL_000009030.04624-
                              4626.
     22
               Walmart-       August 2017 email chain.                    359
     23         Reed 16       Subj: EXT: RE: SOM
                              Algorithm Score - 20.
     24                       WMT_MDL_000007071-7072.
     25

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      1        Walmart-       December 2017 email chain.                  368
                Reed 17       Subj: RE: Follow-up
      2                       Materials - Controlled
                              Substance Discussion.
      3                       WMT_MDL_000003598-3599.
               Walmart-       Subj: RE: SOM Talking                       375
      4         Reed 18       Points & FAQs Updated Jan.
                              5. WMT_MDL_000007350-7354.
      5
               Walmart-       January 2018 email chain.                   382
      6         Reed 19       Subj: Re: EXT: Suspicious
                              Order Reports.
      7                       WMT_MDL_000008865-8866.
      8        Walmart-       October 2015 email chain.                   387
                Reed 20       Subj: RE: Stores Needing
      9                       Threshold Evaluation.
                              WMT_MDL_000028865-28866.
     10
               Walmart-       Walmart U.S. Ethics &                       389
     11         Reed 21       Compliance Q3 Nominees.
                              WMT_MDL_000046435-46441.
     12
     13
     14
     15
            CERTIFICATE                                                  395
     16
            ERRATA                                                       397
     17
            ACKNOWLEDGMENT OF DEPONENT                                   398
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            LAWYER'S NOTES                                               399
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      1                            PROCEEDINGS
      2                        (January 10, 2019 at 8:08 a.m.)
      3                        THE VIDEOGRAPHER:          We are now
      4              on the record.         My name is
      5              Chris Ritona.         I'm the videographer
      6              for Golkow Litigation Services.
      7              Today's date is January 10, 2019.                 The
      8              time is approximately 8:08 a.m.                This
      9              video deposition is being held in
     10              Rogers, Arkansas at Mitchell Williams,
     11              4206 South J.B. Hunt Drive, Suite 200,
     12              in the matter of National Prescription
     13              Opiate Litigation, MDL No. 2804, Case
     14              No. 17-MD-2804.         U.S. District Court,
     15              Northern District of Ohio, Eastern
     16              Division.
     17                        The deponent today is
     18              Roxanne Reed.         The court reporter
     19              today is Debbie Dibble.             Counsel will
     20              now please -- will counsel note
     21              themselves for the stenographic
     22              record?
     23                        MS. FUMERTON:         Tara Fumerton on
     24              behalf of Walmart and the witness.
     25                        MR. McDONELL:         Jason McDonell,

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      1              Jones Day, also on behalf of Walmart
      2              and the witness.
      3                        MR. MORRIS:        Paul Morris from
      4              Walmart legal.
      5                        MR. FAIRLEY:        Carter Fairley on
      6              behalf of Cardinal.
      7                        MR. VO:      Caley Vo, Wright
      8              Lindsey & Jennings, on behalf of
      9              McKesson.
     10                        MR. INNES:       Michael Innes,
     11              Carella Byrne, on behalf of plaintiffs
     12              in the MDL.
     13                        MR. BOWER:       Zach Bower, also
     14              Carella Byrne, on behalf of plaintiffs
     15              in the MDL.
     16                        THE VIDEOGRAPHER:          Will the
     17              court reporter please swear in the
     18              witness.
     19                        (Telephonic interruption.)
     20                        THE VIDEOGRAPHER:          Anyone on
     21              the phone remotely, please identify
     22              yourselves for the record as well.
     23                        MR. MILLER:        Hi.    This is
     24              Jake Miller from Arnold & Porter on
     25              behalf of the Endo and Par defendants.

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      1                        MS. FREEL:       Hi, this is
      2              Angela Freel with Jackson Kelly on
      3              behalf of AmerisourceBergen Drug Corp.
      4                        MS. NOWAK:       This is
      5              Darlene Nowak for Marcus & Shapira, on
      6              behalf of HBC Services.
      7                           ROXANNE REED,
      8     having first been duly sworn, was examined
      9     and testified as follows:
     10                        DIRECT EXAMINATION
     11     BY MR. BOWER:
     12              Q.        Would you please state your
     13     full name and spell your last name for the
     14     record?
     15              A.        Roxanne Reed, R-E-E-D.
     16              Q.        And good morning, Ms. Reed.
     17     Thank you for being here today.
     18                        Have you ever given a
     19     deposition before?
     20              A.        I have not.
     21              Q.        Okay.     So just before we get
     22     started, we'll go over a few ground rules to
     23     hopefully make your day a little bit easier.
     24     Okay?
     25              A.        Okay.

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      1              Q.        First, and perhaps most
      2      important, is if I ask a question and you
      3      don't understand it, please let me know.
      4      Okay?
      5              A.        Okay.
      6              Q.        Okay.     So if you don't
      7      understand the question, I will try to
      8      rephrase it so that we can both be on the
      9      same page.       Okay?
     10              A.        Okay.
     11              Q.        If you do not let me know that
     12      you don't understand a question, I will
     13      assume that you do understand the question.
     14                        Do you understand that?
     15              A.        Yes.
     16              Q.        Also very important, if a
     17      question calls or an answer calls for a "yes"
     18      or "no," please provide a verbal answer and
     19      don't shake your head.            That way, the court
     20      reporter can take down your answer.                  Okay?
     21              A.        Okay.
     22              Q.        Any questions you have before
     23      we begin?
     24              A.        No.
     25              Q.        Is there any reason or anything

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      1      that would prevent you from testifying
      2      truthfully today?
      3              A.        No.
      4              Q.        And if you want to take a break
      5      at any time, please let us know and we'll do
      6      so.    I just ask that you would answer any
      7      question that's pending.
      8                        Do you understand that?
      9              A.        Okay.
     10              Q.        So when we get started, I'm
     11      going to give you a couple of documents to
     12      kind of get us started, which is going to be
     13      your annual performance review.                So that will
     14      help us kind of frame our discussion.
     15                        (Walmart-Reed Deposition
     16              Exhibit 1 was marked for
     17              identification.)
     18              Q.        (BY MR. BOWER)         I don't want
     19      this to be a guessing game here.                And also
     20      I'm going to give you your LinkedIn profile.
     21              A.        Okay.
     22                        (Walmart-Reed Deposition
     23              Exhibit 2 was marked for
     24              identification.)
     25              Q.        (BY MR. BOWER)         And you can

    Golkow Litigation Services                                             Page 11
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      1      certainly review those as we go throughout
      2      the day.      I don't have any questions on them
      3      right now.       I just wanted you to have them in
      4      case you need to refer to them.                Okay?
      5              A.        Okay.
      6              Q.        So I just want to start this
      7      morning with a bit of your background.
      8              A.        Okay.
      9              Q.        And kind of your earlier years
     10      at Walmart.
     11                        MS. FUMERTON:         And, Zach, just
     12              to make sure, this is going to be
     13              Exhibit 1?
     14                        MR. BOWER:        Yeah, sorry.
     15              That's important for the record.
     16              Thank you.
     17                        I believe that Exhibit 1 is
     18              your LinkedIn profile.             And Exhibit 2
     19              will be your performance review.
     20                        THE WITNESS:        Okay.
     21                        MR. BOWER:        Okay?
     22                        Thank you for that, Tara.
     23                        MS. FUMERTON:         And so you don't
     24              want her to take time to review this
     25              now.     We'll just have it.

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      1                        MR. BOWER:        She can review it
      2              as questions come up.            I just want her
      3              to have it there.           If she needs to
      4              refer to it, certainly do.              But
      5              there's no reason to review it at the
      6              moment.
      7                        MS. FUMERTON:         Okay.     Can I
      8              just at least let her, then, flip
      9              through the review just to see what's
     10              in it?
     11                        MR. BOWER:        Sure.
     12                        MS. FUMERTON:         I'm not sure she
     13              would understand -- this would even be
     14              helpful for a question.
     15              Q.        (BY MR. BOWER)         While you're
     16      doing that, are you able to see your
     17      performance reviews at Walmart?
     18              A.        Yes.
     19              Q.        So you've seen this document?
     20              A.        Yes.     We receive them when we
     21      actually do the review.
     22              Q.        Okay.     Yes, so why don't you
     23      flip through it and just familiarize yourself
     24      with it, and then we'll start at least
     25      briefly on kind of your early days at

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      1      Walmart.
      2              A.        Okay.
      3              Q.        Okay.     Thanks.      And certainly
      4      if I ask specific questions on this or you
      5      need to refer to it throughout the day,
      6      please do so --
      7              A.        Okay.
      8              Q.        -- okay?
      9                        So can you just describe
     10      briefly for us your -- any education that you
     11      received after high school?
     12              A.        Yes.     I went to Arkansas Tech
     13      University.       I have a major in chemistry and
     14      a minor in biology.
     15              Q.        Okay.     And then what did you do
     16      immediately after graduating from
     17      Arkansas Tech?
     18              A.        I worked for a water filtration
     19      company.      And then a liquor store part time.
     20              Q.        Okay.     And then you graduated
     21      in approximately 2006; is that correct?
     22              A.        Yes.     December 2006.
     23              Q.        Okay.     And then in 2007, you
     24      began working at Walmart; is that correct?
     25              A.        Yes.

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      1              Q.        And what was your first job at
      2      Walmart?
      3              A.        It was an optical contract
      4      coordinator.
      5              Q.        Can you just describe very
      6      briefly what that means?
      7              A.        Yes.     Walmart contracts with
      8      optometrists, and so I worked on the team
      9      that helped manage those leases with the
     10      optometrists.
     11              Q.        And those optometrists lease
     12      space in Walmart facilities?
     13              A.        Yes.
     14              Q.        And then what was your next job
     15      at Walmart?
     16              A.        It was an audit manager with
     17      health and wellness compliance.
     18              Q.        Can you just describe briefly
     19      what that means?
     20              A.        Yes.     We audited health and
     21      wellness compliance programs, things like our
     22      partial bill program and Medicaid
     23      tamper-resistant prescriptions.
     24              Q.        And that was from approximately
     25      October 2008 to April 2010?

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      1              A.        Yes.
      2              Q.        Okay.     And I'm referring to
      3      Exhibit 1, which is your LinkedIn profile.
      4              A.        Mm-hmm.      (Witness nods.)
      5              Q.        During that -- strike that.
      6                        In that position, did you have
      7      any involvement in Walmart's suspicious order
      8      monitoring?
      9              A.        No.
     10              Q.        Did you have any involvement in
     11      the distribution of Schedule II narcotics?
     12              A.        No.
     13              Q.        And then, what did you --
     14                        MR. MILLER:        I'm sorry, I
     15              apologize.        On the phone, I don't know
     16              if others can hear, but I can hear
     17              almost nothing.
     18                        MS. NOWAK:        Same here.
     19                        MR. BOWER:        All right.       Well,
     20              why don't we go off the record for a
     21              moment and we'll try to rearrange the
     22              phone.
     23                        THE VIDEOGRAPHER:           8:15.     We
     24              are off the video record.
     25                        (Recess taken, 8:16 a.m. to

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      1              8:16 a.m.)
      2                        THE VIDEOGRAPHER:           8:17.     We
      3              are on video record.
      4              Q.        (BY MR. BOWER)         All right.
      5      Let's continue where we left off, then.
      6                        After your position as a health
      7      and wellness audit manager, what was your
      8      next position at Walmart?
      9              A.        It was a systems manager in
     10      health and wellness compliance.
     11              Q.        And what -- how did your duties
     12      and responsibilities change with that change
     13      in title?
     14              A.        I started focusing more on data
     15      and analytics, and system-related things,
     16      databases, queries, that kind of thing.
     17                        Oh, I guess technically the
     18      next position was a compliance analyst.
     19      Sorry, I skipped a position.
     20              Q.        That's fine.        That's why I
     21      wanted to supply this, to kind of make sure
     22      we get it right.
     23              A.        Yes.
     24              Q.        So the compliance analyst
     25      position was before the systems manager; is

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      1      that correct?
      2              A.        Yes.
      3              Q.        And you held the compliance
      4      analyst position for approximately three and
      5      a half years?
      6              A.        Yes.
      7              Q.        Okay.     And then just briefly,
      8      what did you do as a health and wellness
      9      compliance analyst?
     10              A.        I created databases, created
     11      reports, pulled data.            Anything data and
     12      analytics-related.
     13              Q.        And just generally, what do you
     14      mean by "analytics"?
     15              A.        So any kind of reports that
     16      they needed.        If -- for audit purposes, if we
     17      needed to pull data and then find trends and
     18      see if some -- find out why or -- it's that
     19      kind of thing.
     20              Q.        And who would ask you to pull
     21      this data?
     22                        MS. FUMERTON:         Objection to
     23              form.
     24                        MR. BOWER:        I'll strike that.
     25              Q.        (BY MR. BOWER)         Your answer

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      1      referred to reports that they needed.
      2              A.        Yes.
      3              Q.        Who is the "they"?
      4              A.        Our team supported all of
      5      health and wellness compliance.                So requests
      6      could come from billing compliance.                  Anything
      7      billing-related.          It could come from the
      8      audit team.       Practice compliance.            HIPAA.
      9                        I worked most often with HIPAA
     10      in the 2010 through 2013 frame.
     11              Q.        And just generally -- well,
     12      maybe for the record, what do you mean by
     13      "HIPAA"?
     14              A.        HIPAA is our privacy team,
     15      Health Information Protection.
     16              Q.        And just --
     17              A.        Yeah.
     18              Q.        -- at a very high level, what
     19      would you do for those HIPAA requests?
     20              A.        So I built the database that
     21      they used to manage potential breaches if
     22      somebody in a pharmacy received information
     23      that wasn't their own.
     24              Q.        Can you just describe what that
     25      means?     What do you mean when you say "I

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      1      built the database that" used -- that "was
      2      used to manage potential breaches"?
      3              A.        So I built a database that the
      4      team used to track when -- when a breach
      5      occurred.       So if a patient received another
      6      patient's pamphlet that had their name on it,
      7      that would be a potential HIPAA breach.
      8                        And I built the database that
      9      managed that.        It did some risk scoring.              It
     10      helped create a notification letter, if
     11      needed.      And then tracked whether the OCR was
     12      notified of those incidents.
     13              Q.        And what is an OCR?
     14              A.        The -- I don't know what the
     15      exact acronym stands for.
     16              Q.        Okay.     What does --
     17              A.        It's a regulatory agency.
     18              Q.        Okay.     Thank you.
     19                        And what do you mean by "risk
     20      scoring"?
     21              A.        It was a way for the team to
     22      identify what information was potentially
     23      released, and then the risk of that
     24      information being used inappropriately.
     25              Q.        And how would you determine

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      1      what the risk was?
      2              A.        That was not me.          I built the
      3      database.       And so there were multiple factors
      4      that went into -- went into that, including
      5      things like what is the Social Security
      6      number involved, and what the potential harm
      7      to the patient would be if that information
      8      were released.
      9              Q.        Okay.     So someone else provided
     10      you with that information.              You simply built
     11      into a database; is that correct?
     12              A.        Yes.     Yes.
     13              Q.        I'm sorry, another instruction
     14      I should have given is -- I apologize I
     15      didn't.      Just please -- I know it's difficult
     16      sometimes -- let me finish my question.
     17              A.        Sorry.
     18              Q.        So the -- just to make it easy
     19      on the court reporter so that she can take
     20      down the question, then your answer, and give
     21      your attorney an opportunity to object.
     22      Okay?
     23                        MS. FUMERTON:         Yes.    You're
     24              both actually starting to interrupt
     25              each other a little bit, so just slow

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      1              it down a little bit to make sure he's
      2              finished, and then if you could also
      3              do the same, make sure she's finished.
      4              Q.        (BY MR. BOWER)         And then when
      5      did you first become in Walmart's suspicious
      6      order monitoring program?
      7              A.        So I officially started working
      8      with the suspicious order monitoring program
      9      in July of 2015, when I moved into the senior
     10      analyst of controlled substances position.
     11              Q.        Okay.     And you're referring
     12      now, if we look at Exhibit 1, your LinkedIn
     13      page, the one at the top there, senior
     14      analyst, "Health and Wellness Controlled
     15      Substances"?
     16              A.        Yes.
     17              Q.        I want to take a step back,
     18      though, before we get there.               So if we look
     19      at Exhibit 2, okay?           If you note there on the
     20      first page, work with -- at the bottom of the
     21      first page, "Work with Mu Sigma."
     22                        Do you see that?
     23              A.        Yes.
     24              Q.        And it's "Work with Mu Sigma on
     25      the delivery of their rolling 30-60-90 day

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      1      plan to achieve analytic objectives for the
      2      roadmap for Q1."          Do you see that?
      3              A.        Yes.
      4              Q.        Was that in connection with
      5      Walmart's SOM algorithm?
      6              A.        No, sir.
      7              Q.        What was that in connection
      8      with?
      9              A.        That was with our metrics for
     10      compliance programs and Tableau dashboards
     11      that were created as a result of that.
     12              Q.        Is Mu Sigma a third party?              Or
     13      is it part of Walmart?
     14              A.        A third party.
     15              Q.        Did Mu Sigma also assist in
     16      Walmart's -- strike that.
     17                        Did you also work with Mu Sigma
     18      in connection with thresholds for -- in
     19      connection with Walmart's SOM program?
     20                        MS. FUMERTON:         Objection, form.
     21              Q.        (BY MR. BOWER)         At any time,
     22      then.
     23                        MS. FUMERTON:         Objection, form.
     24              And if I object, unless I instruct you
     25              not to answer, you still go ahead and

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      1              answer his question.
      2                        THE WITNESS:        Okay.
      3                        MS. FUMERTON:         He may or may
      4              not rephrase it.          He may just ask you
      5              to answer as stated.
      6                        THE WITNESS:        Okay.
      7                        I did not.
      8              Q.        (BY MR. BOWER)         Okay.     Did
      9      anyone in Walmart perform that function at
     10      any time?
     11                        MS. FUMERTON:         Objection, form.
     12                        THE WITNESS:        So did anybody
     13              work with Mu Sigma?
     14              Q.        (BY MR. BOWER)         In connection
     15      with Walmart's SOM, yes.
     16              A.        Yes.     My understanding is
     17      Walmart did work with Mu Sigma.
     18              Q.        Okay.     Do you know who would
     19      have done that work with Mu Sigma?
     20              A.        Kristy Spruell.
     21              Q.        Do you have any knowledge as to
     22      when that work may have been done?
     23              A.        I do not.
     24              Q.        Was it already underway when
     25      you -- in July of 2015?

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      1              A.        When I joined the team, we were
      2      no longer using Mu Sigma.
      3              Q.        So when you joined the team in
      4      July of 2015, the thresholds that Mu Sigma
      5      had worked on with Kristy were no longer in
      6      place; is that correct?
      7                        MS. FUMERTON:         Objection, form.
      8                        THE WITNESS:        That is not
      9              correct.
     10              Q.        (BY MR. BOWER)         Okay.     What --
     11      how would you correct that statement?
     12              A.        So Mu Sigma was no longer
     13      involved in the process.             Thresholds were
     14      most definitely in place.
     15              Q.        Okay.     So when you started
     16      working on the team in July 2015, the
     17      thresholds that Mu Sigma was involved in were
     18      still in place in connection with monitoring
     19      for controlled substances; is that correct?
     20                        MS. FUMERTON:         Objection, form.
     21                        THE WITNESS:        When I started
     22              working on the team, thresholds were
     23              being used and we were developing
     24              thresholds for the other DCs.
     25              Q.        (BY MR. BOWER)         And when you

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      1      say "thresholds were being used," are you
      2      referring to thresholds for DC 6045?
      3              A.        I'm not sure which DC was in --
      4      was rolled out in July of 2015.
      5              Q.        So as you sit here today --
      6      strike that.
      7                        When you began work on
      8      controlled substances in July 2015, were
      9      thresholds in place at DC 6045?
     10                        MS. FUMERTON:         Objection, form.
     11                        MR. BOWER:        What's the nature
     12              of that objection?
     13                        MS. FUMERTON:         It's unclear
     14              from your question whether you're
     15              talking about any thresholds at all or
     16              the thresholds that you were asking
     17              questions about that Mu Sigma worked
     18              in.
     19                        MR. BOWER:        You can answer.
     20                        THE WITNESS:        Okay.     I know
     21              DC 6045 had thresholds.             The enhanced
     22              Reddwerks thresholds that were being
     23              implemented at that time, I don't know
     24              the exact roll-out schedule as we sit
     25              here right now.

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      1              Q.        (BY MR. BOWER)           Okay, but my
      2      question is a little bit simpler.                 I just
      3      want to know whether thresholds were already
      4      in place at 6045 when you began working in
      5      controlled substances in July of 2015.
      6                        MS. FUMERTON:         Objection, form.
      7                        THE WITNESS:        There were the
      8              original thresholds in place.
      9                        MR. BOWER:        Okay.     Thank you.
     10              Q.        (BY MR. BOWER)         And who worked
     11      on those original thresholds, if you know?
     12              A.        I do not know.
     13              Q.        How did you familiarize
     14      yourself in July of 2015 as to the thresholds
     15      process?
     16                        MS. FUMERTON:         Objection, form.
     17                        THE WITNESS:        Which threshold
     18              process?
     19              Q.        (BY MR. BOWER)         Okay.     Well,
     20      that's a fair point.
     21                        When you began work on
     22      controlled substances in July of 2015, was
     23      there more than one threshold process in
     24      place?
     25                        MS. FUMERTON:         Objection, form.

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      1                        THE WITNESS:        The existing
      2              process was in place.            I didn't learn
      3              a whole lot about that as we were
      4              updating and enhancing Reddwerks to
      5              updated thresholds.
      6                        And as far as the new
      7              thresholds, I had worked with Kristy
      8              earlier, in my previous role, to help
      9              create the database that created
     10              those.
     11              Q.        (BY MR. BOWER)         In order to
     12      work on the new thresholds, did you have to
     13      have an understanding as to what the existing
     14      thresholds were?
     15                        MS. FUMERTON:         Objection, form.
     16                        THE WITNESS:        No.
     17              Q.        (BY MR. BOWER)         Did the
     18      updating or new threshold project that you
     19      were working on take into account the old
     20      threshold or was it a completely new way of
     21      calculating thresholds?
     22                        MS. FUMERTON:         Objection, form.
     23                        THE WITNESS:        It was an updated
     24              way of calculating thresholds and
     25              using thresholds.           I don't know enough

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      1              about how the original thresholds were
      2              set up or used to speak to them.
      3              Q.        (BY MR. BOWER)         All right.
      4      Well, let me try to ask it a different way,
      5      then.
      6                        When you say it was "an updated
      7      way," what do you mean?
      8              A.        It was a new way.           I don't know
      9      what the existing -- the previous way was,
     10      but we were using the Reddwerks system in a
     11      way that was different.             In my understanding,
     12      there were some things updated and we used
     13      the data, the past data to create an
     14      individual threshold.
     15              Q.        Okay.     And we'll talk about, I
     16      guess, these new or updated thresholds in a
     17      moment.      I just want to circle back for a
     18      moment when you said you had worked with
     19      Kristy earlier in a previous role to help
     20      create a database for those older thresholds.
     21                        What does that mean?
     22              A.        So the order data is a lot of
     23      data, and Excel can't handle that many rows
     24      of data, especially in 2013.               Walmart was a
     25      couple Excel versions behind, and so it just

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      1      couldn't handle the amount of data.                  And so
      2      Access was used to do the math.
      3              Q.        And what was your role, or what
      4      did you do with respect to the old
      5      thresholds?
      6                        MS. FUMERTON:         Objection, form.
      7                        MR. MILLER:        I'm sorry to
      8              interrupt again.          This is Jake Miller
      9              on the phone.         I can hear virtually
     10              nothing any longer.
     11                        MR. BOWER:        All right.       Well
     12              let's go off the record.
     13                        THE VIDEOGRAPHER:           8:31.     We
     14              are off the video record.
     15                        (Recess taken, 8:31 a.m. to
     16              8:33 a.m.)
     17                        THE VIDEOGRAPHER:           8:34.     We
     18              are on the video record.
     19              Q.        (BY MR. BOWER)         So let's try to
     20      pick back up where we left off.                And I think
     21      I asked a poor question, so let me ask a
     22      different question.
     23                        Your testimony was that Walmart
     24      was a couple of Excel versions behind, so it
     25      just couldn't handle the amount of data.                     So

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      1      Access was used to do the math.                Can you
      2      describe what that means?
      3              A.        Yes.     So with the thresholds,
      4      we used past order data.             And so for each
      5      store and drug, we had a certain number of
      6      weeks.     I don't remember the exact number of
      7      weeks that we went back -- history that were
      8      used to calculate the threshold.                And so when
      9      we have 5,000 stores, as many controlled
     10      substance items as we had, and then weeks'
     11      worth of history, it was more than the number
     12      of rows that Excel could handle.                And Access
     13      doesn't have a limit for records.                 And so I
     14      used Access to do the math that was done to
     15      calculate the thresholds.
     16                        And then that was exported back
     17      into Excel.
     18              Q.        And approximately in what time
     19      period did this work occur?
     20              A.        2014.
     21              Q.        And when you say -- I just want
     22      to make sure that throughout the day your --
     23      our time periods are aligning up.                 When you
     24      say "2014," are you talking about the year
     25      2014?

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      1              A.        Yes.
      2              Q.        Or fiscal year 2014?
      3              A.        No, the year 2014.
      4              Q.        So that would have been
      5      Walmart's fiscal year 2015?
      6              A.        Yes.
      7              Q.        And as we go today, just
      8      generally speaking, when you refer to a year,
      9      you're referring to the actual year, not the
     10      fiscal year; correct?
     11              A.        The majority of the time, yes.
     12              Q.        And I understand it's
     13      difficult, just if you're not -- if you're
     14      referring to fiscal year, please just let us
     15      know so we can have an accurate timeline.
     16              A.        Yeah.     I'll typically say
     17      fiscal year, because my brain doesn't work in
     18      fiscal years.
     19                        MS. FUMERTON:         And I would just
     20              ask the same courtesy.             If you're
     21              talking fiscal year, obviously to make
     22              that clear as opposed to calendar
     23              year.
     24                        MR. BOWER:        Yep.    Absolutely.
     25              Thank you.

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      1              Q.        (BY MR. BOWER)         In part of your
      2      answer you say, "And so I used Access to do
      3      the math that was done."             Do you know what
      4      math was done?
      5              A.        Yes.     The order history for
      6      each store and item, the average was
      7      calculated and then the standard deviation.
      8              Q.        And this was done on a -- I
      9      just want to be sure -- on an item number; is
     10      that correct?
     11              A.        Yes.
     12              Q.        And is that the same as an NDC
     13      number?
     14              A.        It's not the same, but they are
     15      related.
     16              Q.        And how are they related?
     17              A.        The item is the Walmart item
     18      number.      The NDC is the national drug code
     19      not set by Walmart.
     20                        So each item only -- it's a
     21      one-to-one relationship.
     22              Q.        Thank you.        That was going to
     23      be my next question.           And for every item
     24      there is a one-to-one relationship; is that
     25      correct?

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      1              A.        Yes.
      2              Q.        So let's just break that down a
      3      little bit more, if we can.              Your statement
      4      was, "The order history for each store, an
      5      item" -- "for each store and item, the
      6      average was calculated and then the standard
      7      deviation."
      8                        So on the first step, how was
      9      the average calculated back in 2014?
     10              A.        How was the average calculated?
     11              Q.        Yes.
     12              A.        An Access formula that took the
     13      average of the store item orders.
     14              Q.        And for how long would it look
     15      back to determine that average in 2014?
     16              A.        I don't remember the exact
     17      number of weeks.
     18              Q.        Do you remember the approximate
     19      number of weeks it would consider?
     20              A.        I do not.
     21              Q.        Okay.     And let me just try to
     22      make it hopefully a little easier for you.
     23      I've seen four weeks throughout the
     24      documents.       Do you recall whether there was
     25      ever a different average looked at than a

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      1      four-week average?
      2                        MS. FUMERTON:         Objection, form.
      3                        MR. BOWER:        And if you don't
      4              recall, that's fine.            I don't want to
      5              make this a test.           We can look at
      6              documents as we go through today to
      7              maybe put a finer point on that.
      8                        THE WITNESS:        I don't recall.
      9              Q.        (BY MR. BOWER)         Do you recall
     10      how the standard deviation was calculated?
     11              A.        The Access formula for standard
     12      deviation.
     13              Q.        And who would have provided
     14      that formula to Access?
     15                        MS. FUMERTON:         Objection, form.
     16                        THE WITNESS:        So I programmed
     17              the formula into Access, the preset
     18              Access formula.          I did not, like,
     19              enter in manually the standard
     20              deviation formula.           I used the preset
     21              standard deviation, but as far as --
     22              so is that your question?
     23              Q.        (BY MR. BOWER)         Well, in
     24      order -- what do you -- I'll strike that.
     25                        Yes, that's my question.              And I

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      1      appreciate your answer.
      2                        So in your answer you say you
      3      programmed a formula into Access.                 Correct?
      4              A.        Yes.
      5              Q.        Was that a formula that you
      6      yourself came up with or did someone provide
      7      you with a formula to program?
      8                        MS. FUMERTON:         Objection, form.
      9                        THE WITNESS:        So the standard
     10              deviation function is built within
     11              Access.      It's a preset formula that
     12              you pick standard deviation, and then
     13              select which fields you want to
     14              calculate the standard deviation for.
     15              Q.        (BY MR. BOWER) Okay.            So in
     16      2014, the Access was programmed to run the
     17      standard deviation for the field that was
     18      populated with the average; is that correct?
     19                        MS. FUMERTON:         Objection, form.
     20                        THE WITNESS:        So it was doing
     21              the standard deviation of the order
     22              data.     There is an average calculated
     23              and then the standard deviation.
     24                        So it's -- the standard
     25              deviation is for each column -- or for

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      1              each row, the deviation from the
      2              average.
      3              Q.        (BY MR. BOWER)         Okay.     That's
      4      helpful.      And when you say "the deviation
      5      from the average," you mean how that order
      6      for that item differed from the average;
      7      correct?
      8                        MS. FUMERTON:         Objection, form.
      9                        THE WITNESS:        So it's -- the
     10              standard deviation would be the
     11              difference.        So if you have a set of
     12              ten numbers that are used to calculate
     13              the average, what the standard
     14              deviation is from those numbers from
     15              the average.
     16              Q.        (BY MR. BOWER)         And I'm just
     17      trying to figure out what number is reflected
     18      in that column in Access that was exported to
     19      Excel.     Is that the standard deviation or is
     20      that the difference between the standard
     21      deviation and that item order number?
     22                        MS. FUMERTON:         Objection, form.
     23                        THE WITNESS:        So are you asking
     24              for what the threshold was that was
     25              exported?

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      1                        MR. BOWER:        Yes.
      2                        THE WITNESS:        Okay.     That
      3              answer is the average plus three
      4              standard deviations.
      5              Q.        (BY MR. BOWER)         And that was
      6      the case while you were working on this
      7      database in 2014; correct?
      8              A.        Yes.
      9                        MS. FUMERTON:         Objection, form.
     10                        THE WITNESS:        Yes.
     11              Q.        (BY MR. BOWER)         And do you
     12      know, back in 2014, who determined that would
     13      be how the threshold was calculated?
     14                        MS. FUMERTON:         Objection, form.
     15                        THE WITNESS:        I don't know who
     16              was involved in the decision to use
     17              that -- that calculation.
     18              Q.        (BY MR. BOWER)         Other than, I
     19      believe you mentioned -- was it Kristy
     20      Spruell --
     21              A.        (Witness nods.)
     22              Q.        -- who asked you to help with
     23      the creation or work with Access; is that
     24      correct?
     25              A.        Yes.

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      1              Q.        Other than Ms. Spruell, are you
      2      familiar with anyone else who worked on that
      3      project?
      4                        MS. FUMERTON:         Objection, form.
      5                        THE WITNESS:        Yes.
      6              Q.        (BY MR. BOWER)         Okay.     Who were
      7      those folks?
      8              A.        So I know Miranda Johnson
      9      worked on the project.
     10              Q.        Okay.     So let's go back to the
     11      LinkedIn profile.          Take a -- finish up the
     12      time before you worked as a senior analyst in
     13      the health and wellness controlled substance.
     14                        So going back to your work as
     15      health and wellness compliance analyst from
     16      April 2010 to September 2013.
     17                        Do you see that?
     18              A.        Yes.
     19              Q.        What data would you analyze for
     20      health and wellness compliance?
     21                        MS. FUMERTON:         Objection, form.
     22                        THE WITNESS:        I was supporting
     23              all of health and wellness compliance
     24              at that time.         Most often in that
     25              timeframe, I was helping the HIPAA

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      1              team or the billing compliance team.
      2              Q.        (BY MR. BOWER)         And what data
      3      would you use?
      4                        MS. FUMERTON:         Objection, form.
      5                        THE WITNESS:        So with the HIPAA
      6              team, we were looking at breach
      7              information.        So anything regarding
      8              somebody inappropriately getting
      9              somebody else's information.
     10                        With the billing team, it would
     11              be billing data, dispensing data and
     12              including the billing information.
     13              Q.        (BY MR. BOWER)         Okay.     And
     14      where would you access that billing and
     15      dispensing data?
     16                        MS. FUMERTON:         Objection, form.
     17                        THE WITNESS:        So the billing
     18              and dispensing data came from
     19              Teradata.       Or if I wasn't pulling the
     20              data out, there's a system we used
     21              called Super Putty that allows you to
     22              log into kind of the background and
     23              see transactions.
     24              Q.        (BY MR. BOWER)         And that is
     25      called, you said, Super Putty; is that

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      1      correct?
      2              A.        Yes.
      3              Q.        Does Super Putty access the
      4      Teradata database or some other database?
      5              A.        It's not Teradata.           I don't
      6      know which database it's -- what database
      7      it's hitting.
      8              Q.        Is the data that's accessed by
      9      Super Putty different than the data in
     10      Teradata?
     11              A.        No.
     12              Q.        So what would be the reason to
     13      access Super Putty instead of Teradata?
     14              A.        It allows you to see one
     15      prescription in kind of a step-by-step form
     16      so you can log in and see the prescription.
     17      And then you can log in and see the fill
     18      history, and you can log in and see the
     19      billing, without having to run all of those
     20      different queries.          There's just commands
     21      given.
     22              Q.        And I keep wanting to say
     23      "Silly Putty."         Was Super Putty a third-party
     24      database or was it --            or information source
     25      or was it in-house at Walmart?

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      1              A.        Oh, no.
      2                        MS. FUMERTON:         Objection, form.
      3                        Excuse me.        Again, so just give
      4              me, again, a little --
      5                        THE WITNESS:        Sorry.
      6                        MS. FUMERTON:         Once I stop
      7              objecting, you guys start going
      8              faster, so I feel like I keep
      9              getting -- but, yes, just give me a
     10              second to object.
     11                        THE WITNESS:        No, it was
     12              in-house.       All of our databases that
     13              house pharmacy information, dispensing
     14              pharmacy information, are internal.
     15              And so this is just -- and I don't
     16              know if Silly Putty is a Walmart -- or
     17              Silly Putty -- sorry.            Super Putty is
     18              a Walmart-developed application or if
     19              it was another application that
     20              Walmart uses.         I don't know the answer
     21              to that.
     22                        MR. BOWER:        Okay.
     23              Q.        (BY MR. BOWER)         Are you
     24      familiar with any data bases at any time
     25      while you've been at Walmart that has data

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      1      that is not Walmart-specific?
      2                        MS. FUMERTON:         Objection --
      3                        MR. BOWER:        For example -- let
      4              me finish and then you can --
      5                        MS. FUMERTON:         Yeah.
      6              Q.        (BY MR. BOWER)         For example,
      7      you mentioned dispensing information.                   Do any
      8      of Walmart's databases have dispensing
      9      information from pharmacies that are not
     10      Walmart or Sam's Club pharmacies?
     11                        MS. FUMERTON:         Objection, form.
     12                        THE WITNESS:        No.
     13              Q.        (BY MR. BOWER)         Have you been
     14      involved in any discussions regarding whether
     15      Walmart should have access to any type of
     16      data that is not Walmart-specific data?
     17                        MS. FUMERTON:         I'm going to
     18              object to the question just in case
     19              it -- I don't know that it would --
     20              involves communications with legal.
     21              But if it's communications outside of
     22              legal --
     23                        MR. BOWER:        No, it's a
     24              yes-or-no question.           It doesn't call
     25              for legal advice.

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      1                        MS. FUMERTON:         You and I have
      2              talked about this before.              "Yes" or
      3              "no" question can sometimes invade
      4              attorney-client privilege.              I'm not
      5              saying whether this does.              I'm just
      6              cautioning the witness that if she had
      7              conversations with counsel about a
      8              specific topic, not to answer those
      9              communications.          It goes to the level
     10              of detail.
     11                        So as I said, this may not be
     12              an issue, but you can go ahead and
     13              answer the question as long as it's
     14              not going to reveal your
     15              communications with counsel.
     16                        THE WITNESS:        No.
     17              Q.        (BY MR. BOWER)         Have you ever
     18      had any conversations with Walmart's counsel
     19      regarding the need to access data that is not
     20      housed at Walmart?
     21              A.        No.
     22                        MS. FUMERTON:         Objection.       I
     23              was going to say the same objection.
     24              Q.        (BY MR. BOWER)         So in your
     25      LinkedIn profile, you state, "Analyze data

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      1      for health and wellness compliance."
      2                        What does that refer to?              What
      3      does "compliance" there refer to?
      4              A.        So health and wellness
      5      compliance is a team.            And it's a subset of
      6      our corporate compliance organization.
      7              Q.        Okay.     And during this time
      8      period, April 2010 to September 2013, what
      9      was the scope of that compliance work?
     10                        MS. FUMERTON:         Objection, form.
     11              Q.        (BY MR. BOWER)         What were you
     12      trying to comply with?
     13                        MS. FUMERTON:         Same objection.
     14                        THE WITNESS:        I was working on
     15              multiple projects, helping support the
     16              entire health and wellness compliance
     17              organization.         What the organization's
     18              goals were, and the exact rules that
     19              they were complying to, I wouldn't
     20              have insight into those specifics.
     21              Q.        (BY MR. BOWER)         Other than what
     22      we've discussed today, did you have any other
     23      involvement in analyzing data for diversion
     24      on or before September 2013?
     25                        MS. FUMERTON:         Objection, form.

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      1                        MR. BOWER:        I'll strike that.
      2              Q.        (BY MR. BOWER)         Did you have
      3      any involvement or any discussions regarding
      4      analyzed diversion data prior to
      5      September 2013?
      6                        MS. FUMERTON:         Objection, form.
      7                        THE WITNESS:        So in this
      8              timeframe -- I don't know the exact --
      9              whether it was 2013, early '14, maybe
     10              even 2012 -- I did work with our
     11              global investigations team that works
     12              with diversion.          And in my mind, our
     13              Walmart term of "diversion" is
     14              associates leaving inappropriately
     15              with pills.        And so I worked with our
     16              global investigations diversion
     17              investigators on projects
     18              periodically.
     19              Q.        (BY MR. BOWER)         And do you
     20      recall anything specific about those projects
     21      as you sit here today?
     22              A.        I know I helped with queries.
     23      I know we had one where there was some
     24      billing fraud happening with a pharmacist,
     25      and so trying to identify those

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      1      prescriptions.         But other than that, it was
      2      just kind of general Teradata query-type
      3      help.
      4              Q.        And what would be an example of
      5      a type of query you would run in connection
      6      with this work on diversion?
      7              A.        So looking at what was
      8      dispensed, and then they could use that to
      9      look for dummy names, you know, that kind of
     10      thing.     And then also looking at the -- at
     11      our point of sale, POS information, to see if
     12      something was filled, was it sold, making
     13      sure it had a corresponding sold record.
     14              Q.        And who from global
     15      investigations would you work with?                  If you
     16      can recall their names.
     17              A.        Greg Beam was the head of that
     18      team, and there were multiple investigators
     19      that I worked with along the way.
     20              Q.        Can you recall any of their
     21      names as you sit here today?
     22              A.        John Oldfather, Kathy Stowe.
     23      Those are the two that I recall.                I know
     24      there's definitely more of them.
     25              Q.        Okay.     Thank you.        I appreciate

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      1      that.
      2                        Other than what we've discussed
      3      today, did you have any involvement in
      4      Walmart's suspicious order monitoring program
      5      prior to September 2013?
      6                        MS. FUMERTON:         Objection, form.
      7                        THE WITNESS:        No.
      8              Q.        (BY MR. BOWER)         Who was your
      9      supervisor in 2013?
     10              A.        Casey Campbell.
     11              Q.        And then was Casey also your
     12      supervisor when you became the health and
     13      wellness Systems Manager II?
     14              A.        Yes.
     15              Q.        How did the change from health
     16      and wellness compliance analyst to health and
     17      wellness Systems Manager II impact your
     18      duties and responsibilities?
     19              A.        So it was an in-seat promotion.
     20      So I was doing the same job, just some
     21      expanded responsibilities, including more
     22      Archer, taking over some of the Tableau
     23      dashboarding that Mu Sigma had helped us
     24      with, things like that.
     25              Q.        What is Tableau dashboarding?

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      1              A.        So Tableau is a computer
      2      program that is used to display reports.
      3              Q.        Okay.     And why does Walmart use
      4      Tableau?
      5                        MS. FUMERTON:         Objection, form.
      6                        THE WITNESS:        I can't speak to
      7              why Walmart uses Tableau as a whole.
      8              We use Tableau for the ease of getting
      9              the reports to the stakeholders that
     10              needed the reports.
     11              Q.        (BY MR. BOWER)         What do you
     12      mean when you say "for the ease of getting
     13      the reports"?        How does that work?
     14              A.        It's a -- part of it is
     15      web-based.       And so you don't have to have a
     16      special program.          It doesn't look all jumbled
     17      up.    You don't have to export it to like PDF.
     18      You can send a read-only version of the
     19      pretty web view without them having to have
     20      crazy-different software or anything.
     21              Q.        Why not just use a PDF?
     22                        MS. FUMERTON:         Objection, form.
     23                        THE WITNESS:        So the PDF would
     24              be static, and Tableau allows you to,
     25              like, click and go into, like, more

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      1              detail of a specific graph, that kind
      2              of thing.
      3              Q.        (BY MR. BOWER)         So if you're
      4      looking at the live Tableau, you can actually
      5      click on something within that screen to see
      6      additional information?
      7              A.        If it's set up that way, yes.
      8              Q.        So if you receive, for example,
      9      a PDF of a Tableau screen, that PDF would
     10      have less information than the Tableau screen
     11      would have, assuming that that live setting
     12      was active; correct?
     13                        MS. FUMERTON:         Objection, form.
     14                        THE WITNESS:        It depends on how
     15              it was set up.
     16                        So you can export and -- export
     17              the deeper dive information as another
     18              page, or you can just export the main
     19              page.     So it really depends on how the
     20              export is done.
     21              Q.        (BY MR. BOWER)         And when you
     22      refer to "export," do you mean export from
     23      Tableau to PDF; correct?
     24              A.        Yes.
     25              Q.        So, and just to put a finer

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      1      point on that, just looking at your LinkedIn
      2      profile, Exhibit 1, you say "Create a Tableau
      3      dashboard to monitor compliance."                 How would
      4      a dashboard Tableau monitor compliance?
      5                        MS. FUMERTON:         Objection, form.
      6                        THE WITNESS:        So the dashboard
      7              allowed us to see the metrics that
      8              were determined to help keep a pulse
      9              on our compliance with different
     10              regulations.        And so it allowed you to
     11              see those metrics all together.
     12              Q.        (BY MR. BOWER)         Then I just
     13      have a couple of kind of broader questions on
     14      kind of the format of Exhibit 2, which is
     15      your performance evaluation.
     16                        So let's, for example, look at,




     19                        Would that be something that's
     20      entered by you, or is that something that's
     21      entered by the supervisor?
     22                        MS. FUMERTON:         Yeah, take your
     23              time to familiarize yourself with the
     24              document, if you need to, to answer
     25              his questions.         Because I know there's

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      1              additional detail.
      2                        I mean --
      3                        MR. BOWER:        Right.
      4                        MS. FUMERTON:         I'm not
      5              testifying, but ...
      6                        MR. BOWER:        And I appreciate
      7              that.     I'm just trying to get a sense
      8              as to how this is formatted.               Because
      9              if you notice, like on the bottom of
     10              the first page, it appears to have
     11              ratings by both Mr. Campbell and
     12              yourself.       So you do write a
     13              self-evaluation; correct?
     14                        THE WITNESS:        Yes.
     15              Q.        (BY MR. BOWER)         And
     16      Mr. Campbell also does an evaluation;
     17      correct?
     18              A.        Yes.
     19              Q.        I'm just trying to understand,
     20      so that when we go through this document, who
     21      is entering what information.               Okay?     I just
     22      want to try to see if we can figure that out.
     23      And so that's why I asked you who -- and I'll
     24      ask you again:         Who enters the kind of the
     25      status of things on here?

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      1              A.        I am not sure.
      2              Q.        Okay.
      3              A.        I don't remember -- I'm trying
      4      to -- let me look at the most recent one.
      5              Q.        Sure.
      6              A.        I'm not sure.
      7              Q.        Okay.     That's fine.        And what
      8      about the dates on the right?               Where does
      9      that information come from?
     10              A.        So the dates are from our
     11      goals.     And those are set earlier in the
     12      year, and they just pull into the evaluation
     13      form.
     14              Q.        And who sets those goals?
     15      Would that be you or your supervisor or
     16      somebody else?
     17                        MS. FUMERTON:         Objection, form.
     18                        THE WITNESS:        So it depends.
     19              Goals can be cascaded.             So it could be
     20              a goal that started many levels above,
     21              and then they've cascaded it down to
     22              the appropriate people that will do
     23              the work.       So there's not a clear-cut
     24              answer for that.
     25              Q.        (BY MR. BOWER)         Okay.     What is

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      1      SME?    Or I've seen it referred to frequently
      2      throughout this.          So, for example, page 5,
      3      three pages in, 56048, if you look at like
      4      the column on the left, second paragraph,
      5      halfway through it says, "Additionally, Roxy
      6      has helped facilitate training to different
      7      HW compliance SMEs."
      8                        What does an "SME" refer to?
      9              A.        Subject matter expert.
     10              Q.        What does the "art of insights"
     11      refer to, in that same sentence?
     12                        MS. FUMERTON:         And take your
     13              time to read any of the context.
     14                        MR. BOWER:        Yeah.
     15                        THE WITNESS:        Where is the
     16              "arts of insight"?
     17                        MR. BOWER:        Sorry.
     18                        THE WITNESS:        Is that in the --
     19                        MR. BOWER:        It's in the same
     20              sentence.       It says, "Additionally,
     21              Roxy helped facilitate training to
     22              different HW compliance SMEs on the
     23              'art of insights.'"           It's in quotes
     24              there.      It's on the left column,
     25              again, the second --

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      1                        MS. FUMERTON:         I think she
      2              might be on the wrong page.
      3                        THE WITNESS:        I think I might
      4              be on the wrong page.
      5                        MR. BOWER:        Page ending in
      6              56048, the third page in.
      7                        THE WITNESS:        I was on the
      8              fifth page.        I don't know how I got
      9              there.
     10                        MR. BOWER:        That's probably my
     11              fault.
     12                        THE WITNESS:        Because there
     13              happened to be SMEs on that page too.
     14                        MR. BOWER:        Oh, okay.      That's
     15              why I asked, because they are
     16              throughout.        Sorry about that.
     17                        THE WITNESS:        Okay.
     18              Q.        (BY MR. BOWER)         So again, the
     19      second full paragraph, I guess the third




     23      which enhanced their ability to understand
     24      and draw conclusions from data represented
     25      within HW compliance score card or their

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      1      program-specific dashboards."
      2                        Do you see that now?
      3              A.        Yes.
      4              Q.        Okay.
      5                        Do you know what "art of
      6      insights" refers to?
      7              A.        I don't specifically.            Reading
      8      this, I can -- I remember having meetings,
      9      but I don't -- I think that was just a Casey
     10      term.
     11              Q.        Okay.     Well, just generally,
     12      what were the meetings that this triggered by
     13      this --
     14              A.        So --
     15              Q.        -- language?
     16                        MS. FUMERTON:         Let him finish
     17              his question first.           You're starting
     18              before he's really just getting where
     19              he's going.        Go ahead.
     20                        THE WITNESS:        Okay.     So it
     21              would have been helping the subject
     22              matter experts understand that saying
     23              these numbers are decreasing isn't an
     24              insight.       That's stating what's
     25              happening in the data.

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      1                        So trying to get them to look
      2              deeper in understanding the why and
      3              the insights of why things are
      4              happening with the data.
      5              Q.        (BY MR. BOWER)         Okay.     Thank
      6      you for that.
      7                        And then in the next paragraph,




     11                        Do you know what that refers
     12      to?
     13              A.        Yes.
     14              Q.        Okay.     What does that refer to?
     15              A.        Okay.     It is the controlled
     16      substance loss we're reporting that could
     17      result in a DEA 106 being filed.
     18              Q.        And what enhancements were you
     19      making to the DEA database?
     20              A.        So that's not really the best
     21      use of terms there.           It was the team started
     22      using Archer to track the losses and then the
     23      DEA 106 filing process.
     24              Q.        Does a DEA database refer to
     25      Archer or something else?

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      1              A.        Archer.
      2              Q.        So we're still right in the --
      3      if you could turn to page -- strike that.                    I
      4      want to start over.
      5                        If you turn to page 56053,
      6      which is a few more pages in.
      7                        Okay?     Are you there?
      8              A.        Yes.
      9              Q.        Okay.     And this is while you
     10      are still in the role as health and wellness
     11      systems manager II; correct?
     12              A.        Yes.
     13              Q.        Okay.     And I just want to
     14      focus, if we could, on the -- kind of the


     16      left.     It says, "Task/Milestones,
     17      Task/Description."          Do you see that?
     18              A.        Yes.
     19              Q.        It says, "Develop a documented
     20      approach to back up and recovered data
     21      captured and maintained within 'home grown'
     22      databases/spreadsheets used by H&W Compliance
     23      SMEs."
     24                        Do you see that?
     25              A.        Yes.

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      1              Q.        Do you know what that refers
      2      to?
      3              A.        Yes.
      4                        So by this point, I had
      5      developed a couple different Access
      6      databases, which is the homegrown databases.
      7      And because I was the only person that had
      8      the knowledge of those databases, we wanted
      9      to make sure that it was documented how to
     10      back them up and then how to recover them if
     11      something were to happen.
     12              Q.        Would this include Teradata
     13      database?
     14              A.        No.
     15              Q.        Are you familiar with how that
     16      is backed up, Teradata?
     17              A.        I do not know the specifics of
     18      how that's backed up.
     19              Q.        Who is responsible and who
     20      would know those specifics for Teradata?
     21              A.        It would be our information
     22      systems division.
     23              Q.        Do you know anyone's name in
     24      that division who might have been
     25      specifically -- had that responsibility?

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      1              A.        I do not.
      2              Q.        Okay.     And would this have
      3      included Archer?
      4              A.        No.
      5              Q.        Do you know who was responsible
      6      for that information, or the preservation of
      7      that information in Archer?
      8                        MS. FUMERTON:         Objection, form.
      9                        THE WITNESS:        So Archer is also
     10              supported by our information systems
     11              division.
     12              Q.        (BY MR. BOWER)         Okay.     So what
     13      is this -- what "databases/spreadsheet" does
     14      this refer to, then?
     15              A.        So this would have been, at the
     16      time, the HIPAA database that I mentioned
     17      earlier, and then I also created a database
     18      for our third-party audits.
     19              Q.        Okay.     And then I just want to
     20      have a few more questions on here and then
     21      maybe we'll take a break and move to a more
     22      relevant time period.            Okay?     And I
     23      appreciate your cooperating with us this
     24      morning on some of this older stuff.
     25                        A couple more questions right

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      1      at this section here.            We say, "The Archer
      2      development counsel."
      3                        Do you see that a couple of
      4      lines down?       "Participate and represent
      5      health and wellness compliance interests as
      6      part of the Archer development council?"
      7              A.        Yes.
      8              Q.        Do you see that?
      9                        And what does that refer to,
     10      the "Archer development council"?
     11              A.        That is our internal governance
     12      counsel, for Archer.
     13              Q.        And during this time period,
     14      what was Archer being used for?
     15              A.        So within the company as a
     16      whole, Archer was used for many things.
     17      Within health and wellness compliance, it was
     18      used for the controlled substance loss
     19      information.        It was used for pick change
     20      information.
     21                        Sorry, I'm trying to think back
     22      what was --
     23                        So those are examples of things
     24      it was being used for at the time.
     25              Q.        Well, what about broader?              I'm

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      1      just trying to get a sense within the entire
      2      organization.        What else was it used for?
      3              A.        Okay.     So our SRCR (sic)
      4      process is managed in Archer, security
      5      compliance risk reviews.
      6                        And so those are managed in
      7      Archer, outside of our team.               There's a
      8      review, compliance review process.                 At the
      9      time, it was called "court."               It's where --
     10      regional compliance managers is what they
     11      were called -- would go into the field and
     12      assess compliance in all of the different
     13      areas of compliance, not just health and
     14      wellness.       And at this time we also had a
     15      compliance assessment that the regional
     16      compliance directors did specifically for
     17      health and wellness.
     18              Q.        And during this time, was
     19      Archer also being used for Walmart's SOM
     20      program?
     21                        MS. FUMERTON:         Objection, form.
     22                        THE WITNESS:        The exact
     23              timeframe that Archer started getting
     24              used, I think was slightly after -- it
     25              was in 2015, but I don't think it was

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      1              fiscal year 2015.           I think it happened
      2              a little bit later in the actual year
      3              of 2015.
      4                        I think.
      5              Q.        (BY MR. BOWER)         That's fine.
      6      We'll look at the documents and that will
      7      help clarify the record.
      8              A.        Yes.
      9              Q.        I just want to close up a
     10      couple of things and then we'll take a break.
     11      While you were -- strike that.
     12                        How long were you on the Archer
     13      development council?
     14              A.        So the way the council's set up
     15      is every business area has to have a
     16      representative on the council to be able to
     17      participate in Archer.            And so I started
     18      participating when I was trained in 2010, and
     19      we started using Archer more extensively in
     20      2011.     And then I actually led the council in
     21      2015.
     22              Q.        Okay.     So --
     23              A.        And I was on the council until
     24      it was no longer used recently.
     25              Q.        And when was that?

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      1              A.        I don't know exact time.
      2      Earlier this year.
      3              Q.        Okay.     And so while you were on
      4      the council, and, in fact, while you were
      5      leading the council, Archer was being used as
      6      part of Walmart's SOM program; is that
      7      correct?
      8                        MS. FUMERTON:         Objection, form.
      9                        THE WITNESS:        So exact
     10              timeframe, I'm not sure, but yes, it
     11              was used for the SOM program.
     12                        MR. BOWER:        Okay.
     13              Q.        (BY MR. BOWER)         And then, we'll
     14      talk more about that as the day goes on.
     15                        And then just one more question
     16      on this page here.          The next entry it says,
     17      "Develop reporting plans for analytics."
     18                        Do you see that?
     19                        Just under that line we were
     20      looking at about the Archer development
     21      council.
     22              A.        Yes.
     23              Q.        Okay.     What does that refer to?
     24              A.        So that is the plan of who
     25      needs to be reported, or who needs to receive

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      1      reports.      Like the compliance dashboards that
      2      we mentioned earlier, who needed to receive
      3      them, why, when, and how they received them.
      4              Q.        Okay.     What were the options
      5      for how to receive them?
      6                        MS. FUMERTON:         Objection, form.
      7              Q.        (BY MR. BOWER)         Well, strike
      8      that.
      9                        What do you mean by "how"?
     10                        And I'm not trying to make this
     11      a trick question.          I'm just trying to
     12      understand, because you talked earlier about
     13      Tableau; right?
     14              A.        Mm-hmm.
     15              Q.        That was one form they could
     16      receive them in; correct?
     17              A.        Yes.
     18              Q.        What other formats were
     19      available?
     20              A.        Okay.     So depending on what
     21      their report was, they could receive an
     22      Excel.     So not a pretty, formatted version.
     23      They could receive a PDF.             It could just be
     24      an email.
     25              Q.        Okay.     And you were involved in

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      1      deciding how those reports would be received;
      2      correct?
      3                        MS. FUMERTON:         Objection, form.
      4                        THE WITNESS:        I would make
      5              recommendations of the most meaningful
      6              way to receive it.
      7              Q.        (BY MR. BOWER)         And who would
      8      you make those recommendations to?
      9                        MS. FUMERTON:         Objection, form.
     10                        THE WITNESS:        So my manager,
     11              and then whoever the stakeholder was.
     12              So the stakeholder was involved in how
     13              they would best use whatever report it
     14              was that was being sent.
     15              Q.        (BY MR. BOWER)         Okay.     And for
     16      example, going back to your LinkedIn profile,
     17      was it your recommendation to use Tableau
     18      dashboards to monitor compliance?
     19                        MS. FUMERTON:         Objection, form.
     20                        THE WITNESS:        No.     That was --
     21              so Mu Sigma helped us develop our
     22              dashboards, and that was their
     23              recommendation of the platform to use.
     24              Q.        (BY MR. BOWER)         Did you agree
     25      with that recommendation?

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      1                        MS. FUMERTON:         Objection, form.
      2                        THE WITNESS:        At the time I
      3              didn't know enough to agree or
      4              disagree.
      5              Q.        (BY MR. BOWER)         So what -- did
      6      you do anything to educate yourself as to
      7      whether Tableau would be an appropriate
      8      format to receive these -- this information?
      9                        MS. FUMERTON:         Objection, form.
     10                        THE WITNESS:        So, yes, I did
     11              research on Tableau to make sure that
     12              I understood it.          But the decision to
     13              use Tableau was made well above me.
     14              And so my job was to learn how to use
     15              it.
     16              Q.        (BY MR. BOWER)         And who made
     17      that decision?
     18                        MS. FUMERTON:         Objection, form.
     19                        MR. BOWER:        Well, strike that,
     20              then.
     21              Q.        (BY MR. BOWER)         What's your
     22      basis for your statement that the decision to
     23      use Tableau was "made well above me"?
     24              A.        At the time, I was in no way a
     25      decision-maker as a manager.               There were -- I

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      1      mean, my senior manager made decisions like
      2      that.     And even that decision, I don't know
      3      if that would have been made at his level, or
      4      if it was kind of a decision that was made
      5      higher and they're, like, everybody needs to
      6      use it.      Because at this time, I know
      7      corporate compliance started using Tableau
      8      for their reporting as well.
      9                        MS. FUMERTON:         Is it a good
     10              time to take a break or ...
     11                        MR. BOWER:        I think so.       Yeah.
     12              Let me just make sure I don't have
     13              anything else on this time period, at
     14              least at the moment.
     15                        Yeah, why don't we take a
     16              break.      We've been going a while.
     17                        THE VIDEOGRAPHER:           9:16.     We
     18              are off video record.
     19                        (Recess taken, 9:17 a.m. to
     20              9:34 a.m.)
     21                        THE VIDEOGRAPHER:           9:34.     We
     22              are on video record.
     23              Q.        (BY MR. BOWER)         All right.
     24      Ms. Reed, we're back on the record.                  I'm just
     25      going to hand you a couple more exhibits.

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      1      And these I do want you to take a moment to
      2      review.
      3                        Exhibit 3, which is an email
      4      string that you are not on.              The reason I'm
      5      handing it to you, just so you know, is it
      6      was produced as part of your custodial file.
      7      So I'm trying to understand whether or not
      8      you have any personal knowledge of this
      9      document, okay?
     10                        MS. FUMERTON:         Zach, do you
     11              have copies of that?
     12                        MR. BOWER:        Oh, yeah.      Sorry.
     13                        (Walmart-Reed Deposition
     14              Exhibit 3 was marked for
     15              identification.)
     16              Q.        (BY MR. BOWER)         So take a
     17      moment, take a look at that document, and I'm
     18      going to hand you one more which was also
     19      part of your custodial file but does not
     20      appear to include you on the email string.
     21      Okay?
     22              A.        Okay.
     23                        MR. MILLER:        Could somebody
     24              read the Bates numbers of the
     25              documents that are being marked in the

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      1              exhibits, please?
      2                        MR. BOWER:        Sure.     We'll do
      3              that in one moment.
      4                        So while the witness is
      5              reviewing Exhibits 3 and 4, I'll note
      6              for the record that Bates No. 3 is a
      7              Walmart document ending in 9635, and
      8              the last page is 9638.
      9                        And it includes the attachment.
     10                        And Exhibit 4 is starting with
     11              9629, and then the attachment is 9630,
     12              which is in native format as part of
     13              the record.
     14                        [Document review.]
     15              Q.        (BY MR. BOWER)         So why don't we
     16      start on Exhibit 3.
     17                        MS. FUMERTON:         Did you get time
     18              to -- you've reviewed Exhibit 3?
     19                        THE WITNESS:        Yes.
     20                        MS. FUMERTON:         But you haven't
     21              reviewed that one yet.
     22                        MR. BOWER:        We'll start with
     23              Exhibit 3 and then we'll go to
     24              Exhibit 4.
     25              Q.        (BY MR. BOWER) Are you familiar

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      1      with Exhibit 3?
      2              A.        No, I'm not.
      3              Q.        Do you have any understanding
      4      why it was produced as represented to be in
      5      your custodial file?
      6              A.        No, I do not.
      7              Q.        Okay.     Before, we talked about
      8      standard deviation.           Do you recall that?
      9              A.        Yes.
     10              Q.        Okay.     And do you see the
     11      reference here in No. 8 for example, the
     12      email, "Please find attached the methodology
     13      document by Kristy"?
     14                        Do you see that No. 8 in that
     15      cover email?
     16              A.        Yes.
     17              Q.        Would that be Kristy Spruell?
     18              A.        Yes.
     19              Q.        Okay.     And would this have been
     20      related to the standard deviation you
     21      testified about to earlier?              And by "this,"
     22      I'm referring to the attachment page 9636,
     23      the data steps.
     24                        Do you see that halfway down?
     25                        MS. FUMERTON:         Objection, form.

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      1                        THE WITNESS:        So I've never
      2              seen this document, but these are --
      3              steps 2 through 4 are the steps that
      4              were taken within the Access database.
      5              Q.        (BY MR. BOWER)         And thank you
      6      for that.       I was just trying to get an
      7      understanding of what was actually put in the
      8      Access database during this timeframe.                   Okay?
      9              A.        Okay.
     10              Q.        And you mentioned standard
     11      deviation before, correct?
     12              A.        Yes.
     13              Q.        And when you said "2 through
     14      4," 4, in fact, refers to one standard
     15      deviation in A, two standard deviations in B,
     16      and then three standard deviations in C; is
     17      that correct?
     18              A.        Yes.
     19              Q.        Do you recall which one of
     20      those, if any, were used by you in the Access
     21      database?
     22                        MS. FUMERTON:         Objection, form.
     23                        THE WITNESS:        So the three
     24              standard deviations was used in the
     25              Access database.

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      1              Q.        (BY MR. BOWER)         So when you
      2      referred earlier to standard deviation, it
      3      was three standard deviations; is that
      4      correct?
      5                        MS. FUMERTON:         Objection, form.
      6                        THE WITNESS:        To get to three
      7              standard deviations, you first have to
      8              calculate one standard deviation.
      9              Q.        (BY MR. BOWER)         Were both of
     10      those calculations reflected in Access?                   And
     11      by "both," I mean the one standard deviation
     12      and the two standard deviation?
     13              A.        Yes.
     14                        MS. FUMERTON:         Just give me a
     15              second.      That's fine.
     16              Q.        (BY MR. BOWER)         And did you --
     17      I'll strike that.          Let me see if you --
     18                        Okay.     Steps 2 through 4 were
     19      taken in the Access database; correct?
     20                        MS. FUMERTON:         Objection, form.
     21                        THE WITNESS:        Yes.
     22              Q.        (BY MR. BOWER)         Step 5, to the
     23      best of your knowledge, was not taken in
     24      Access database?
     25                        MS. FUMERTON:         Objection, form.

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      1                        THE WITNESS:        Step 5 doesn't
      2              look like a step, as far as the math
      3              goes.
      4              Q.        (BY MR. BOWER)         Okay.     I see
      5      what you're saying, because step 5 is simply
      6      a numeric entry; correct?
      7                        MS. FUMERTON:         Objection, form.
      8                        THE WITNESS:        So it looks like
      9              step 5 is just saying that if a store
     10              has a low volume, it could trigger a
     11              false alert.
     12              Q.        (BY MR. BOWER)         And its further
     13      goes on to state, "For stores that fall under
     14      the minimum threshold, we replace their
     15      individual average with the average for all
     16      stores (300)."
     17                        Do you see that?
     18              A.        Yes.
     19              Q.        Was that information part of
     20      the Access database?
     21                        MS. FUMERTON:         Objection, form.
     22                        THE WITNESS:        It was not part
     23              of the Access database.
     24              Q.        (BY MR. BOWER)         Is there some
     25      other database that reflected this minimum

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      1      threshold in 5(a)?
      2                        MS. FUMERTON:         Objection, form.
      3                        THE WITNESS:        So the 300, I
      4              don't know what that's referring to.
      5                        Once the thresholds were
      6              created in Access, they were exported
      7              to Excel.       And then borders were put
      8              on the thresholds.           So a minimum was
      9              put if it was below a -- below 20.
     10              The minimum was put.            And then there
     11              was a maximum as well.
     12              Q.        (BY MR. BOWER)         And do you
     13      recall what that maximum was?
     14              A.        400-count bottles.           Let me
     15      clarify.      The 20, and then maximum was 50 for
     16      100-count bottles.
     17              Q.        Okay.
     18              A.        Liquids would be different, and
     19      then other bottle sizes would be different.
     20              Q.        And if you go back to the cover
     21      page of this email, it, in fact, has an
     22      explanation in No. 8 for the maximum.
     23                        Do you see that?
     24              A.        Yes.
     25              Q.        Okay.     And indeed a reason for

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      1      creating that maximum was because "Business
      2      intuitively identified the outlier order
      3      sizes and decided that order size 5,000
      4      should be a reasonable large cap."
      5                        Do you see that?
      6                        MS. FUMERTON:         Objection, form.
      7                        THE WITNESS:        Yes.
      8              Q.        (BY MR. BOWER)         So that number,
      9      that 5,000 refers to 50 bottles; correct?
     10              A.        For a 100-count bottle, yes.
     11              Q.        And that appears, from this
     12      document, was a decision made by business
     13      intuition; correct?
     14                        MS. FUMERTON:         Objection, form.
     15                        THE WITNESS:        Based on this
     16              document, that's what it appears to
     17              be.
     18              Q.        (BY MR. BOWER)         Okay.     And do
     19      you know who the folks are on this email?
     20                        Let's start with the first one,
     21      Prachi -- P-R-A-C-H-I, last name -- I'm not
     22      going to try and pronounce it.                It's
     23      G-U-R-U-R-A-J.
     24                        Do you know who that gentleman
     25      is?    Or woman?

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      1              A.        That lady, yes, I do.
      2              Q.        And is she a Walmart employee?
      3              A.        No.
      4              Q.        Okay.     Where does she work?
      5              A.        She --
      6                        MS. FUMERTON:         Objection, form.
      7                        THE WITNESS:        She was the
      8              Mu Sigma -- what's the word?               The
      9              on-site Mu Sigma person.
     10              Q.        (BY MR. BOWER)         Was she
     11      physically on-site at Walmart?
     12                        Strike that.        What do you mean
     13      by "on-site"?
     14              A.        She worked at the home office
     15      with whoever she was supporting.
     16              Q.        By "home office," you mean a
     17      Walmart home office; correct?
     18              A.        Yes.
     19              Q.        What about the other folks on
     20      here?     We don't need to read them all in the
     21      record.      They'll be in the document.              But are
     22      you familiar with any of these folks, is the
     23      first question?
     24              A.        A couple of them look like the
     25      same names, which very well could be

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      1      different people, that worked on our Tableau
      2      dashboard project with health and wellness
      3      compliance.
      4              Q.        Do any of these names -- strike
      5      that.
      6                        Do you know whether any of
      7      these folks in this email were Walmart
      8      employees during this time period, which is
      9      January 2014?
     10                        MS. FUMERTON:         And I don't -- I
     11              haven't looked, but I'm assuming the
     12              entire document?
     13                        MR. BOWER:        No, I'm just
     14              talking about this top email here.
     15                        Thank you for that
     16              clarification.
     17                        THE WITNESS:        These names do
     18              not look like any Walmart associates
     19              that I would have known.
     20              Q.        (BY MR. BOWER)         Do you have any
     21      understanding, then, as to how this document
     22      came to appear in your custodial file?
     23              A.        I have no idea.
     24              Q.        Okay.     Just a couple more
     25      questions, then, based upon your experience

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      1      with the Access and other work in the
      2      databases.
      3                        The approach, for example,
      4      references -- do you see that?                It has key
      5      deliverables and purpose and then approach?
      6      Kind of headings to the left of the page?
      7                        Do you see that?
      8              A.        Yes.
      9              Q.        Okay.     Under "Approach," it
     10      says, "Use 52 week order history to establish
     11      'normal' order amounts."
     12                        Do you see that?
     13              A.        Yes.
     14              Q.        During this time period, which
     15      is January 2014, where would Walmart -- where
     16      within Walmart would that data have been
     17      available?
     18                        MS. FUMERTON:         Objection, form.
     19                        THE WITNESS:        The order
     20              history, I do not know.
     21              Q.        (BY MR. BOWER)         Do you know
     22      whether order history was available anywhere
     23      within Walmart during this time period?
     24              A.        As far as order history, I
     25      don't know where within Walmart order history

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      1      was kept.
      2              Q.        What information was used in
      3      Access to perform these calculations that you
      4      referred to earlier?
      5              A.        The shipment history would be
      6      used.
      7              Q.        And where was that information
      8      located?
      9              A.        Teradata.
     10              Q.        Do you have any knowledge as to
     11      how far back Teradata maintains shipment
     12      history?
     13                        MS. FUMERTON:         Objection, form.
     14                        MR. BOWER:        I'll strike that.
     15              Q.        (BY MR. BOWER)         In other words,
     16      2014, if you were to access Teradata, how far
     17      back could you go to determine shipment
     18      history to a particular pharmacy?
     19              A.        I don't know what the retention
     20      period is specifically for the logistics
     21      data.
     22              Q.        What's the farthest back you've
     23      ever gone to pull purchase -- sorry, shipment
     24      history in Teradata?
     25              A.        Exact numbers, I wouldn't know.

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      1      I know at any point in time recently I've
      2      pulled up to two years back.               So I haven't
      3      pulled more than two years back at any one
      4      time.
      5              Q.        Okay.     And do you know whether
      6      the information in Teradata is backed up by
      7      Walmart?
      8                        MS. FUMERTON:         Objection, form.
      9                        THE WITNESS:        I don't know the
     10              exact backup policies for the Teradata
     11              system.
     12                        I do know that there are --
     13              there's processes in place for
     14              duplication of the database, and like
     15              if one goes down, there's another,
     16              like, data center that houses it.                 But
     17              I don't know the exact backup
     18              schedule.
     19              Q.        (BY MR. BOWER)         And, I mean,
     20      the data in Teradata is important to Walmart;
     21      correct?
     22                        MS. FUMERTON:         Objection, form.
     23                        THE WITNESS:        Teradata does
     24              house important information for
     25              different business segments, yes.

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      1              Q.        (BY MR. BOWER)           Right.
      2      Walmart uses the data in Teradata for many
      3      reasons; correct?
      4              A.        Yes.
      5              Q.        So you would expect that
      6      Walmart would have a process in place to make
      7      sure that data is maintained, wouldn't you?
      8                        MS. FUMERTON:         Objection, form.
      9                        THE WITNESS:        So Teradata is a
     10              big database that I know is duplicated
     11              to maintain the integrity of the data
     12              and the security of the database and
     13              the information within it.
     14              Q.        (BY MR. BOWER)         So just
     15      going -- a couple more questions on this
     16      page.     At the top of the page references a
     17      project goal.        Do you see that?
     18                        And we're still on page ending
     19              in 9626.
     20              A.        Yes.
     21              Q.        Do you see that?
     22                        Project goal is stated as "To
     23      identify and report suspicious orders of
     24      controlled substances and other frequently
     25      abused drugs."

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      1                        Do you see that?
      2              A.        Yes.
      3              Q.        Do you know whether Walmart
      4      asked the folks at Mu Sigma to work on this
      5      project?
      6                        MS. FUMERTON:         Objection, form.
      7                        THE WITNESS:        I don't know.
      8              Q.        (BY MR. BOWER)         Do you know who
      9      would know that?          Would it be Kristy?
     10              A.        Since Kristy worked with them,
     11      I would assume she would have been involved.
     12              Q.        Do you know what the reference
     13      on the top of this page to "frequently abused
     14      drugs" means?
     15              A.        I do not.
     16              Q.        Are you aware that our country
     17      is in the middle of an opioid crisis?
     18              A.        Yes.
     19                        MS. FUMERTON:         Objection, form.
     20              Q.        (BY MR. BOWER)         And when did
     21      you first become aware of the opioid crisis?
     22                        MS. FUMERTON:         Objection, form.
     23                        THE WITNESS:        I don't know the
     24              exact time.
     25              Q.        (BY MR. BOWER)         Do you know an

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      1      approximate time?
      2              A.        I would say that those terms I
      3      first heard in the media within the last
      4      couple of years.
      5              Q.        By "those terms," you mean
      6      opioid crisis?
      7              A.        Yes.
      8              Q.        What about a broader issue with
      9      respect to abuse of controlled substances?
     10                        MS. FUMERTON:         Objection, form.
     11                        THE WITNESS:        What's your
     12              question?
     13              Q.        (BY MR. BOWER)         I'm just trying
     14      to figure out.         You seem to be stuck on my
     15      term "opioid crisis."            I'm just trying to
     16      figure out if you use different terms, if you
     17      define it as abuse of prescription drugs, of
     18      drug issues with respect to Schedule II
     19      narcotics.       Anything broader than that.              When
     20      did you first become aware that our country
     21      was having a problem with prescription drug
     22      abuse?
     23                        MS. FUMERTON:         Objection, form.
     24                        THE WITNESS:        So I've worked in
     25              the health and wellness space the

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      1              majority of my career.             Now, I've
      2              worked in an independent pharmacy when
      3              I was in high school, in college.                 And
      4              so I would say that's been something
      5              that's been known by me for the
      6              majority of my career, that ...
      7              Q.        (BY MR. BOWER)         I don't want to
      8      cut you off.        Are you --
      9              A.        Yeah.
     10              Q.        Did you have any discussions
     11      about prescription drug abuse with folks at
     12      Walmart?
     13                        MS. FUMERTON:         Objection, form.
     14                        THE WITNESS:        I don't know of
     15              any specific conversations about
     16              prescription drug abuse.
     17                        So it could come up in context
     18              of a diversion investigation, or a
     19              controlled substance loss
     20              investigation.         And of course later,
     21              in SOM.      But not -- not specifically
     22              meetings about drug abuse issues.
     23              Q.        (BY MR. BOWER)         And I
     24      appreciate that clarification.
     25                        So -- and I don't want to spend

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      1      too much time on this, but, for example, how
      2      would it come up in connection with, for
      3      example, SOM -- you said, "of course, later
      4      in SOM."      How would that come up?
      5                        MS. FUMERTON:         Objection, form.
      6                        THE WITNESS:        So when reviewing
      7              an order, part of what we were looking
      8              for are signs that something
      9              inappropriate may be going on.                So a
     10              red flag wasn't cleared.              And that
     11              could be an indication of
     12              inappropriate use.           And so generally,
     13              you know, the possibility of
     14              inappropriate use would be talked
     15              about during any kind of alert review.
     16              Q.        (BY MR. BOWER)         And when you
     17      were reviewing an order, what type of
     18      information were you looking at?
     19                        MS. FUMERTON:         Objection, form.
     20                        THE WITNESS:        It -- there was a
     21              wide array of information, including
     22              dispensing trends, past order history.
     23              Things like that.
     24              Q.        (BY MR. BOWER)         What do you
     25      mean by "dispensing trends"?

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      1                        What specific information would
      2      you look at?
      3                        MS. FUMERTON:         Objection, form.
      4                        THE WITNESS:        The actual trend
      5              of dispensing:         Has the amount of that
      6              particular drug in question gone up or
      7              down, or was it steady.
      8                        What the quantity of pills per
      9              prescription.
     10                        We would look at insurance,
     11              what we call distribution.              So whether
     12              insurance was used or whether cash was
     13              used.
     14                        How far patients were
     15              traveling.        How far away prescribers
     16              were from the location.
     17                        Things like that.
     18              Q.        (BY MR. BOWER)         And I
     19      appreciate that information.               I just want to
     20      go through each one of those to make sure I
     21      understand what you're actually looking at.
     22                        So the first one you mentioned
     23      was -- it would help if I could read my own
     24      writing.
     25                        So the first thing you

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      1      mentioned was the actual trend of dispensing.
      2      Has that amount of that particular drug in
      3      question gone up or down or is it steady?
      4                        So that information, was it
      5      specific to a pharmacy?
      6              A.        Yes.     It was the pharmacy and
      7      drug that alerted.
      8              Q.        And by "drug," do you mean NDC?
      9      Or something else?
     10              A.        When a -- so a specific item,
     11      so NDC would alert.           We would look at the
     12      entire GPI for that drug.
     13              Q.        And I appreciate that.             So can
     14      you just, for the record, clarify what you
     15      mean by "GPI"?
     16              A.        So GPI is the global product
     17      indicator.
     18              Q.        Okay.     And what does that mean?
     19              A.        It is a more universal term.
     20      The NDC is manufacturer-specific, and the
     21      GPI, each number means something.                 I don't
     22      know what they all mean.             But the entire
     23      number together refers to a drug.
     24                        So, for instance, hydrocodone
     25      10/325 has one GPI regardless of the multiple

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      1      NDCs that are made.
      2              Q.        Okay.     Does the GPI
      3      consider different -- for example, you
      4      mentioned hydrocodone -- different strengths
      5      of hydrocodone?
      6              A.        The entire GPI would be one
      7      strength of hydrocodone.             If you back off a
      8      couple numbers, then it would be a different
      9      strength of hydrocodone -- or it would be
     10      like a hydrocodone as a drug class, and then
     11      a couple more numbers would mean like the
     12      opioid, you know, drug class.               Things like
     13      that.     They stair-step.
     14              Q.        Okay.     I appreciate that.           I
     15      didn't mean to cut you off.
     16                        When reviewing an order, would
     17      you limit your review to the GPI or would you
     18      back off and look at the more broader
     19      information?
     20                        MS. FUMERTON:         Objection, form.
     21                        THE WITNESS:        For what
     22              timeframe?
     23              Q.        (BY MR. BOWER)         Well, that's a
     24      fair point.       Let's start with when was the
     25      first time you would have used this

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      1      information in connection with your duties
      2      and responsibilities?
      3                        MS. FUMERTON:         Objection, form.
      4                        THE WITNESS:        So when I started
      5              in my position, July-August timeframe,
      6              would have been the first time that we
      7              used it.
      8              Q.        (BY MR. BOWER)         And we're
      9      talking July-August 2015; correct?
     10              A.        Yes.
     11              Q.        So during that time, would you
     12      have looked at the GPI information or would
     13      you have looked at the broader data
     14      available?
     15                        MS. FUMERTON:         Objection, form.
     16                        THE WITNESS:        During that time,
     17              it would have been the GPI, the entire
     18              GPI.
     19              Q.        (BY MR. BOWER)         And by "entire
     20      GPI," you just mean that strength and that
     21      drug; correct?
     22                        MS. FUMERTON:         Objection, form.
     23                        THE WITNESS:        Yes.
     24              Q.        (BY MR. BOWER) And at some
     25      point in time, did you consider the broader

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      1      GPI information?          For example, different
      2      strengths of one drug?            Let's take that
      3      first.
      4                        MS. FUMERTON:         Objection, form.
      5                        THE WITNESS:        Yes.
      6              Q.        (BY MR. BOWER)         Okay.     And when
      7      did that change occur?
      8              A.        In November of 2017.
      9              Q.        And I'm just curious.            How is
     10      it that you're certain about that date?
     11              A.        Because we upgraded systems in
     12      November of 2017.
     13              Q.        And did the upgraded systems
     14      allow you to access this additional
     15      information?
     16                        MS. FUMERTON:         Objection, form.
     17                        MR. BOWER:        And I'll strike
     18              that.
     19              Q.        (BY MR. BOWER)         I'm just trying
     20      to understand.         Why is it that -- and I'll
     21      ask it this way.          Why is it that the upgrade
     22      in systems allows you to tell us that in
     23      November 2017, you began looking at
     24      additional information?
     25                        MS. FUMERTON:         Objection, form.

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      1                        THE WITNESS:        The change in
      2              systems alerted orders differently
      3              than the Reddwerks system did.
      4              Q.        (BY MR. BOWER)         And what system
      5      are you referring to that was changed in
      6      November of 2017?
      7              A.        It's now IQVIA, but you'll hear
      8      us refer to it as "Buzzeo."
      9              Q.        Thank you for that.
     10                        So let's go back now to the
     11      original kind of things that you considered.
     12      We've talked about the first one, which
     13      was -- which you just talked about.                  I don't
     14      want to raise any objections, so we'll go to
     15      the second one.
     16                        "Quantity of pills/
     17      prescription."         What does that mean?
     18                        MS. FUMERTON:         Objection, form.
     19                        THE WITNESS:        So the number of
     20              pills per prescription.
     21              Q.        (BY MR. BOWER)         And is that
     22      information at the pharmacy level?
     23              A.        Yes.
     24              Q.        And do you recall how far back
     25      that information would look?

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      1                        MS. FUMERTON:         Objection, form.
      2                        THE WITNESS:        For each alert,
      3              when we pull data, we looked at six to
      4              nine months of past data.
      5              Q.        (BY MR. BOWER)         The third
      6      factor I think you mentioned was payments,
      7      being insurance or by cash; correct?
      8                        MS. FUMERTON:         Objection, form.
      9                        THE WITNESS:        Yes.
     10              Q.        (BY MR. BOWER)         Was that also
     11      at the pharmacy level?
     12              A.        Yes.
     13              Q.        Did you also look at that data,
     14      start looking at that data in July 2015?
     15                        MS. FUMERTON:         Objection, form.
     16                        THE WITNESS:        Yes.
     17              Q.        (BY MR. BOWER)         Did your
     18      consideration of that data change from
     19      July 2015 through your involvement in this
     20      process?
     21              A.        The payment information or the
     22      data as a whole?
     23              Q.        The payment information now.
     24              A.        No.
     25              Q.        A couple more things and then

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      1      we'll be done with this for the moment.
      2                        The fourth thing you mentioned
      3      was how far patients were traveling; correct?
      4                        MS. FUMERTON:         Objection, form.
      5                        THE WITNESS:        Yes.
      6              Q.        (BY MR. BOWER)         And can you
      7      just be more specific as to what that means
      8      and whether -- strike that.
      9                        What does that mean?
     10              A.        So that means how far away is
     11      the patient's address that we have on file
     12      from the pharmacy in question.
     13              Q.        And all of this data we're
     14      talking about, I'm now talking about the 1
     15      through 5.       Was this in Archer that you were
     16      looking at this information?
     17              A.        No.
     18              Q.        Okay.     Where was this
     19      information made available?              Strike that.
     20                        How was this information made
     21      available to you?
     22              A.        Which timeframe?
     23              Q.        All right.        I appreciate that
     24      clarification.         Let's start in July of 2015.
     25              A.        So when we first -- when I

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      1      first started in July of 2015, the data was
      2      pulled directly from Teradata, put into
      3      Excel, and then it grouped together to find
      4      all of those different metrics.
      5              Q.        Did that process change at some
      6      point?
      7              A.        Yes.
      8              Q.        And when did that change occur?
      9                        Approximately.
     10              A.        Later in 2015.
     11              Q.        Okay.
     12              A.        I was made aware of a system,
     13      an analytical system, Alteryx.                And so I
     14      started pulling all of the information using
     15      the Alteryx system.
     16              Q.        Okay.     I don't want to get off
     17      track on that kind of project, so we'll talk
     18      about that Alteryx project maybe in a bit.                     I
     19      just want to close this out.
     20                        Did the information that you
     21      considered, with respect to how far patients
     22      travel, change at any point from July 2015
     23      through the time that you would have used
     24      this information?
     25              A.        No.

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      1              Q.        And then the same question for
      2      how far away prescribers were.
      3              A.        No.
      4              Q.        And that information was also
      5      at the pharmacy level?            The prescriber
      6      information?        Is that correct?
      7              A.        Yes.
      8              Q.        I think I got ahead of myself
      9      because we jumped ahead to this.
     10                        And this was -- this started --
     11      you started doing these reviews in 2015;
     12      correct?
     13              A.        Yes.
     14              Q.        In other words, prior to taking
     15      the job as senior analyst, looking now to
     16      your LinkedIn profile, "Senior Analyst,
     17      Health and Wellness Controlled Substance,"
     18      July 2015, prior to that date, you didn't
     19      have any role in reviewing this type of data;
     20      is that correct?
     21                        MS. FUMERTON:         Objection, form.
     22                        THE WITNESS:        I didn't look at
     23              this type of data for the purposes of
     24              suspicious order monitoring.
     25              Q.        (BY MR. BOWER)         So for what

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      1      reasons would you have looked at this type of
      2      data prior to July 2015?
      3              A.        So multiple projects that I
      4      have helped with, I would pull data similar
      5      to this.      Especially the dispensing trends
      6      and looking at payment information.                  That was
      7      something we commonly looked at, with other
      8      investigations.         I helped a lot with billing
      9      compliance, and they -- that was common data
     10      that they looked at.
     11              Q.        Did you ever look at that data
     12      in connection with your work on diversion
     13      projects?
     14                        MS. FUMERTON:         Objection, form.
     15                        THE WITNESS:        Yes.
     16              Q.        (BY MR. BOWER)         And do you
     17      recall approximately when that would have
     18      been?
     19                        Maybe just if you could look at
     20      your LinkedIn profile, maybe just give us an
     21      estimate as to what job you would have been
     22      in when that would have occurred?
     23              A.        So I started working with
     24      diversion, the diversion analytics team in --
     25      when I was in the compliance analyst

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      1      position.       We all went to Teradata training
      2      together.       And so it was during that
      3      timeframe that I started working with them.
      4      And so periodically over the last eight
      5      years, I've helped them with different
      6      queries and pulling data and looking at
      7      things.      But an exact timeframe, I'm not
      8      sure.
      9              Q.        And I appreciate this is going
     10      back a bit.       Maybe we can put a finer point
     11      on it, though, when we -- if we asked you
     12      when you went to the Teradata training.                   Or
     13      maybe not.
     14                        Well, but certainly it would
     15      have started sometime before September 2014;
     16      correct?
     17              A.        Yes.
     18              Q.        So before I forget, let's just
     19      talk about Exhibit 4, since I already gave it
     20      to you.
     21                        Take a moment to review it.
     22      And same as Exhibit 3, this was also produced
     23      as part of your custodial file.                So I just
     24      want to know if you're familiar with it, and
     25      then we can have some -- I do have some

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      1      specific questions on the spreadsheet.
      2                        So take a moment to review it
      3      and then we can talk about it.
      4                        [Document review.]
      5              Q.        (BY MR. BOWER)         And I see now
      6      you're looking at the -- kind of the longer
      7      spreadsheet with the columns; is that
      8      correct?
      9              A.        Yes.
     10              Q.        Take your time.          I don't want
     11      to cut you off, but I do want to point out
     12      that my questions will primarily be focused
     13      on just the column headings there.                 I'm not
     14      going to ask you about the specific numbers,
     15      so ...
     16                        But with that in mind, please
     17      take your time.
     18              A.        Okay.
     19                        [Document review.]
     20                        MS. FUMERTON:         And hopefully
     21              not about specific numbers on this
     22              page. (Indicating)
     23                        MR. BOWER:        Yes.    That's
     24              correct.       We won't be using that page.
     25                        But it may be -- I'm not

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       1              exactly sure how this document was
       2              formatted natively, but it may be
       3              helpful to turn to the second page,
       4              the one that's landscape.               It has more
       5              information that I will be asking
       6              about in those columns.
       7                         [Document review.]
       8                         I'm not going to ask you to
       9              look at that page.
      10                         THE WITNESS:        Okay.     I couldn't
      11              even begin to say what that one is.
      12                         MR. BOWER:       I'm not sure why
      13              that one came out so small.
      14                         [Document review.]
      15                         THE WITNESS:        Okay.
      16              Q.         (BY MR. BOWER)         Okay.     So let's
      17      start on the email.           Do you recognize any of
      18      these folks as Walmart employees?
      19              A.         No.
      20              Q.         And do you have any
      21      understanding as to how this document came to
      22      reside in your custodial file?
      23                         MS. FUMERTON:        Objection, form.
      24                         THE WITNESS:        No.
      25              Q.         (BY MR. BOWER)         Do you have any

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       1      knowledge as to why this document was
       2      produced as part of your custodial file in
       3      connection with this case?
       4                         MS. FUMERTON:        Objection, form.
       5                         THE WITNESS:        No.
       6              Q.         (BY MR. BOWER)         And let me just
       7      ask just so I get an understanding of what
       8      your familiarity is.
       9                         Why do you think you're here
      10      today?
      11                         MS. FUMERTON:        I -- I object to
      12              that question to the extent that it is
      13              seeking any information relating to
      14              conversations with counsel.
      15                         To the extent you can answer
      16              that question without revealing those
      17              questions, you can answer the
      18              question -- revealing those
      19              communications, you can answer the
      20              question.
      21                         THE WITNESS:        Okay.     So I'm
      22              here because of my involvement with
      23              the suspicious order monitoring
      24              program, and that involves opioids
      25              which are included in this case.

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       1              Q.         (BY MR. BOWER)         Do you have any
       2      understanding, other than what you've just
       3      told us, what this case is about?
       4                         MS. FUMERTON:        Again, the
       5              witness can answer to the extent that
       6              she can do so without revealing any
       7              communications with counsel, but
       8              otherwise I instruct her not to answer
       9              that question.
      10                         THE WITNESS:        The only way I
      11              know is because of counsel.
      12              Q.         (BY MR. BOWER)         Okay.     So other
      13      than in communications with counsel, you
      14      didn't do anything else to educate yourself
      15      as to why Walmart is involved in this case;
      16      is that correct?
      17              A.         Correct.
      18              Q.         You haven't reviewed the
      19      complaint, for example?
      20              A.         No, I have not reviewed the
      21      complaint.
      22              Q.         You're not familiar with the
      23      allegations that are being made against
      24      Walmart; is that correct?
      25                         MS. FUMERTON:        Again, in the

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       1              context, outside of communications
       2              with counsel, you can answer that.
       3                         If you have such knowledge, you
       4              can answer that question, but it's not
       5              directed based, I think, on his
       6              earlier ones, on our communications.
       7                         I know, it's a tricky --
       8                         THE WITNESS:        I think the
       9              answer is still no.
      10                         MR. BOWER:       Okay.
      11              Q.         (BY MR. BOWER)         And have you
      12      ever been asked whether you have documents
      13      that may be responsive to the allegations in
      14      this case?
      15                         MS. FUMERTON:        Objection, form.
      16              And to the extent -- objection, form.
      17              If you can understand and answer his
      18              question, you can answer "yes" or
      19              "no."
      20                         THE WITNESS:        Can you rephrase
      21              the question?         Try it that way?
      22              Q.         (BY MR. BOWER)         Sure.     And let
      23      me do it this way.
      24                         We'll see today some documents,
      25      some emails from you to others in Walmart and

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       1      some other documents that were produced to us
       2      in this case.        Okay?
       3              A.         Okay.
       4              Q.         Has anyone ever asked you
       5      whether you might have documents to produce
       6      to us that might relate to the allegations in
       7      this case?
       8                         MS. FUMERTON:        Again, objection
       9              to the form of the question.
      10                         If the question is has anybody
      11              asked her to -- whether or not she has
      12              documents -- my objection is to the
      13              "allegations in this case" portion of
      14              the question.         If you could rephrase.
      15              And I'm not trying to be difficult.
      16              I'm just trying to be helpful to get
      17              you the information you want without
      18              getting into any privileged
      19              information.
      20              Q.         (BY MR. BOWER)         Do you
      21      understand the question?
      22              A.         The basic form of the question,
      23      I think so, yes.
      24              Q.         Okay.     I'm just trying to get
      25      at whether anyone said, hey, Roxy, do you

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       1      have -- we've been sued in this case.                   Do you
       2      have anything that might be relevant to the
       3      case?
       4                         Anyone ever talk to you about
       5      that?
       6              A.         With that wording, no.
       7              Q.         What about with any wording
       8      similar to that?
       9              A.         Similar to that, no.
      10              Q.         What about in any capacity?
      11                         I mean, I'm not trying to play
      12      games here.        I'm just trying to figure out --
      13      we've made certain document requests to
      14      Walmart.      Right?      Certain documents were
      15      produced.       I'm just wondering whether anyone
      16      ever came to you and said, "Hey, do you have
      17      anything that we might need to produce in
      18      connection with this opioid case?"
      19                         MS. FUMERTON:        Okay.      So I
      20              think she's answered that question,
      21              and I think this is getting into
      22              complicated attorney -- potentially
      23              attorney-client privileged information
      24              that may be difficult for her to
      25              navigate on her own.            I can make this

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       1              representation, if this helps.
       2                         There is Archer data that
       3              counsel -- as we have discussed
       4              before, that has been produced in this
       5              case that Ms. Reed assisted in
       6              pulling.       And so she is familiar with
       7              that data and its production.
       8                         MR. BOWER:       Okay.     That is
       9              helpful.
      10              Q.         (BY MR. BOWER)         So other than
      11      what your counsel just said, have you, for
      12      example, been asked whether you have emails
      13      that might relate to the allegations that
      14      have been made against Walmart?
      15              A.         No.
      16              Q.         So let's go back to -- sorry
      17      for that.
      18                         Let's go back to Exhibit 4.
      19      And I'm not sure whether I allowed you to
      20      answer my question.           So let me ask it again.
      21      And I think you have, but let me just ask it
      22      again.
      23                         Are any of the folks on the
      24      email Walmart employees, to the best of your
      25      knowledge?

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       1              A.         Not that I know.
       2              Q.         So let's look -- the email
       3      reflects that the attachment is titled
       4      "Methodology for flagging of store orders."
       5                         Do you see that?
       6              A.         Yes.
       7              Q.         And so if we look at the first
       8      page of the attachment, which at the top says
       9      "Steps taken to create the" file number of
      10      order alerts, do you see -- the "final number
      11      of order alerts."          Do you see that?
      12              A.         Yes.
      13              Q.         Would these have been steps
      14      that you would have taken within Access to
      15      create these alerts?
      16                         MS. FUMERTON:        Objection, form.
      17                         MR. BOWER:       I'll strike it.
      18              That was a poor question.
      19              Q.         (BY MR. BOWER)         Would you have
      20      taken any of these steps in Access as
      21      reflected in this chart?
      22                         MS. FUMERTON:        Objection, form.
      23                         THE WITNESS:        So the steps,
      24              steps 1, 2, and 3, were taken to
      25              create the initial thresholds that

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       1              were then manually bound, that we
       2              talked earlier with the 20 and 50.
       3                         But this looks like they were
       4              trying to get a number of alerts, and
       5              the actual alerts would have happened
       6              in the Reddwerks system.              So the
       7              Access database wouldn't have
       8              calculated a number of alerts.                 It was
       9              calculating the threshold.
      10              Q.         (BY MR. BOWER)         Do you know
      11      where, during this time period, the alerts
      12      would have been calculated?
      13                         MS. FUMERTON:        Objection, form.
      14                         THE WITNESS:        So alerts weren't
      15              calculated.        The alert happened in the
      16              Reddwerks system.           This document, they
      17              were testing their methodology, from
      18              what I can tell, and they were trying
      19              to figure out, with this threshold,
      20              would it have alerted and calculating
      21              the number of alerts to test before
      22              putting it in the Reddwerks system to
      23              create actual alerts.
      24              Q.         (BY MR. BOWER)         In other words,
      25      it appears that they were trying to determine

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       1      whether these thresholds would create too
       2      many or too few alerts.
       3                         Would you agree with that?
       4                         MS. FUMERTON:        Objection, form.
       5                         THE WITNESS:        I would say they
       6              were trying to gauge the number of
       7              alerts.
       8              Q.         (BY MR. BOWER)         If we look at
       9      the next page in that attachment -- so I'm
      10      looking at the column "Shortcomings."                   Okay?
      11                         If you see -- if you look down,
      12      one, two, three -- the fourth box down there?
      13      That box states, "For stores which don't have
      14      '0' order entries and have their minimum
      15      thresholds limit replaced at 1764 (3*
      16      standard deviation of all stores), the
      17      current process won't detect aberrant order
      18      sizes."
      19                         Do you see that?
      20              A.         Yes.
      21              Q.         And this is referring to
      22      minimum thresholds; correct?
      23              A.         It looks like that, yes.
      24              Q.         Were those thresholds reflected
      25      in Access at this time?

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       1                         MS. FUMERTON:        Objection, form.
       2                         THE WITNESS:        Would which
       3              thresholds?
       4              Q.         (BY MR. BOWER)         Well, that's an
       5      inappropriate question, so I'll rephrase.
       6                         Were there minimum thresholds
       7      in the Access database at this time?
       8                         MS. FUMERTON:        Objection, form.
       9                         THE WITNESS:        So the Access
      10              database would not have the minimum
      11              threshold.
      12              Q.         (BY MR. BOWER)         Those would
      13      have been in Reddwerks?
      14              A.         They would have been later
      15      imported into Reddwerks, but they would be in
      16      the Excel spreadsheets.
      17              Q.         Okay.     Do you know how long
      18      this data was in those Excel spreadsheets?
      19              A.         Okay, which --
      20                         MS. FUMERTON:        Objection, form.
      21                         Go ahead.       Ask --
      22              Q.         (BY MR. BOWER)         Yeah, so I'm
      23      just trying to get a handle on kind of the
      24      sequence of events.           At some point thresholds
      25      are housed in Excel spreadsheets; is that

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       1      correct?
       2              A.         Yes.
       3              Q.         During that time period did
       4      that occur?
       5                         MS. FUMERTON:        Objection, form.
       6                         THE WITNESS:        The thresholds
       7              were always in -- while I worked on
       8              the program, the thresholds were
       9              always in Excel -- sorry.
      10                         They were in Excel and imported
      11              into Reddwerks.
      12              Q.         (BY MR. BOWER)         During the time
      13      you were on the program, were they always
      14      imported into Reddwerks?
      15                         MS. FUMERTON:        Objection, form.
      16                         THE WITNESS:        Depending on the
      17              timeframe.
      18              Q.         (BY MR. BOWER)         And I
      19      appreciate that.          That's why my question was
      20      broader.
      21                         During the time that you were
      22      involved in programming, were they always
      23      imported into Reddwerks?
      24              A.         So not always into Reddwerks,
      25      no.

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       1              Q.         Can you explain what you mean
       2      by that?
       3              A.         So in November of 2017, when we
       4      moved to the Buzzeo program, Reddwerks was no
       5      longer used to alert.
       6              Q.         So prior to November of 2017,
       7      were the thresholds always imported into
       8      Reddwerks?
       9                         MS. FUMERTON:        Objection, form.
      10                         THE WITNESS:        Yes.
      11              Q.         (BY MR. BOWER)         Okay.     And who
      12      would have had -- strike that.
      13                         Who would have had
      14      responsibility for importing the thresholds
      15      into Reddwerks?
      16              A.         Me.
      17              Q.         And when did you start to have
      18      that responsibility?
      19              A.         When I first joined the team,
      20      Miranda did that.          And so shortly thereafter,
      21      once I was trained on how to do it -- so a
      22      month, two months, I don't remember
      23      exactly -- I took that over once I was
      24      trained.
      25              Q.         So I'm just trying to walk

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       1      through kind of the process while you were
       2      responsible for it.           Okay?
       3                         The first step is the
       4      calculations of those thresholds in the
       5      Access database; is that correct?
       6              A.         So the first step would have
       7      been pulling data out of Teradata, shipment
       8      data out of Teradata and putting it in the
       9      Access database.
      10              Q.         And then what's the next step?
      11              A.         So then after that, the initial
      12      threshold would be calculated using the
      13      formulas in Access.
      14              Q.         And then after that?
      15              A.         Exported to Excel.
      16              Q.         Okay.
      17                         So after the calculations are
      18      made in Access, were there ever adjustments
      19      made before exporting to Excel?
      20              A.         Not in Access.
      21              Q.         What about in anywhere?
      22              A.         In Excel is where we would put
      23      the upper and lower limits.               And then adjust
      24      for any odd bottle sizes, the 500-count
      25      bottles, the 1,000-count bottles, and

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       1      liquids.
       2              Q.         And do you know -- strike that.
       3                         You mentioned that Miranda had
       4      been doing this for -- at some time period
       5      before you; correct?
       6              A.         Yes.
       7              Q.         Do you know when this procedure
       8      or process that you just described first
       9      began at Walmart?
      10              A.         I do not.
      11              Q.         If you look at Exhibit 3 or 4,
      12      based on your experience and your involvement
      13      in Access, does it appear that this procedure
      14      was being performed in January 2014?
      15              A.         No.
      16              Q.         And why do you say that?
      17              A.         As far as the Access part of
      18      it, I didn't create that database until later
      19      in 2014.      So I'm not sure how they would have
      20      been doing it prior to late 2014.
      21              Q.         So if we could go, then, to --
      22      let's see, the third page of the attachment.
      23                         MS. FUMERTON:        Which exhibit
      24              are we on now?
      25                         MR. BOWER:       Sorry, Exhibit --

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       1              sorry.      That's a good -- fair point.
       2                         Exhibit 4.
       3                         MS. FUMERTON:        Okay.
       4                         MR. BOWER:       The third page of
       5              the attachment, kind of the page
       6              before the landscape page which --
       7              store number in the top left?
       8                         THE WITNESS:        Yes.
       9              Q.         (BY MR. BOWER)         That just
      10      reflects the Walmart store number; correct?
      11              A.         Yes.
      12              Q.         And then, do you have any
      13      knowledge as to what "Q3 + 1.5 (Q3-Q1)"
      14      means?
      15              A.         No.
      16              Q.         What about the next column,
      17      "Threshold"?
      18              A.         I can assume what it is, would
      19      be the calculated threshold.               But without
      20      knowing more context of the rest of the
      21      data ...
      22              Q.         Well, these were in your
      23      custodial file.          Okay?     So I'm just trying to
      24      understand what the data means.                 If you don't
      25      know, do you know who at Walmart might know

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       1      the answer to that question?
       2              A.         I don't know based off this
       3      document.       I don't know who at Walmart it was
       4      sent to.
       5              Q.         Do you know who at Walmart
       6      would have been working thresholds in
       7      January 2014?
       8              A.         Kristy.
       9              Q.         And based on your experience,
      10      do you know what "Average" would refer to?
      11              A.         I would assume the average, but
      12      I don't know if it would be the average of
      13      the threshold or Q3.            I've never seen this
      14      before today.
      15              Q.         What about "Max"?          Have you
      16      seen that?
      17              A.         I don't know.
      18              Q.         Okay.     So I guess we'll have to
      19      ask Kristy.
      20                         Let's go to the next page,
      21      then.     I want to just see if you have any
      22      familiarity with these column headings.
      23      Okay, again, we have the store number; right?
      24              A.         Yes.
      25              Q.         And here we have average of all

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       1      non-0 entries.         Do you see that?
       2              A.         Yes.
       3              Q.         Do you know what that would
       4      refer to?
       5              A.         So for all of this, without
       6      seeing the data, I could make assumptions of
       7      what this means based off the headers, but I
       8      haven't seen it nor was I involved in the
       9      data pulling or the data manipulation, so I
      10      can't really answer many questions about the
      11      data.     Especially headers.           You never know
      12      what the exact header means.
      13              Q.         Well, I'm not asking you to --
      14      specific questions about the data, but I am
      15      asking you based on your experience at
      16      Walmart, based on your work in the Access
      17      database, your involvement in this process.
      18      And the fact that these were in your
      19      custodial file.         So I'm going to ask the
      20      questions.       If you tell me you don't know,
      21      that's okay.        But I have to ask them.             Okay?
      22              A.         Okay.
      23              Q.         Do you know what "Average of
      24      all order entries" would refer to?
      25              A.         I'm assuming all of -- the

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       1      average of the orders that were in the data
       2      set.
       3              Q.         And, again, just going back for
       4      a moment and based on your experience, when
       5      they say "Order" here, they're really
       6      referring to an order of a specific item
       7      number; correct?
       8                         MS. FUMERTON:        Objection, form.
       9                         THE WITNESS:        I would assume
      10              so, yes.
      11              Q.         (BY MR. BOWER)         And why would
      12      you assume that?
      13              A.         Based on the fact that the
      14      thresholds were on an item-specific level,
      15      then I would assume that that's what this
      16      analysis was on as well.
      17              Q.         Okay.     Thank you.
      18                         Instead of me going through
      19      these one by one, why don't you take a
      20      moment, read them, and tell me if you are
      21      familiar with what any of them mean.
      22                         MS. FUMERTON:        And limited to
      23              this page.
      24                         MR. BOWER:       Limited to this
      25              page, yes.        Sorry.     Thank you.        I'm

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       1              just trying to make it easier for
       2              everybody.
       3                         THE WITNESS:        So again, I could
       4              make assumptions of what these mean
       5              based off the headers.
       6              Q.         (BY MR. BOWER)         Okay.     Well,
       7      why don't we just go through them quickly and
       8      have you at least tell us based on your
       9      experience what you believe them to mean.                     I
      10      think that might be helpful for us down the
      11      road.
      12              A.         Okay.
      13              Q.         Okay?
      14                         So why don't we just start
      15      where we left off.           "Difference of non-0
      16      average from overall mean."
      17              A.         So it looks like they were
      18      taking the difference of that individual
      19      store, non-0 average, so excluding the 0s, to
      20      the overall mean for that drug.
      21              Q.         And --
      22              A.         I'm assuming.
      23              Q.         And the overall mean would be
      24      overall for all stores?             All Walmart
      25      pharmacies, rather?

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       1              A.         That's the way I would
       2      interpret it.
       3              Q.         Okay.     Has Walmart ever looked
       4      at, for example, the mean for pharmacies in
       5      addition to Walmart pharmacies?
       6                         MS. FUMERTON:        Objection, form.
       7                         THE WITNESS:        So looking at
       8              other -- like competitors?
       9                         MR. BOWER:       Yes.
      10                         THE WITNESS:        Not that I'm
      11              aware of.
      12              Q.         (BY MR. BOWER)         Okay.     Have you
      13      ever been involved in any discussions of
      14      whether Walmart should consider, you know,
      15      the ordering patterns for other pharmacies?
      16                         MS. FUMERTON:        Objection, form.
      17                         THE WITNESS:        I have not.
      18              Q.         (BY MR. BOWER)         Okay.     And then
      19      what -- "percentage change in mean," what,
      20      based on your experience, would that refer
      21      to?
      22                         MS. FUMERTON:        Objection, form.
      23                         THE WITNESS:        I think that's
      24              just the percent change between the
      25              different -- of the difference.

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       1              Q.         (BY MR. BOWER)         In other words,
       2      when you strip out the non-0 orders, how that
       3      impacts the mean?
       4                         MS. FUMERTON:        Objection, form.
       5                         THE WITNESS:        It's hard to tell
       6              from the header.           I assumed it was the
       7              difference -- the percent change from
       8              that drug to the overall mean.
       9              Q.         (BY MR. BOWER)         I see.     Okay.
      10                         But it's hard to tell from
      11      looking at the document; right?
      12              A.         Absolutely.
      13              Q.         I think the next few are pretty
      14      self-explanatory with respect to standard
      15      deviation of all non-0 entries.                 That's just
      16      stripping out orders of 0; correct?
      17                         MS. FUMERTON:        Objection, form.
      18              Q.         (BY MR. BOWER)         All right, well
      19      let me just ask it, then.
      20                         What does standard -- based on
      21      your experience, "standard deviation of all
      22      non-0 entries" refer to?
      23              A.         So it's excluding the non-0
      24      entries which were excluded in the average,
      25      and then the standard deviation of those

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       1      orders.
       2              Q.         And then what about -- three
       3      standard deviations is that number just times
       4      3; correct?
       5              A.         Yes.
       6              Q.         What about "MU plus 3 Sigma"?
       7                         Do you know what that refers
       8      to?
       9              A.         Yes.    So "MU" would be the
      10      mean.     That's the symbol for mean.               And then
      11      "Sigma" is the symbol for the standard
      12      deviation.
      13                         So that would be the mean plus
      14      three standard deviations.
      15              Q.         Very helpful.        Thank you.
      16                         Do you know what the next one
      17      refers to when it says, "Calculate a
      18      threshold from present methodology"?
      19                         Do you see that?
      20              A.         I do.
      21              Q.         Do you know what "present
      22      methodology" would refer to?
      23              A.         I do not.
      24              Q.         What about if you look at the
      25      actual -- now I am asking you to look at the

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       1      actual numbers.         Do you see -- at least on
       2      this page, they all appear to be the same
       3      except for one.         Does that help you in any
       4      way answer that question?
       5              A.         Well, there's a hand -- it
       6      looks like three --
       7              Q.         I apologize.        Right.
       8              A.         -- or four that are different.
       9      It does not help.
      10              Q.         And then the next column,
      11      "Difference from threshold" is just -- maybe
      12      it's not so clear.
      13                         It's just subtracting that
      14      calculated threshold from present methodology
      15      from the MU plus 3 Sigma; correct?
      16              A.         That looks to be correct, yes.
      17              Q.         Do you know what the "Maximum
      18      order," going over a few, refers to?
      19              A.         My best guess would be the
      20      maximum order for that store for the
      21      timeframe.
      22              Q.         (BY MR. BOWER)         Is there any
      23      way to tell what that timeframe is by looking
      24      at this document?
      25                         MS. FUMERTON:        I think his

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       1              question is broader, so I just want to
       2              make sure you take the time to look.
       3              Q.         (BY MR. BOWER)         Yeah.     Is there
       4      anywhere in here where you would look to know
       5      what kind of timeframe we're looking at here?
       6              A.         So the first page of the
       7      attachment says "Time period for calculating
       8      mean and standard deviation was from Walmart
       9      week 201249 to 201348."
      10              Q.         Okay.     So would that refer to
      11      week 49 in the year 2012?
      12              A.         I think so.       I think it's real
      13      year, not fiscal year.
      14              Q.         Okay.
      15              A.         This was --
      16              Q.         This was early '14 -- really
      17      early year 2014, if that helps.
      18              A.         Yeah.     So I think that's real
      19      year, based on that.
      20              Q.         Okay.
      21              A.         So because that would be --
      22      January of 2014 would be fiscal year '14.
      23              Q.         Right.
      24              A.         And so I don't -- logically
      25      they would have used just the weeks prior and

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       1      then a year back.
       2              Q.         Okay.     So based on that, this
       3      looks to be approximately a year's worth of
       4      data?     Would you agree with that?
       5              A.         Yes.
       6              Q.         And I think the rest are
       7      self-explanatory there.
       8                         Oh, I do have a couple more
       9      questions on, not this page, but a couple
      10      pages further, after the page with the --
      11              A.         After the extremely small page?
      12              Q.         Yes.
      13              A.         Okay.
      14              Q.         So on the top of that page, it
      15      says that "Stores flagged by method one, but
      16      not Dixon test."          Do you know what "Dixon
      17      test" refers to?
      18              A.         I do not.
      19              Q.         Okay.     I think we're done with
      20      that document.
      21                         MS. FUMERTON:        We have been
      22              going approximately an hour.                A little
      23              over an hour.         Is now a --
      24                         MR. BOWER:       Yeah, it is.        I
      25              might have just one follow-up

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       1              question, but we can certainly take a
       2              break.      Let me just read my notes.
       3                         No, we can take a break.
       4                         MS. FUMERTON:        Okay.
       5                         THE VIDEOGRAPHER:          10:44.      We
       6              are off the video record.
       7                         (Recess taken, 10:44 a.m. to
       8              10:59 a.m.)
       9                         THE VIDEOGRAPHER:          10:59.      We
      10              are on video record.
      11              Q.         (BY MR. BOWER)         Now we're back
      12      on the record.
      13              A.         Okay.
      14              Q.         Let me hand you what's marked
      15      as Exhibit 5.
      16                         (Walmart-Reed Deposition
      17              Exhibit 5 was marked for
      18              identification.)
      19              Q.         (BY MR. BOWER)         And you will
      20      see it's a rather lengthy document.                  So do
      21      take your time and review it.                I'm not going
      22      to ask you too many questions on it.                   Just
      23      have a couple of questions on the cover
      24      email.     And then I want to talk about kind of
      25      why you're sending this document in end of

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       1      2014.     And then a couple of the slides on the
       2      attachment.
       3                         But certainly feel free to
       4      review them all, but I'll direct you to the
       5      ones I'll have questions on.               And that's
       6      ending in 582 and 583.
       7                         MS. FUMERTON:        Okay.      But you
       8              still can take time to review the --
       9                         MR. BOWER:       Yes.
      10                         MS. FUMERTON:        -- entire
      11              document --
      12                         MR. BOWER:       Yes.
      13                         MS. FUMERTON:        -- for context.
      14                         MR. MILLER:       And while the
      15              witness is reviewing the document, can
      16              someone read the entire Bates range of
      17              the document?
      18                         MR. BOWER:       Sure.     The first
      19              Bates number is a Walmart document
      20              ending in 48562, and it goes through
      21              48598.
      22                         [Document review.]
      23                         MS. FUMERTON:        And while she's
      24              reviewing --
      25                         Zach, I understand that

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       1              Exhibit 4 -- and I'm not objecting to
       2              the exhibit.         I just want to make a
       3              record that there were additional tabs
       4              in the native file that aren't
       5              reflected here.
       6                         MR. BOWER:       Okay.     Thank you
       7              for that.
       8                         [Document review.]
       9              Q.         (BY MR. BOWER)         Have you had a
      10      chance to review the document?                Or are you
      11      still looking?
      12              A.         Well, I have reviewed --
      13      skimmed through it, yes.
      14              Q.         And what I'm going to do is
      15      I'll start the questions.              If you need more
      16      time to look at it, then we can give you some
      17      more time to look at it.             Okay?
      18              A.         Okay.
      19              Q.         So just going to the cover
      20      email, the email from yourself to
      21      Maria Smith?        Do you see that?
      22              A.         Yes.
      23              Q.         Dated 11-3-2014; correct?
      24              A.         Yes.
      25              Q.         Who is Maria Smith?

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       1              A.         Maria Smith was the director of
       2      the -- it included the systems analytics team
       3      that I was on.         I think, based on the second
       4      page, she's the director of health and
       5      wellness compliance monitoring risk and
       6      governance.
       7              Q.         Oh, I see it there.
       8                         Do you have any recollection as
       9      to why you would be sending her this document
      10      in November 2014?
      11              A.         I had to go all the way to the
      12      very last page to see my involvement.
      13              Q.         Okay.
      14              A.         It would have been the national
      15      assessment program.
      16              Q.         Okay.     And you were looking
      17      at -- just so the record is clear, what's the
      18      Bates number on the page you're looking at?
      19                         MS. FUMERTON:        And the Bates
      20              number is on the thing on the corner.
      21                         MR. BOWER:       On the bottom.
      22              Sorry, yeah.
      23                         THE WITNESS:        The last numbers
      24              are 48598.
      25              Q.         (BY MR. BOWER)         Okay.     And what

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       1      was the national assessment program?
       2              A.         So it is the compliance
       3      assessment program that we assessed a
       4      sampling of our stores in regards to their
       5      compliance to different programs.
       6              Q.         I'm just trying to kind of
       7      unpack exactly what that means.
       8                         So can you identify for us what
       9      programs you were attempting to assess
      10      compliance of?
      11              A.         So there would have been
      12      multiple different compliance-related things
      13      involved in the assessment.
      14              Q.         Okay.     Maybe I can streamline
      15      this a little bit.
      16              A.         Okay.
      17              Q.         Did any of those relate to
      18      diversion?
      19                         MS. FUMERTON:        Objection, form.
      20                         THE WITNESS:        Not that I
      21              recall.
      22              Q.         (BY MR. BOWER)         Did any of
      23      those relate to suspicious order monitoring?
      24              A.         No.
      25              Q.         Did any of those relate to

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       1      dispensing in connection with red flags for
       2      prescribers or C-II products?
       3                         MS. FUMERTON:        Objection, form.
       4                         THE WITNESS:        So there were
       5              questions involving following our
       6              policies, and so that would include
       7              the proper drop-off procedures,
       8              reviewing other prescriptions, things
       9              like that.        And then there were
      10              security-related questions with
      11              controlled substances.
      12              Q.         (BY MR. BOWER)         Okay.     Can you
      13      just give a -- give us an example of what you
      14      mean by "security-related questions"?
      15              A.         So are the keys to the C-II
      16      drawer on the manager at all times?
      17                         Is the -- is the drawer locked
      18      at all times?
      19                         Things like that.
      20              Q.         And these were questions
      21      because Walmart was concerned with employee
      22      pilferage; is that correct?
      23                         MS. FUMERTON:        Objection, form.
      24                         THE WITNESS:        So they were
      25              questions to be sure that our policies

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       1              were being followed.
       2              Q.         (BY MR. BOWER)         And those
       3      policies were designed to minimize employee
       4      pilferage of C-II narcotics; is that correct?
       5                         MS. FUMERTON:        Objection, form.
       6                         THE WITNESS:        The policies were
       7              in place, and the result of those was
       8              to minimize inappropriate employee
       9              actions.
      10              Q.         (BY MR. BOWER)         And, in fact,
      11      Walmart tracked employee pilferage, didn't
      12      it?
      13                         MS. FUMERTON:        Objection, form.
      14                         THE WITNESS:        We have a global
      15              investigations team that would have
      16              handled that.         I'm -- I'm not sure
      17              what kind of tracking they have.
      18              Q.         (BY MR. BOWER)         So let's look
      19      back at this exhibit, then.
      20                         Given what you said, I just
      21      have a couple of questions.               And I misspoke
      22      earlier.      I do have a question on page ending
      23      48581.     So if we could turn to that.                That
      24      page says "Risk overview," and the first
      25      bullet point says "Upgrades to security

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       1      cameras required under MOA with DEA."
       2                         Do you see that?
       3              A.         Yes.
       4              Q.         Do you know what "MOA" stands
       5      for?
       6              A.         I've heard the term multiple
       7      times.     I can't recall what the acronym
       8      means.
       9              Q.         Do you know what was required
      10      of Walmart relating to this MOA with the DEA?
      11              A.         I don't know everything that
      12      was required, no.
      13              Q.         Well, what do you know about
      14      it?
      15              A.         I do know that the -- our
      16      refusal-to-fill process stemmed from the MOA.
      17              Q.         Do you know when Walmart
      18      entered into the MOA?
      19                         Just provide a verbal answer so
      20      the --
      21              A.         Umm --
      22              Q.         Oh, sorry.       Were you still
      23      thinking?
      24              A.         Yeah.
      25              Q.         I'm sorry about that.

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       1              A.         I was like, okay.
       2              Q.         Sorry about that.          I thought I
       3      had missed a head nod or a shake.
       4              A.         No.
       5                         MS. FUMERTON:        Again, I just
       6              want to question, and again, I don't
       7              know if there is anything here, but
       8              again, to the extent you have
       9              knowledge, you can answer his
      10              questions, but to the extent that it
      11              would reveal communications with
      12              attorneys, then I would instruct you
      13              not to answer.          But otherwise, please
      14              answer the question.
      15                         MR. BOWER:       Well, the answer
      16              just calls for a date, so I think she
      17              can answer.
      18                         MS. FUMERTON:        No, I agree.
      19              I'm just saying in general with
      20              respect to --
      21                         MR. BOWER:       This issue?
      22                         MS. FUMERTON:        Yeah, this
      23              issue.
      24                         THE WITNESS:        Yeah, I don't
      25              know -- I know the refusal-to-fill

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       1              process, as I worked with it, started
       2              in 2011, and I knew it was involving
       3              the MOA.       But other than that, I
       4              wouldn't have been involved in that
       5              section at all.
       6              Q.         (BY MR. BOWER)         And what is
       7      that refusal-to-fill process that you're
       8      referring to?
       9              A.         So the refusal-to-fill process
      10      is where our pharmacists document when they
      11      refuse to fill a prescription.
      12              Q.         And it's your understanding
      13      that Walmart adopted that process in
      14      connection with an MOA with the DEA; is that
      15      correct?
      16                         MS. FUMERTON:        Objection, form.
      17                         THE WITNESS:        Walmart started
      18              reporting the results of that process
      19              because of the MOA.
      20              Q.         (BY MR. BOWER)         Okay.     Do you
      21      have any knowledge as to whether Walmart made
      22      changes to the process as a result of the
      23      MOA?
      24                         MS. FUMERTON:        Objection, form.
      25                         THE WITNESS:        I do not know.

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       1              Q.         (BY MR. BOWER)         Do you know who
       2      would know that?
       3              A.         Somebody on the now practice
       4      compliance team.
       5              Q.         This page, going back to this
       6      page on this exhibit, page ending in 48581,
       7      refers to "Upgrades to security cameras
       8      required under MOA with DEA."
       9                         Do you see that?
      10              A.         Yes.
      11              Q.         Do you know what that refers
      12      to?
      13              A.         Based on this, it seems like we
      14      had to update our closed-circuit TVs, but
      15      other than what this says, I don't know.
      16              Q.         And also based on this, it
      17      refers to general controlled substance
      18      security requirements; correct?
      19              A.         Yes.
      20              Q.         And that's also in connection
      21      with the MOA with the DEA; correct?
      22                         MS. FUMERTON:        Objection, form.
      23              Q.         (BY MR. BOWER)         Well, let me
      24      just read the whole thing in the record,
      25      then.     It says, "Refill overview.               Upgrades

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       1      to security cameras required under MOA with
       2      DEA and general controlled substance security
       3      requirements."
       4                         Do you see that?
       5              A.         Yes.
       6              Q.         And then it has a chart there;
       7      right?
       8              A.         Yes.
       9              Q.         And the chart reflects
      10      number of installations for CCT -- CCTV
      11      cameras; right?
      12              A.         Yes.
      13              Q.         And those installations appear
      14      to go from approximately less than -- well,
      15      strike that.
      16                         What is -- let me try that
      17      again.
      18                         The first date on the bottom of
      19      the chart is 5-8.
      20                         Do you see that?
      21              A.         Yes.
      22              Q.         What's the approximate number
      23      of cameras identified on 5-8, based on the
      24      chart?
      25                         MS. FUMERTON:        Objection, form.

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       1              Q.         (BY MR. BOWER)         It appears to
       2      be less than 25; right?
       3                         Would you agree it's less than
       4      100?    Make it easier?
       5              A.         Yes.
       6              Q.         And then throughout the year it
       7      tracks upward; correct?
       8              A.         Yes.
       9              Q.         And it ends approximately --
      10      the chart ends approximately on, I would say
      11      around -- sometime around 11-6?
      12                         MS. FUMERTON:        Is there a
      13              question?
      14              Q.         (BY MR. BOWER)         Give or take?
      15      Would you agree with that?
      16                         MS. FUMERTON:        Objection, form.
      17              Q.         (BY MR. BOWER)         With the line
      18      on the chart?        Ends approximately 11-6.
      19                         Would you agree with that?
      20              A.         Yes.
      21              Q.         And at that point, it appears
      22      that there are now well over 2,000 CCTV
      23      cameras.      Would you agree with that?
      24                         MS. FUMERTON:        Objection, form,
      25              lack of foundation.

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       1                         THE WITNESS:        Yes.
       2              Q.         (BY MR. BOWER)         So it appears
       3      from this chart on this slide that Walmart
       4      has added more than 2,000 security cameras in
       5      less than a year as a result of an MOA with
       6      DEA related to controlled substances.
       7                         Would you agree with that?
       8                         MS. FUMERTON:        Objection, form.
       9              Lack of foundation.
      10                         THE WITNESS:        Yes.
      11              Q.         (BY MR. BOWER)         Okay.     Let's
      12      turn to the next page, ending in 582.
      13                         Do you see this has a chart
      14      regarding dispensing trends?
      15              A.         Yes.
      16              Q.         Would you have any personal
      17      involvement in the information that was
      18      included in this chart?
      19              A.         No.
      20              Q.         Do you know whether -- for
      21      example, if you look at the -- it's a little
      22      bit hard to tell because this is not in
      23      color, but you can tell by the format of the
      24      line, if you look at, for example, the top
      25      one, which is HCP or hydrocodone combination

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       1      products.
       2                         Do you see that?
       3              A.         Yes.
       4              Q.         Which is the -- kind of the
       5      gray line with the square?
       6                         MS. FUMERTON:        They're all
       7              gray.      Just for the record.
       8                         I guess --
       9              Q.         (BY MR. BOWER)         Well, let's go
      10      through it.
      11                         MS. FUMERTON:        I just want to
      12              make the record to be clear.
      13              Q.         (BY MR. BOWER)         Yeah, so the
      14      record will reflect we're looking at page
      15      ending in 48582.          There's four lines in this
      16      chart.     The oxycodone line is just a darkish
      17      gray line.       There's a title on all three
      18      lines, which is lighter gray with a box
      19      outlined in darker gray.
      20                         And there is an HCP line with a
      21      similar line, but that box is not outlined in
      22      darker gray, and there's a Tramadol line
      23      which is the darkest gray.              Okay?
      24                         So can you tell from that kind
      25      of -- those indications in the bottom right,

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       1      which of these lines, for example, tracks the
       2      hydrocodone combination products?
       3              A.         The top one.
       4              Q.         Okay.     And do you know where
       5      Walmart would have pulled this information
       6      from?
       7              A.         So my best guess, having not
       8      pulled the data, would be either Teradata or
       9      Retail Link.
      10              Q.         Is it your understanding, based
      11      on your experience with pulling data at
      12      Walmart, that this data reflects Walmart
      13      dispensing and not some other dispensing
      14      number?
      15                         MS. FUMERTON:        Objection, form.
      16                         THE WITNESS:        Yes, it would
      17              just be Walmart data.
      18              Q.         (BY MR. BOWER)         So it appears
      19      here that Walmart is, for example, tracking
      20      dispensing of oxycodone products during this
      21      year; correct?
      22                         MS. FUMERTON:        Objection, form.
      23                         THE WITNESS:        Oxycodone
      24              products appear to be on here.
      25                         MR. BOWER:       Right.

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       1                         THE WITNESS:        As far as the
       2              dispensed.
       3              Q.         (BY MR. BOWER)         And this chart
       4      reflects dispensing trends; right?
       5              A.         Yes.
       6                         MS. FUMERTON:        Objection, form.
       7              Q.         (BY MR. BOWER)         The top of this
       8      notes, the first bullet point, as of 10-6-14,
       9      hydrocodone combination products are
      10      Schedule II controlled substances and subject
      11      to heightened security requirements.
      12                         Do you see that?
      13                         MS. FUMERTON:        Objection, form.
      14              Misstates the document.
      15              Q.         (BY MR. BOWER)         You can answer
      16      it.
      17                         MS. FUMERTON:        It's not a test.
      18              You said "heightened security
      19              requirements."          The word "security" is
      20              not in there.
      21                         MR. BOWER:       Oh, okay.
      22              Q.         (BY MR. BOWER)         So basically
      23      heightened requirements.
      24                         Do you see that?
      25              A.         Yes.

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       1              Q.         Do you know what that refers
       2      to?
       3              A.         Hydrocodone change schedule
       4      from a -- I think it was a III to a II.
       5              Q.         And do you know what heightened
       6      requirements were required when it became a
       7      Schedule II?
       8                         MS. FUMERTON:        Objection, form.
       9                         THE WITNESS:        So Schedule II
      10              drugs have different requirements than
      11              the other schedules, such as different
      12              prescription requirements, different
      13              security requirements for the actual
      14              drugs themselves.
      15              Q.         (BY MR. BOWER)         Do you know
      16      whether the requirements for suspicious order
      17      monitoring are different for Schedule II
      18      products versus Schedule III products?
      19                         MS. FUMERTON:        Objection, form.
      20                         THE WITNESS:        Do I know if --
      21              can you restate the question?
      22              Q.         (BY MR. BOWER)         Sure.     I'll
      23      just read back the question.
      24                         Do you know whether the
      25      requirements for suspicious order monitoring

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       1      for distributors are different for
       2      Schedule II products versus Schedule III
       3      products?
       4                         MS. FUMERTON:        Objection, form.
       5                         THE WITNESS:        I do not.
       6              Q.         (BY MR. BOWER)         If you'd turn
       7      to the next page.
       8                         Okay.     This is titled "DEA
       9      activity."       Do you see that at the top?
      10              A.         Yes.
      11              Q.         And then it says "DC 6028
      12      inspection"?        Do you see that?
      13              A.         Yes.
      14              Q.         Okay.     The first bullet point
      15      states, "DEA requested additional information
      16      about our suspicious order monitoring program
      17      in late September."           Do you see that?
      18              A.         Yes.
      19              Q.         Do you know anything about
      20      that?
      21                         MS. FUMERTON:        Objection, form.
      22                         THE WITNESS:        So I was involved
      23              in helping pull some data in late
      24              September for 6028.
      25                         I did not know at the time that

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       1              it had anything to do with the
       2              suspicious order monitoring.
       3              Q.         (BY MR. BOWER)         Okay.     Well
       4      just -- I was asking about what you did then,
       5      not whether it was involved in this.
       6                         Okay.     What did you do in late
       7      September for data with respect to 6028?
       8              A.         So that was four years ago.
       9              Q.         Right.
      10              A.         And so I don't remember
      11      specifics.       I remember pulling large amounts
      12      of data, and then there were conversations
      13      about the data with legal.
      14              Q.         Okay.     Do you remember who
      15      asked you to pull the data?
      16              A.         With this one, I don't remember
      17      specifically who pulled me into the project.
      18              Q.         Okay.     Do you recall the names
      19      of others who may have been involved in the
      20      project?
      21              A.         So Kristy Spruell was, as well
      22      as George Chapman.           And then there were
      23      logistics folks that I weren't -- I didn't
      24      have any interaction with.
      25              Q.         And what were the names of the

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       1      folks from legal who you would discuss the
       2      data with?
       3              A.         She was outside counsel.
       4      Jodie -- I do not remember her last name.
       5              Q.         Do you know what firm she was
       6      with, for example?
       7              A.         No.
       8              Q.         Did you speak with her on the
       9      phone or in person?
      10              A.         We spoke on the phone a couple
      11      of times, and then I know there were some
      12      emails that she was included in.
      13              Q.         Okay.     Do you recall anything
      14      else about the data that was pulled?
      15              A.         All I know is it was shipment
      16      data.
      17              Q.         Okay.     As you sit here today,
      18      nothing else you can recall about a request
      19      related to pulling data for 6028 that we
      20      haven't discussed already?
      21                         MS. FUMERTON:        And I would just
      22              like to add as a limit around that
      23              question, that was not discussed with
      24              counsel.
      25                         THE WITNESS:        No.

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       1                         (Walmart-Reed Deposition
       2              Exhibit 6 was marked for
       3              identification.)
       4              Q.         (BY MR. BOWER)         Okay.     You've
       5      been handed what's been marked as Exhibit 6.
       6      So please take your time to review it, to --
       7      it's relatively short, two-page email, with
       8      an attachment.
       9                         So while you're doing that,
      10      I'll read the Bates number.               It begins in
      11      26982, ending in 26988.             And again, it's a
      12      Walmart document.
      13                         [Document review.]
      14                         MS. FUMERTON:        I'm sorry.        Do
      15              you need to ask me a question?
      16                         THE WITNESS:        Yes.
      17                         Can I ask her a question?
      18                         MS. FUMERTON:        Is it a question
      19              about potentially privileged
      20              information?
      21                         THE WITNESS:        Yes.
      22                         MS. FUMERTON:        Okay.      Can we
      23              please go off the record?
      24                         MR. BOWER:       Sure.
      25                         THE VIDEOGRAPHER:          11:23.      We

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       1              are off the video record.
       2                         (Recess taken, 11:23 a.m. to
       3              11:25 a.m.)
       4                         THE VIDEOGRAPHER:          11:26.      We
       5              are on the video record.
       6                         MS. FUMERTON:        And I just
       7              wanted to -- I don't think a question
       8              was pending.         She's in the process of
       9              reviewing, so if she can continue to
      10              review the document before you ask
      11              questions, that would be appreciated.
      12                         MR. BOWER:       Sounds good.
      13              Please do so.
      14                         THE WITNESS:        Okay.
      15              Q.         (BY MR. BOWER)         So let's start,
      16      I guess, on the cover email.               At the top is
      17      an email from Miranda Johnson to yourself.
      18      Correct?
      19              A.         Yes.
      20              Q.         Cc'ing a few others.
      21                         And this is dated November 7,
      22      2014; correct?
      23              A.         Yes.
      24              Q.         Do you have any understanding
      25      as you sit here today why Miranda is sending

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       1      this to you in November of 2014?
       2              A.         Yes.
       3              Q.         And --
       4              A.         And --
       5              Q.         Go ahead.
       6                         MS. FUMERTON:        Let him ask his
       7              question.
       8                         THE WITNESS:        Sorry.
       9              Q.         (BY MR. BOWER)         And what is
      10      that understanding?
      11              A.         So I was in charge of the
      12      health and wellness compliance dashboard that
      13      was sent to our VP.           At the time it looks
      14      like it was Phyllis Harris.
      15                         And part of that scorecard
      16      included a quantitative part, which would
      17      have been the Tableau dashboard.                 And then
      18      there was a qualitative section.
      19                         So I sent out -- earlier in the
      20      email, I sent to the leaders of the team, the
      21      stakeholders, asking for updates to the
      22      qualitative section, and they would send me
      23      back their updates.
      24              Q.         So was that the full scope of
      25      your responsibility in connection with the

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       1      update?      Simply sending it out?
       2                         MS. FUMERTON:        Objection, form.
       3              Misstates the testimony.
       4                         MR. BOWER:       Well, I'll strike
       5              it, then.
       6              Q.         (BY MR. BOWER)         Were you
       7      involved in putting this update together at
       8      all?
       9                         MS. FUMERTON:        Objection, form.
      10                         THE WITNESS:        The information
      11              in each of the different sections came
      12              from the leaders of that area, and I
      13              combined them all into one document to
      14              go to leadership.
      15              Q.         (BY MR. BOWER)         Okay.     If you'd
      16      turn to the last page of the document, it
      17      refers to suspicious order monitoring.
      18      Right?
      19              A.         Yes.
      20              Q.         Were you involved in suspicious
      21      order monitoring during this time period?                     In
      22      any way?
      23                         MS. FUMERTON:        Objection, form.
      24                         THE WITNESS:        I was still on
      25              Casey's team working with the systems

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       1              analytics, but there were portions of
       2              this I was supporting at that time.
       3              Q.         (BY MR. BOWER)         Okay.     And what
       4      were you supporting at that time?
       5                         This is, again, November of
       6      2014.
       7              A.         So that would have been at the
       8      time that I was helping with the Access
       9      database, that created the thresholds.                    And
      10      there's also a reference to the store
      11      profile.      And that would be in Archer that I
      12      would have helped develop.
      13              Q.         Why don't I just ask about that
      14      store profile, since you mentioned it.                    Do
      15      you recall what information is in the store
      16      profile?
      17                         MS. FUMERTON:        Objection, form.
      18                         THE WITNESS:        The information
      19              that was in the store profile at the
      20              time would be different than now.
      21                         At the time, I know that there
      22              was basic store information, so DEA
      23              number, where the store is located,
      24              things like that.
      25                         So if my memory serves me

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       1              right, at the time it would have been
       2              the more basic information.
       3              Q.         (BY MR. BOWER)         Let me ask kind
       4      of a related question.             Earlier, if you
       5      recall, we talked about certain information
       6      such as quantity of pills per prescription,
       7      whether payments were made in insurance
       8      versus cash.        Was that information included
       9      in the store profile at any time?
      10                         MS. FUMERTON:        Objection, form.
      11                         THE WITNESS:        That information
      12              is now linked to the store profile.
      13              It's not a part of the store profile.
      14              It's linked to it.
      15              Q.         (BY MR. BOWER)         Do you have
      16      any, as you sit here today, recollection of
      17      when Walmart began linking that information
      18      to the store profile?
      19              A.         We started in late 2015, and
      20      did all the data for 2015.
      21              Q.         And do you have any
      22      recollection -- strike that.
      23                         Do you have any knowledge as to
      24      why Walmart started linking that information
      25      to the store profile?

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       1                         MS. FUMERTON:        Objection, form.
       2                         THE WITNESS:        So that was done
       3              after I joined the team, and it was an
       4              enhancement to the store profile based
       5              on the "know your customer"
       6              information.
       7              Q.         (BY MR. BOWER)         And was that in
       8      connection with Walmart's suspicious order
       9      monitoring program?
      10              A.         Yes.
      11              Q.         And if you look at -- oh,
      12      sorry.     Yeah, you already answered that
      13      question.
      14                         If you look at page 2 of the
      15      attachment, there is a reference to that
      16      hydrocodone reclassification.
      17                         Do you see that?
      18              A.         Yes.
      19              Q.         Okay.     Did that
      20      reclassification impact in any way your
      21      duties and responsibilities?
      22              A.         No.
      23              Q.         When did you first become
      24      involved in Archer?           I think I asked this,
      25      but ...

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       1                         I think we're getting closer to
       2      that time period now, so let me ask it again.
       3              A.         I was initially trained in
       4      Archer in 2010.
       5              Q.         Okay.
       6              A.         And we started using it in
       7      2011.
       8              Q.         Let me be more specific, then.
       9                         When did you first become
      10      involved in Archer in connection with
      11      Walmart's suspicious order monitoring process
      12      for controlled II substances?
      13                         And I don't want to make -- let
      14      me show you a document, because I don't want
      15      to make this a --
      16              A.         Okay.
      17              Q.         Before you answer it.            I can
      18      strike that question and ...
      19              A.         Okay.
      20                         (Walmart-Reed Deposition
      21              Exhibit 7, was marked for
      22              identification.)
      23              Q.         (BY MR. BOWER)         Okay.     You've
      24      been handed what's been marked as Exhibit 7.
      25      It's just a cover email with a short

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       1      attachment.        It's an email from Miranda to
       2      yourself dated December 3rd, 2014.                  The Bates
       3      is 9489 through 9491.
       4                         And so going back to my
       5      question before, which I withdrew, when did
       6      you first become involved with Archer in
       7      connection with Walmart's suspicious order
       8      monitoring program for controlled II
       9      substances?
      10              A.         So based on this email, I would
      11      assume it would have been around November of
      12      2014, because by December 3rd, I had a kind
      13      of process flow for Archer.               So it would have
      14      been sometime in October or November that we
      15      would have initially talked about it, to get
      16      kind of the ball rolling as far as creation
      17      goes.
      18              Q.         And can you just, in your own
      19      words, describe what you mean by "the ball
      20      rolling as far as creation goes"?                  Describe
      21      what that means.
      22              A.         So system creation, you have to
      23      find requirements and make sure that, for
      24      one, that the system is the right system to
      25      meet the needs of what the process would be.

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       1      And then what the requirements are, what the
       2      fields are, what kind of configuration needs
       3      to happen.       Things like that.
       4              Q.         And you were involved in that
       5      for Archer in connection with SOM; is that
       6      correct?
       7                         MS. FUMERTON:        Objection, form.
       8                         THE WITNESS:        Yes.
       9              Q.         (BY MR. BOWER)         So let's break
      10      that down, then, a little bit more.
      11                         How did you determine whether
      12      Archer was the right system to meet the needs
      13      for Walmart's suspicious order monitoring
      14      program?
      15                         MS. FUMERTON:        Objection, form.
      16                         THE WITNESS:        I don't remember
      17              the initial conversations about using
      18              Archer.      We were already using Archer
      19              for some incident management things,
      20              so this would have been a natural fit.
      21              It's another type of incident.                 So
      22              Archer is quite good at the incident
      23              management portion.            So I don't
      24              remember initial conversations.
      25              Q.         (BY MR. BOWER)         Well, did you

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       1      have, at that time -- and "that time" being
       2      kind of the end of 2014 -- understanding as
       3      to what the needs were for Walmart's
       4      suspicious order monitoring program?
       5                         MS. FUMERTON:        Objection, form.
       6                         THE WITNESS:        So I would have
       7              understood, based on conversations,
       8              enough to know that fields we needed
       9              to capture.        What the needs were as
      10              far as meeting requirements or
      11              anything like that, I wouldn't have
      12              had any insight into.
      13              Q.         (BY MR. BOWER)         Okay.     So your
      14      involvement was more on the kind of
      15      requirements for the application itself?
      16      Would that be accurate?
      17              A.         For the Archer application?
      18              Q.         Correct.
      19              A.         Yes.
      20              Q.         Okay.
      21                         Do you recall who told you what
      22      those requirements were?
      23                         MS. FUMERTON:        Objection, form.
      24                         THE WITNESS:        Based on this
      25              email, I would have been working with

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       1              Miranda.
       2              Q.         (BY MR. BOWER)         Okay.     Is there
       3      anyone else other than Miranda that would
       4      have been involved in discussions with
       5      respect to what the requirements were in
       6      using Archer for Walmart's suspicious order
       7      monitoring for Schedule II products?
       8                         MS. FUMERTON:        Objection, form.
       9                         THE WITNESS:        So at some point,
      10              Kristy would have been involved, but
      11              she also was out for a while at a
      12              point in this time.            So she probably
      13              was involved at some point in limited
      14              fashion as well.
      15              Q.         (BY MR. BOWER)         What do you
      16      mean by "she was out for a while"?


      18              Q.         Thank you.       And just for the
      19      record, just so we can have any clarity as to
      20      why she was out.
      21                         She was out, you believe,
      22      during this time period?
      23              A.         Yes.
      24              Q.         Or in or about this time
      25      period?

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       1              A.         Yes.
       2              Q.         So let's turn to the
       3      attachment, then.          You see it says "Order of
       4      Interest Evaluation"?
       5              A.         Yes.
       6              Q.         Do you know what that refers
       7      to?
       8              A.         Yes.    Orders that were flagged.
       9              Q.         And do you know for what
      10      purpose they were flagged?
      11                         MS. FUMERTON:        Objection, form.
      12                         THE WITNESS:        So they would
      13              have been flagged because they met or
      14              exceeded their threshold.
      15              Q.         (BY MR. BOWER)         So at this
      16      point, threshold is already in place;
      17      correct?
      18              A.         Yes.
      19              Q.         And those are thresholds in
      20      Reddwerks; correct?
      21              A.         Yes.
      22              Q.         And this is before the
      23      Reddwerks enhancements have kicked in; is
      24      that correct?
      25                         And let me strike that and be

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       1      more specific.
       2                         I'm talking -- asking about for
       3      6045.     Do you know whether Reddwerks
       4      enhancements had been implemented at 6045 as
       5      of December 3rd of 2014?
       6              A.         I don't know.
       7              Q.         And is there anything on this
       8      document that would shed light on the timing
       9      of that?
      10              A.         No.
      11              Q.         What is your understanding as
      12      to what is reflected in this document?                    And
      13      by the document, I mean the attachment to the
      14      email.
      15                         MS. FUMERTON:        Objection, form.
      16                         THE WITNESS:        So these are the
      17              different fields in sections that
      18              would have been included in Archer.
      19              Q.         (BY MR. BOWER)         Okay.     And
      20      did -- let's just talk about a couple
      21      examples.
      22                         Archer had an order quantity;
      23      right?
      24              A.         Yes.
      25              Q.         And that order quantity was by

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       1      item number; is that correct?
       2              A.         Yes.
       3              Q.         Archer also had the threshold.
       4      Do you see that?
       5              A.         Yes.
       6              Q.         Okay.     So you have the general
       7      info at the top; right?
       8              A.         Yes.
       9              Q.         With the information you
      10      mentioned earlier, for example, the DEA
      11      number.      Right?
      12              A.         Yes.
      13              Q.         And then, down below it has
      14      "Store profile review."
      15                         Do you see that?
      16              A.         Yes.
      17              Q.         Do you know what information
      18      was going to be in Archer with respect to
      19      that information?
      20                         MS. FUMERTON:        Objection, form.
      21              Q.         (BY MR. BOWER)          Well, strike
      22      that.
      23                         Do you know what information
      24      was contemplated to be part of a store
      25      profile review at this time period?

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       1                         MS. FUMERTON:        Objection, form.
       2                         THE WITNESS:        So it would have
       3              been the -- things like were refusals
       4              to fill being done.
       5                         That's the main thing that pops
       6              into my head, but anything revolving
       7              around the store, including things
       8              like refusal to fill.
       9              Q.         (BY MR. BOWER) And how would,
      10      for example, that refusal-to-fill information
      11      get populated into Archer?
      12                         MS. FUMERTON:        Objection, form.
      13                         THE WITNESS:        So depending on
      14              the timeframe, things --
      15              Q.         (BY MR. BOWER)         Well, I'm
      16      asking now about this time period.                  So this
      17      is in end of 2014.
      18                         What was the plan for
      19      populating the refusal-to-fill information
      20      into Archer?
      21                         MS. FUMERTON:        Objection, form.
      22                         THE WITNESS:        Sorry, I'm
      23              working on the timeline.              So
      24              refusal-to-fill information was moved
      25              into Archer in July of 2015.                Archer

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       1              started being used as the system to
       2              track refusal to fills.
       3              Q.         (BY MR. BOWER)         Okay.     And how
       4      was that information entered into Archer?
       5              A.         So the refusal to fills are
       6      entered by the pharmacist directly into
       7      Archer.
       8              Q.         Okay.
       9              A.         So at the time of this
      10      document, refusal to fills weren't in Archer.
      11      And I don't recall if that was already on the
      12      road map to be done, so I'm not positive if
      13      that's what was meant by the store profile
      14      review at this time.            I know that's what
      15      ended up going into the store profile notes.
      16              Q.         Okay.     Let's look at one under
      17      the store profile review.              It has McKesson
      18      data.     Do you see that?
      19              A.         Yes.
      20              Q.         Do you know whether that ended
      21      up being included in Archer?
      22              A.         Yes.
      23              Q.         It did?
      24              A.         Well, the data itself wouldn't
      25      have been included into Archer.                 The fact

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       1      that the data was reviewed would have been
       2      put into Archer.          And if there was anything
       3      that affected the order of interest.
       4              Q.         Can you explain what you mean
       5      by that?
       6              A.         So we wouldn't have pulled data
       7      from McKesson and then put it into the Archer
       8      record that we were looking at.
       9                         We would have pulled McKesson
      10      data, reviewed the data to see if there was
      11      another drug, the same drug that we were
      12      ordering on the McKesson report, and then
      13      that would be entered -- the fact that that
      14      was done, and whether there was anything of
      15      interest in doing that would have been
      16      entered into that field.
      17              Q.         So that field simply would have
      18      held information as to whether McKesson data
      19      was reviewed?        Is that correct?
      20                         MS. FUMERTON:        Objection, form.
      21              Q.         (BY MR. BOWER)         In other words,
      22      what did the McKesson data field look like
      23      when Archer was rolled out?
      24                         MS. FUMERTON:        Objection, form.
      25                         Go ahead.

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       1                         THE WITNESS:        It's a text field
       2              that has whatever is entered in.                  So,
       3              you know, McKesson data reviewed,
       4              nothing of substance found.                Or
       5              McKesson data reviewed and they only
       6              ordered one bottle from McKesson.                  Or
       7              nothing was ordered.            That kind of
       8              thing.
       9              Q.         (BY MR. BOWER)         Were certain of
      10      the fields reflected here required to be
      11      filled out in Archer for an order of
      12      interest?
      13              A.         At which level?
      14              Q.         At any level.
      15              A.         So there were --
      16                         MS. FUMERTON:        Objection, form.
      17                         Go ahead.
      18                         THE WITNESS:        There are --
      19              there were required fields, and they
      20              were different depending on who was
      21              doing the review.
      22                         MR. BOWER:       Okay.
      23              Q.         (BY MR. BOWER)         And did those
      24      required fields change over time?
      25              A.         Yes.

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       1              Q.         Do you recall who had the
       2      discretion or ability to change those
       3      required fields?
       4                         MS. FUMERTON:        Objection, form.
       5                         MR. BOWER:       I'll strike that.
       6              I'll break that down.
       7              Q.         (BY MR. BOWER)         Do you recall
       8      who had the ability to change those required
       9      fields within Archer?
      10                         MS. FUMERTON:        Objection, form.
      11                         THE WITNESS:        I would have been
      12              the only person that could make
      13              changes to the actual form.
      14              Q.         (BY MR. BOWER)         And who were
      15      the folks who would have been tasked with the
      16      ability to decide that changes needed to be
      17      made?
      18                         MS. FUMERTON:        Objection, form.
      19                         MR. BOWER:       I'll strike that.
      20              Q.         (BY MR. BOWER)         Who would have
      21      decided to make the changes?
      22                         MS. FUMERTON:        Objection, form.
      23                         THE WITNESS:        So there were --
      24              it could have been possible that as I
      25              was reviewing data, I could go to

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       1              Miranda and say, "Hey, we're having
       2              problems with this field not being
       3              filled out correctly.             Is it okay if I
       4              make it a required field to force --
       5              make sure that it's filled out?"
       6                         And so in that case, the
       7              approval would come from her.
       8                         She could also make the same --
       9              the same ask of, "Hey, you know, I
      10              think this should be required."
      11                         There were times that the
      12              logistic team asked for something to
      13              be required because she kept
      14              forgetting to fill in a certain field.
      15              So it could come from any level.
      16              Q.         (BY MR. BOWER)         And do you
      17      recall making changes to the required fields
      18      in Archer?
      19              A.         Yes.
      20              Q.         And what changes do you recall
      21      making?
      22              A.         So lots of changes were made
      23      when we went to the Buzzeo system.                  The
      24      Archer fields looked completely different
      25      than what they looked like in Reddwerks.

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       1              Q.         So let's separate that time
       2      out.    Let's say before the Buzzeo system was
       3      implemented, what changes do you recall
       4      making in the Archer fields?
       5              A.         So, for instance, one thing I
       6      remember is this title "interview store
       7      associate."        At some point I don't remember
       8      exactly when we changed the header of that to
       9      something about an increase.               Like why -- why
      10      have you seen an increase in this.                  Because
      11      if there's an alert, there would have been
      12      some kind of increase, at least in that
      13      specific order, to help drive the
      14      conversations that the logistics people were
      15      having with the store folks.
      16                         So I remember changing that.
      17                         And, like, I don't remember
      18      this, "verify info from store field."                   I
      19      don't know that that ended up in the system
      20      at all.
      21                         So things like that.            Like, I
      22      don't -- I mean, there were lots of changes
      23      made along the way.           Some of them larger and
      24      some just ...
      25              Q.         Do you recall any changes made

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       1      with respect to whether a field was required
       2      or not?
       3                         MS. FUMERTON:        Objection, form.
       4              Asked and answered.
       5                         THE WITNESS:        I don't remember
       6              exactly which fields were required
       7              initially and then which ones we
       8              changed to be required later.
       9              Q.         (BY MR. BOWER)         When a change
      10      was to be made, how would you go about doing
      11      so?    Would it be, for example, a call?                  An
      12      email?     Meeting?
      13                         MS. FUMERTON:        Objection, form.
      14                         THE WITNESS:        So clarify the
      15              question.       Who -- who would we tell or
      16              how would I make the change?
      17              Q.         (BY MR. BOWER)         Sure.     Let's
      18      say -- okay, I'll rephrase.
      19                         Let's say, for example, Miranda
      20      comes to you and says, "We need to make a
      21      change in one of the Archer fields."
      22                         What would you do?
      23              A.         I would go into the back end of
      24      Archer and make the change.
      25              Q.         So you could make the change

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       1      yourself; is that correct?
       2              A.         Yes.
       3              Q.         That's what I was trying to get
       4      at, whether you had to ask Archer to make the
       5      change or whether you could make the change
       6      yourself.
       7              A.         I'm an admin.
       8              Q.         You're an admin for the Archer
       9      database; correct?
      10              A.         Yes.
      11              Q.         Do you remember whether the
      12      McKesson data was a required field at any
      13      point?
      14                         MS. FUMERTON:        Objection, form.
      15                         THE WITNESS:        Not during the
      16              Reddwerks portion.
      17              Q.         (BY MR. BOWER)         Just so your
      18      testimony is clear, is it your statement that
      19      the McKesson data field was not a required
      20      field during the Reddwerks portion?
      21                         MS. FUMERTON:        Objection, form.
      22                         THE WITNESS:        Yes.
      23              Q.         (BY MR. BOWER)         And then just
      24      going back to kind of this document for a few
      25      more questions.

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       1                         MS. FUMERTON:        And we're still
       2              on Exhibit 7?
       3                         MR. BOWER:       Yes.
       4              Q.         (BY MR. BOWER)         So we have
       5      three kind of -- well, there's multiple kind
       6      of sections here.          We have "General info";
       7      right?     "Order details," "Evaluation," and
       8      then "Personnel," "Logistics resolution," and
       9      then "Practice compliance" elevation.
      10                         "Evaluation."        Sorry.
      11                         Do you see that?
      12              A.         Yes.
      13              Q.         Okay.     During this time, was
      14      there a discussion as to when a practice
      15      compliance evaluation would be required in
      16      Archer?
      17                         MS. FUMERTON:        Objection, form.
      18                         THE WITNESS:        At this time I
      19              would not have been involved in what
      20              those conversations were.
      21              Q.         (BY MR. BOWER)         Well, do you
      22      understand you were involved in kind of
      23      developing the workflow; right?
      24              A.         Yes.
      25              Q.         So what was contemplated to

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       1      happen here?        Was it practice compliance
       2      evaluation would be required to review all
       3      orders of interest?           Or something less than
       4      all orders of interest?
       5                         MS. FUMERTON:        Objection, form.
       6                         THE WITNESS:        So what I knew at
       7              the time was the logistics resolution.
       8              The logistics team would select
       9              appropriate order or send a practice
      10              compliance for additional evaluation.
      11              At that time, the practice compliance
      12              evaluation portion was done.
      13              Q.         (BY MR. BOWER)         Do you recall
      14      whether in fact that's what happened when
      15      Archer was rolled out?
      16              A.         Yes.
      17              Q.         So, in other words, practice
      18      compliance would only get an order of
      19      interest if the logistics team selected that
      20      order to be sent to them; is that correct?
      21              A.         Yes.
      22              Q.         And do you recall approximately
      23      how far or how long after this Archer began
      24      to be used for suspicious order monitoring?
      25                         MS. FUMERTON:        Objection, form.

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       1                         THE WITNESS:        Early 2015.
       2              Q.         (BY MR. BOWER)         So fairly soon
       3      after this, Archer begins to be used;
       4      correct?
       5              A.         Yes.
       6              Q.         Between kind of this time
       7      period and this work reflected here, what
       8      else did you do prior to Archer being used
       9      for suspicious order monitoring for
      10      controlled II substances?
      11                         MS. FUMERTON:        Objection, form.
      12                         THE WITNESS:        So I implemented
      13              this into Archer.
      14              Q.         (BY MR. BOWER)         Okay.     Let's
      15      just go back, then, for a second.
      16                         So go back to the order details
      17      there.
      18              A.         Mm-hmm.
      19              Q.         It has a threshold bullet
      20      point.     Do you see that?
      21              A.         Mm-hmm.      (Witness nods.)
      22              Q.         Was Archer populated with
      23      thresholds when it was rolled out initially?
      24                         MS. FUMERTON:        Objection, form.
      25                         THE WITNESS:        No.    Each order

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       1              of interest, this data would be
       2              populated.
       3              Q.         (BY MR. BOWER)         Okay.     So, in
       4      other words, for each order of interest that
       5      was flagged in Archer, the threshold data
       6      would be populated?
       7                         MS. FUMERTON:        Objection, form,
       8              lack of foundation.
       9                         THE WITNESS:        The orders were
      10              flagged in Reddwerks, and then
      11              information was entered into Archer.
      12              Q.         (BY MR. BOWER)         How does the
      13      information get from Reddwerks to Archer for
      14      orders of interest?
      15              A.         So most often the -- a member
      16      of the logistics team would pull up the alert
      17      in Reddwerks and then transpose, type in
      18      whatever information that was in Reddwerks
      19      into Archer and then work the rest of the
      20      incident.
      21              Q.         So when Archer was rolled out,
      22      the folks in the logistics side had to
      23      manually type in all this information into
      24      Archer for each order of interest?                  Is that
      25      correct?

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       1                         MS. FUMERTON:        Objection, form.
       2                         THE WITNESS:        Not all of it.
       3              Like, they would select the store, and
       4              then the store would populate -- like,
       5              the personnel of the store --
       6              alignment information.             They would
       7              select the appropriate DC, which would
       8              populate the DC alignment information.
       9              Some of the dates would enter as soon
      10              as they opened it, like the date here
      11              would have been the date received.
      12              And as soon as they created the
      13              record, that would populate.
      14                         Everything else, they would
      15              select or enter in.
      16              Q.         (BY MR. BOWER) So, for example,
      17      when the drug was entered, the threshold
      18      field wouldn't automatically populate in
      19      Archer; is that correct?
      20                         MS. FUMERTON:        Objection, form.
      21                         THE WITNESS:        It would not
      22              automatically populate.
      23              Q.         (BY MR. BOWER) So, in other
      24      words, the folks from the practice compliance
      25      would have to manually enter that threshold

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       1      information; is that correct?
       2                         MS. FUMERTON:        Objection, form.
       3                         THE WITNESS:        No, the folks
       4              from the logistics team entered it.
       5              Q.         (BY MR. BOWER)         Sorry, let me
       6      ask it the right way.
       7                         When Archer was rolled out, and
       8      the logistics team was notified on an order
       9      of interest, would they have to manually
      10      enter the threshold information for that
      11      specific drug?
      12              A.         Yes.
      13              Q.         And where would they obtain
      14      that threshold information that was needed to
      15      be entered?
      16              A.         From Reddwerks.
      17              Q.         What specifically would folks
      18      on the logistics team receive from Reddwerks
      19      when an order of interest was flagged?
      20                         MS. FUMERTON:        Objection, form.
      21                         THE WITNESS:        So Reddwerks had
      22              the drug name, the item, the quantity
      23              of that order, the threshold, and then
      24              the weekly quantity.
      25              Q.         (BY MR. BOWER)         And again, I

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       1      want to make sure we're abundantly clear on
       2      this.     When you say "that order," you mean
       3      that item; is that correct?
       4                         MS. FUMERTON:        Objection, form.
       5              Q.         (BY MR. BOWER)         Well, can you
       6      explain what you mean by "that order? "
       7                         I'll strike that question.
       8                         And in your answer, you
       9      referenced that the Reddwerks would provide
      10      the logistics team with the drug name, the
      11      item, the quantity of that order.                  What do
      12      you mean by "the quantity of that order"?
      13              A.         The quantity ordered for that
      14      item.
      15              Q.         So, in other words, the folks
      16      on the logistics team did not receive the
      17      quantity ordered for any other item; is that
      18      correct?
      19                         MS. FUMERTON:        Objection, form.
      20                         THE WITNESS:        They received the
      21              quantity of the flagged order.
      22                         MR. BOWER:       Right.
      23                         THE WITNESS:        So whichever
      24              portion of the order flagged, they
      25              would receive that quantity.

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       1              Q.         (BY MR. BOWER)         So, for
       2      example, if an order for Oxy 5 milligrams was
       3      flagged, the folks on the logistics teams
       4      wouldn't see the amount ordered for Oxy of 10
       5      milligrams if that order was also not
       6      flagged; is that correct?
       7                         MS. FUMERTON:        Objection, form.
       8                         THE WITNESS:        Correct.
       9              Q.         (BY MR. BOWER)         And further, if
      10      an order for Oxy 5 milligrams was flagged,
      11      the folks on the logistics teams also
      12      wouldn't see other orders of Oxy 5s that may
      13      be manufactured by other manufacturers unless
      14      that item was also flagged.               Isn't that
      15      correct?
      16                         MS. FUMERTON:        Objection, form.
      17                         THE WITNESS:        Yes.
      18              Q.         (BY MR. BOWER)         And that's true
      19      because those two items have different NDC
      20      numbers; correct?
      21              A.         Yes.
      22              Q.         And different items numbers
      23      within Walmart; correct?
      24                         MS. FUMERTON:        Objection, form.
      25                         THE WITNESS:        Yes.

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       1              Q.         (BY MR. BOWER)         And so when
       2      this Archer is rolled out and the folks at
       3      the logistics team are receiving orders of
       4      interest, how logistically did they receive
       5      them?     Is it an email?          Is it a phone call?
       6      How are they receiving orders of interest?
       7                         MS. FUMERTON:        Objection, form.
       8                         THE WITNESS:        So Reddwerks is a
       9              system platform that they would log
      10              into.      And there was a queue that they
      11              would work from.
      12              Q.         (BY MR. BOWER)         During this
      13      time period when Archer is rolled out, do you
      14      know approximately how many orders of
      15      interest are being flagged for Schedule II
      16      narcotics on a daily basis?
      17              A.         I do not.
      18              Q.         At any point do you know
      19      approximately how many orders are being
      20      flagged at Reddwerks for Schedule IIs on a
      21      daily basis?
      22              A.         I do not.
      23                         MS. FUMERTON:        Zach, it's noon.
      24              So I don't know when a good time would
      25              be for lunch or if the witness or the

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       1              court reporter are okay to keep going.
       2              Or if it's a good time to take a
       3              break.
       4                         MR. BOWER:       How long have we
       5              been on?
       6                         MS. FUMERTON:        A little bit
       7              over an hour.
       8                         THE VIDEOGRAPHER:          35 minutes
       9              since we took that little quick break.
      10                         MR. BOWER:       We can take a break
      11              now.     Do you want to take a break for
      12              lunch?
      13                         THE WITNESS:        Sure.
      14                         MR. BOWER:       Let's do that.
      15                         THE VIDEOGRAPHER:          It's 12:01.
      16              We are off the video record.
      17                         (Recess taken, 12:01 p.m. to
      18              12:34 p.m.)
      19                         THE VIDEOGRAPHER:          12:34.      We
      20              are on the video record.
      21              Q.         (BY MR. BOWER)         Okay.     We're
      22      back on the record after lunch.                 You
      23      understand you're still under oath?
      24              A.         Yes.
      25              Q.         A couple of times today we've

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       1      referred to "Reddwerks enhancements."
       2                         Do you recall that term?
       3              A.         Yes.
       4              Q.         Okay.     What does that mean to
       5      you?
       6              A.         The Reddwerks system was
       7      changed and updated.
       8              Q.         And how was it changed?
       9              A.         The individual calculated
      10      thresholds were included.
      11              Q.         Can you explain what you mean
      12      by "individual calculated thresholds"?
      13              A.         So that the thresholds were
      14      calculated for an individual store and item
      15      combination.
      16              Q.         What was your involvement in
      17      the enhancements to Reddwerks, if any?
      18                         MS. FUMERTON:        Objection, form.
      19                         THE WITNESS:        The actual
      20              enhancements to Reddwerks, nothing.
      21              Q.         (BY MR. BOWER)         Did you do any
      22      type of analysis prior to the Reddwerks
      23      enhancements that related to those
      24      enhancements?
      25                         MS. FUMERTON:        Objection, form.

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       1                         THE WITNESS:        Analysis of
       2              which -- of what data?             Reddwerks
       3              data?
       4              Q.         (BY MR. BOWER)         Of any data
       5      related to the enhancements.
       6                         MS. FUMERTON:        Objection, form.
       7                         THE WITNESS:        So I pulled data
       8              and calculated the thresholds using
       9              shipment data, that were then input
      10              into the Reddwerks platform.
      11              Q.         (BY MR. BOWER)         Did you do any
      12      analysis in connection with -- I'm going to
      13      strike that.
      14                         And what specifically did you
      15      do with respect to calculating the thresholds
      16      using shipment data?
      17                         How did you do that?
      18                         MS. FUMERTON:        Objection, form.
      19                         THE WITNESS:        So I pulled the
      20              data out of Teradata, the shipment
      21              data.      Input that into an Access
      22              database.       The Access database was set
      23              up to calculate the average and
      24              standard deviations for those stores
      25              and items.

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       1                         And then that was exported out
       2              of Access into Alteryx and then
       3              manipulated manually to get to the
       4              ultimate thresholds.
       5                         MS. FUMERTON:        You just said
       6              "Alteryx."
       7                         THE WITNESS:        Did I say
       8              Alteryx?
       9                         MS. FUMERTON:        Yes.     I just
      10              want to make sure the record --
      11                         THE WITNESS:        Sorry, not
      12              Alteryx.       Access.
      13                         MR. BOWER:       No, your testimony
      14              as you exported out of Access and into
      15              Alteryx.
      16                         THE WITNESS:        Oh, sorry, not
      17              Alteryx.       Reddwerks.
      18              Q.         (BY MR. BOWER)         Okay.     And then
      19      you manipulated the data manually in
      20      Reddwerks?
      21              A.         No.    The --
      22              Q.         So let's just read back your
      23      testimony and then you can clarify it.                    Okay?
      24                         Your testimony is then that --
      25      "The Access database was set up to calculate

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       1      the standard deviations for those stores and
       2      items.     And then that was exported out of
       3      Access into Alteryx and then manipulated
       4      manually to get to the ultimate thresholds."
       5              A.         Okay.     It was exported out of
       6      Access into Excel, and then the thresholds
       7      were updated manually to add them in in max
       8      and to accommodate the odd sizes, so the
       9      500-count bottles, liquids, things like that.
      10      And then the Excel spreadsheet was imported
      11      into Reddwerks.
      12              Q.         So prior to the Reddwerks
      13      enhancements, the Reddwerks thresholds were
      14      not store-specific; is that correct?
      15                         MS. FUMERTON:        Objection, form.
      16                         THE WITNESS:        I don't have a
      17              lot of details about what the
      18              thresholds were prior to the
      19              enhancements that I helped with.
      20              Q.         (BY MR. BOWER)         Okay.     Is it a
      21      true statement that after the enhancements,
      22      the thresholds for a particular item were
      23      store-specific?
      24              A.         Yes.
      25              Q.         What information did Walmart

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       1      use to set the store-specific thresholds?
       2                         MS. FUMERTON:        Objection, form.
       3                         MR. BOWER:       I'll strike that.
       4              Q.         (BY MR. BOWER) What information
       5      are you aware of that Walmart used or
       6      considered in setting the store-specific
       7      thresholds?
       8                         MS. FUMERTON:        Objection, form.
       9                         MR. BOWER:       Sorry, I want a
      10              clean record on this.             Let me just ask
      11              it both ways.
      12              Q.         (BY MR. BOWER)         What
      13      information are you aware of that Walmart
      14      used to set the store-specific thresholds?
      15                         MS. FUMERTON:        Objection, form.
      16                         MR. BOWER:       What's the nature
      17              of that objection?
      18                         MS. FUMERTON:        Again, time
      19              period.      And --
      20                         MR. BOWER:       Okay.     Okay.     I
      21              appreciate that.           So let me ask it
      22              again and we'll clarify the time
      23              period.      Okay?
      24              Q.         (BY MR. BOWER)         When the
      25      advancements to Reddwerks first rolled out,

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       1      what information did Walmart use to set the
       2      store-specific item thresholds?
       3              A.         Previous shipment data.
       4              Q.         Was there any other information
       5      considered by Walmart in setting the
       6      store-specific thresholds when Reddwerks was
       7      initially rolled out?
       8              A.         I wouldn't have insight into
       9      what else was considered.
      10              Q.         Are you aware of whether any
      11      other information was considered in setting
      12      the store-specific thresholds when Reddwerks
      13      was -- strike that.
      14                         Are you aware of whether any
      15      other information was considered in setting
      16      the store-specific thresholds when the
      17      Reddwerks enhancements were initially rolled
      18      out?
      19                         MS. FUMERTON:        Objection, form.
      20                         THE WITNESS:        I don't know.
      21              Q.         (BY MR. BOWER)         Are you aware
      22      of any other information that was considered?
      23      That's the only thing I'm trying to get at.
      24              A.         I don't know.
      25              Q.         So the question is not whether

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       1      you know or not know, just whether -- are you
       2      aware of any other information that was
       3      considered or are you not aware of any other
       4      information that was considered?
       5                         MS. FUMERTON:        Objection, form.
       6              Q.         (BY MR. BOWER)         Let me get at
       7      it a different way.
       8                         Is your answer you don't know
       9      whether other information was considered?
      10              A.         Yes.
      11              Q.         So it may have been considered.
      12      You're just not aware of it; is that correct?
      13              A.         I don't know.
      14              Q.         You don't know whether it was
      15      considered or not; is that correct?
      16              A.         Yes.
      17              Q.         Okay.     Sorry for that.         I just
      18      want to make sure the record is clear as to
      19      what you do or do not know.
      20                         And after Reddwerks was
      21      initially rolled out, did Walmart consider
      22      additional information in setting the
      23      store-specific item thresholds?
      24              A.         Yes.
      25              Q.         What other information did

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       1      Walmart consider in setting the
       2      store-specific item thresholds?
       3              A.         Which -- the traited -- what
       4      item was traited for that store.
       5              Q.         Can you explain what that
       6      means?
       7              A.         Yes.    Walmart gets -- there are
       8      some drugs that Walmart receives more than
       9      one manufacturer from.             So there's more than
      10      one NDC.      One of those NDCs would be the
      11      primary traited item for a specific store
      12      based on DC alignment.             So we have five DCs
      13      and, for instance, a store in Arkansas would
      14      be part of DC 6001.           And that store would
      15      receive one of the NDCs as their primary
      16      traited item.        So replenishment would -- that
      17      item would be the one that replenishment
      18      would pick to replenish.             The other item
      19      would be a non-traited item.               So it would not
      20      automatically be replenished by
      21      replenishment.
      22              Q.         And that process you described,
      23      would that apply to Schedule II products?
      24              A.         Yes.
      25              Q.         And I should have been more

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       1      specific in my question earlier.                 So let me
       2      ask -- let me ask it a little bit better than
       3      I did before.        Well, strike that.            Let me ask
       4      it a different way.
       5                         Was there any difference in the
       6      way Walmart set store-specific item
       7      thresholds at any point in time between
       8      Schedule II products and any other products?
       9                         MS. FUMERTON:        Objection, form.
      10                         THE WITNESS:        No, there was no
      11              difference between Schedule II and
      12              Schedule III, for instance.                The
      13              threshold was set the same for all
      14              controlled substances.
      15              Q.         (BY MR. BOWER)         Well, after the
      16      Reddwerks enhancements, did Walmart have
      17      thresholds for non-controlled substances?
      18              A.         Yes.
      19              Q.         Okay.     Were those thresholds
      20      calculated differently than thresholds for
      21      controlled substances?
      22              A.         Yes.
      23              Q.         And what was the difference?
      24              A.         I'm not sure what -- I did not
      25      recall what the thresholds for the

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       1      non-controls were at that time, or ever,
       2      really.      That wasn't part of my position.                 I
       3      worked with the controlled substances, but
       4      the non-controls were a part of that same
       5      file that was imported.
       6              Q.         So what's the basis for your
       7      statement that the threshold calculations for
       8      store-specific items for non-controls was
       9      different than the calculations that was done
      10      for controls?
      11              A.         The non-controls were not ran
      12      through the database and calculated through
      13      the process that I had set up.
      14              Q.         Can you just describe, then,
      15      that process?        What do you mean by that?
      16      What process did you set up?
      17                         MS. FUMERTON:        Objection, form.
      18                         MR. BOWER:       I'll strike that.
      19              Q.         (BY MR. BOWER)         Your answer to
      20      my last question was "The non-controls were
      21      not ran through the database and calculated
      22      through the process that I had set up."
      23                         What process had you set up?
      24              A.         The process of creating
      25      thresholds.        So importing the data into

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       1      Access, calculating the standard deviation
       2      and adding it back and then exporting it.
       3      Because we had five different DCs, I built it
       4      once, and all that had to be done was change
       5      the data and then the rest of it, there were
       6      queries that did the rest of it.                 It didn't
       7      have to be created every time that a
       8      threshold was updated or created.
       9              Q.         And specifically with respect
      10      to Schedule IIs, how often would the
      11      thresholds be updated after the initial
      12      Reddwerks enhancements?
      13              A.         On an ad hoc basis, as needed.
      14              Q.         And who -- strike that.
      15                         Do you know who determined
      16      whether an update was needed?
      17              A.         It would depend on the
      18      situation.       When -- it could be the result of
      19      a review, so a store had alerted multiple
      20      times, and it was made apparent that it was a
      21      new store when it was created, and so the
      22      threshold was no longer applicable.                  Or it
      23      could be that something changed bottle sizes
      24      from a 500-count bottle to a 100-count
      25      bottle.      And so we'd have to recalculate in

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       1      that instance.
       2              Q.         And who would be the one to
       3      like actually do the updated thresholds in
       4      Reddwerks?       Would that be you?
       5                         MS. FUMERTON:        Objection, form.
       6                         THE WITNESS:        So I would be the
       7              one to import the new file.
       8              Q.         (BY MR. BOWER)         Right.     Thank
       9      you for that proper language.                I wasn't sure
      10      how to ask that question.
      11                         So other than yourself, did
      12      anyone else have the capability to import a
      13      new file into Reddwerks that would update
      14      thresholds for Schedule II narcotics?
      15              A.         So there wasn't a different
      16      process for Schedule II compared to others.
      17      Miranda was the other person that would
      18      import as needed.
      19              Q.         Did Miranda import updated
      20      thresholds after the Reddwerks enhancements?
      21              A.         Only if I wasn't available.
      22              Q.         Can you just walk us through
      23      what that process is like?              How do you
      24      actually update a threshold?
      25                         And maybe -- I have a

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       1      document -- maybe it helps if I give you a
       2      document, so ...
       3              A.         Is there a question how you
       4      update the threshold in Reddwerks or how the
       5      spreadsheet is updated?
       6              Q.         Well, both.       I wanted to walk
       7      through the whole process.
       8              A.         Okay.
       9                         MS. FUMERTON:        He's going to
      10              show you a document.
      11                         MR. BOWER:       Yeah.     Let me just
      12              show you -- if I could find it.
      13                         So this may be it.
      14                         Sorry, just give me a sec.              I'm
      15              going to combine these and then I'll
      16              give it to you.
      17                         (Discussion off the record.)
      18                         (Walmart-Reed Deposition
      19              Exhibit 8, was marked for
      20              identification.)
      21                         MS. FUMERTON:        And just so I
      22              know, I see you're changing things.
      23              Was it just an error in how they're
      24              compiled?
      25                         MR. BOWER:       No, I had the

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       1              metadata also included, but I don't
       2              want to include that in the exhibit.
       3                         MS. FUMERTON:        Okay.
       4                         MR. BOWER:       I had it in mine,
       5              and then I think I just included it in
       6              them.
       7                         MS. FUMERTON:        That's fine.
       8                         MR. BOWER:       Yeah.
       9              Q.         (BY MR. BOWER)         Okay.     You've
      10      been handed what's been marked as Exhibit 8,
      11      which is at least I think part of what we're
      12      talking about.         But that's going to be my
      13      first question.
      14                         And it's an email from yourself
      15      to Miranda, dated 12-4-2014. (sic)                  and the
      16      attachment is included, and it's an Excel
      17      spreadsheet and appears to be titled
      18      "Step_2_thresholds_Calc."              So just take a
      19      minute to review that and then we can talk
      20      about it.
      21                         For the record, the Bates
      22      number is Walmart document ending in 29318
      23      and it includes the attachment which is
      24      29319.
      25                         And this is in Excel, so I just

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       1      included the first page so we can talk about
       2      the columns.        Okay?
       3                         MS. FUMERTON:        Oh, okay.       So
       4              this is not the entire export.                 It's
       5              just a --
       6                         MR. BOWER:       I don't believe so.
       7              But it may -- it may be.
       8                         MS. FUMERTON:        Okay.
       9                         MR. BOWER:       I don't want to
      10              represent, though, that it is,
      11              without knowing.
      12                         MS. FUMERTON:        That's fine.
      13                         I am told it's likely not.
      14                         MR. BOWER:       I didn't think it
      15              was.
      16                         THE WITNESS:        I would say no.
      17              Q.         (BY MR. BOWER)         All right.       So
      18      I've asked you a few questions about the
      19      steps for changing the thresholds.                  This
      20      document that I've given you as Exhibit 8,
      21      though, is dated 12-4-2014.               So this is
      22      before the Reddwerks enhancements; correct?
      23                         MS. FUMERTON:        Objection, form.
      24                         THE WITNESS:        This is when they
      25              were working to get the thresholds all

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       1              set up to put in Reddwerks for the
       2              enhancement.
       3              Q.         (BY MR. BOWER)         So this
       4      document was created as part of that work?
       5              A.         Yes.
       6              Q.         So would this document reflect
       7      at least part of the process in creating the
       8      store and item-specific thresholds in
       9      connection with the Reddwerks enhancements?
      10              A.         Yes.
      11              Q.         And can you just -- so this
      12      document is titled "Step_2 threshold_CALC."
      13                         Do you see that?
      14              A.         Yes.
      15              Q.         Do you know what that refers
      16      to?
      17              A.         Yes.
      18              Q.         Okay.     What does that refer to?
      19              A.         So within the Access database,
      20      there were two separate queries that did the
      21      math.     The first one calculated the average,
      22      and then the second one, which is this one,
      23      did the standard deviations and then
      24      converted that down to bottles.
      25              Q.         And that was done on a store

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       1      and item-specific level; is that correct?
       2              A.         Yes.
       3              Q.         So if you turn to the
       4      attachment, you'll see the column all the way
       5      to the right is titled "Bottle threshold";
       6      correct?
       7              A.         Yes.
       8              Q.         Okay.     And is that what you're
       9      referring to when you say, on this one, did
      10      the standard deviation and then converted
      11      that down to bottles?
      12              A.         Yes.
      13              Q.         And so how was this information
      14      used to calculate the store in item-specific
      15      thresholds?
      16              A.         So this is the -- this would be
      17      the step that would then be manually updated.
      18                         So this is the export from
      19      Access into Excel that would then be updated
      20      with the minimum and maximums.
      21                         So if you change for -- so if
      22      you look at line 12, that item is Hydroxy
      23      plus C-H-L-E-R-S-U-S, 4 ounces.
      24              Q.         Yep.
      25              A.         That is a liquid.

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       1              Q.         Okay.
       2              A.         And so that would be treated
       3      differently than a bottle of 100.
       4                         It wouldn't be a 50 maximum and
       5      a 20 minimum.
       6              Q.         Okay.     Were those maximum and
       7      minimums that you just referenced still
       8      applied after the Reddwerks enhancements?
       9                         MS. FUMERTON:        Objection, form.
      10                         THE WITNESS:        So with the
      11              thresholds, there was still a maximum
      12              threshold and a minimum.              So all of
      13              the thresholds fell between 20 and 50
      14              when everything was first set up.
      15              Q.         (BY MR. BOWER)         And when you
      16      say "when everything was first set up," are
      17      you referring to when everything was first
      18      set up after the Reddwerks enhancements
      19      occurred?
      20              A.         Yes.    With the -- with the
      21      Reddwerks enhancements.
      22              Q.         Okay.     At some point did
      23      those -- strike that.
      24                         At some point did Walmart
      25      decide to stop using those 20 and 50

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       1      maximum/minimums?
       2              A.         The 20 minimum was in effect
       3      the entire time that Reddwerks was used.
       4                         The 50 maximum, there were
       5      instances where that was raised.
       6              Q.         Okay.     So based on your
       7      experience, let's talk about the minimum for
       8      a moment.
       9                         During the time that Reddwerks
      10      was used, any order that was below 20 bottles
      11      would not be flagged as an order of interest;
      12      is that correct?
      13                         MS. FUMERTON:        Objection, form.
      14                         THE WITNESS:        No, that is not
      15              correct.
      16              Q.         (BY MR. BOWER)         Okay.     Can you
      17      please tell us what's incorrect about my
      18      statement?
      19              A.         So what makes things a little
      20      different is there's non-traited and traited
      21      items.     So with non-traited items, the
      22      threshold was lower.            The threshold was only
      23      ten bottles for a non-traited item for that
      24      store.
      25                         And then for large bottle

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       1      counts, the threshold would have -- the
       2      minimum threshold would have been four
       3      bottles, say, for a 500-count bottle.                   So ...
       4              Q.         Thank you for that
       5      clarification.
       6                         And is there a way to determine
       7      in Reddwerks whether an item number is
       8      traited or non-traited?
       9              A.         Not in Reddwerks.
      10              Q.         So, in other words, when
      11      someone gets an alert from Reddwerks that an
      12      item has been flagged as an order of
      13      interest, how does that person know whether
      14      the item is a traited item or a non-traited
      15      item?
      16                         MS. FUMERTON:        Objection, form.
      17                         THE WITNESS:        So the quick way
      18              to know, once we made the upgrade, to
      19              making sure that non-traited items
      20              were taken into account separately
      21              would have been the threshold itself.
      22              So a threshold of ten, unless it's a
      23              larger count bottle, would have been
      24              an indication that it was a
      25              non-traited item.           The logistics team

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       1              that was working on SOM were also from
       2              the DCs, and they were more familiar
       3              with what -- what was traited and what
       4              wasn't.      And there's a system that
       5              they can log in to to actually see
       6              what item -- if it's a traited item
       7              for that store or not.
       8              Q.         (BY MR. BOWER)         Okay.     And
       9      we've been talking, you and I both, about
      10      these traited items.            Are you -- the word
      11      you're using, is it traded or T-R-A-I-T-E-D,
      12      traited?
      13              A.         Traited.
      14              Q.         Thank you.
      15                         And then we asked some
      16      questions about the 20 minimum.                 Now I'm
      17      going to ask some questions about the
      18      maximum.      Okay?
      19                         You testified that the
      20      50 maximum, there were instances where that
      21      was raised.        What are circumstances under
      22      which the 50 maximum would be raised?
      23              A.         If we had a high-volume store
      24      that was alerting but there were no red flags
      25      and nothing of concern, then there were times

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       1      that we increased that threshold.
       2              Q.         And in connection with
       3      increasing that threshold, you would review
       4      dispensing patterns; isn't that correct?
       5              A.         Yes.
       6              Q.         What specifically would you
       7      look for in dispensing patterns?
       8              A.         So we would look to be sure
       9      that there wasn't an increase of that drug
      10      without a corresponding, like, overall
      11      business increase.           So if that drug was
      12      increasing but business was staying steady,
      13      that would be more of a red flag.
      14              Q.         And what do you mean by
      15      "business" in that answer?
      16              A.         Overall dispensing.           Not just
      17      controlled substances, and/or the drug in
      18      question.
      19              Q.         And where would you look to get
      20      that dispensing information?
      21                         MS. FUMERTON:        Objection, form.
      22                         MR. BOWER:       Strike that.
      23              Q.         (BY MR. BOWER)         In determining
      24      whether to increase threshold for an item for
      25      a specific pharmacy, what source would you

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       1      look to to determine whether dispensing
       2      information would allow for that increase?
       3                         MS. FUMERTON:        Objection, form.
       4                         THE WITNESS:        Teradata was the
       5              source of information for any
       6              dispensing-related data.
       7              Q.         (BY MR. BOWER)         Are you
       8      familiar with the database Retailing?
       9              A.         Yes.
      10              Q.         Did you ever have occasion to
      11      use that database?
      12                         MS. FUMERTON:        Objection, form.
      13                         THE WITNESS:        I used the
      14              database early on in my career in the
      15              systems role, but I typically use
      16              Teradata.
      17              Q.         (BY MR. BOWER)         Before I go to
      18      this next document, why don't we finish up on
      19      the document I already gave you.
      20                         So if you'd turn back to this
      21      document, you mentioned that a -- in response
      22      to my question on step 2, you spoke about
      23      step 1.      Are there any other steps that were
      24      involved in calculating the thresholds in
      25      connection with the Reddwerks enhancement?

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       1                         MS. FUMERTON:        Objection, form.
       2                         THE WITNESS:        The other step
       3              would be manually updating this to --
       4              the bottle threshold listed here to
       5              reflect the minimum and the maximums.
       6              Q.         (BY MR. BOWER)         And that's that
       7      Excel step that you also mentioned?
       8              A.         Yes.
       9              Q.         Other than that, anything else
      10      that you would do?
      11              A.         Not that I can recall.
      12              Q.         And this process, this two-step
      13      calculations and then the Excel, did that
      14      process change at any point after Reddwerks
      15      enhancements rolled out at 6045 in connection
      16      with threshold updates?
      17                         MS. FUMERTON:        Objection, form.
      18                         THE WITNESS:        We used the same
      19              process until we no longer used
      20              Reddwerks.
      21              Q.         (BY MR. BOWER)         And I asked you
      22      before whether you ever considered additional
      23      information, and you mentioned that you at
      24      some point began considering -- considered
      25      the traited information for that store.

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       1      Other than that, did you consider any other
       2      additional information in that
       3      threshold-setting process?
       4                         MS. FUMERTON:        Objection, form.
       5                         THE WITNESS:        I don't know of
       6              any other information that was
       7              considered.
       8                         MR. BOWER:       Okay.
       9                         (Walmart-Reed Deposition
      10              Exhibit 9, was marked for
      11              identification.)
      12              Q.         (BY MR. BOWER)         You've been
      13      handed what's been marked as Exhibit 9.
      14                         Please take a moment and review
      15      that.     It's an email from you to a bunch of
      16      folks, attaching the H and W compliance
      17      scorecard for November of fiscal year '15.
      18      The Bates number is 27994 through 27999.                     And
      19      just let me know when you've had a chance to
      20      review that, okay?
      21              A.         Okay.
      22                         [Document review.]
      23                         THE WITNESS:        Okay.
      24              Q.         (BY MR. BOWER)         Now, this is
      25      the email from yourself to Phyllis Harris;

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       1      correct?
       2              A.         Yes.
       3              Q.         And who is Ms. Harris?
       4              A.         She was the VP of corporate
       5      compliance.
       6              Q.         And why are you sending this to
       7      her?
       8              A.         We sent the compliance
       9      scorecard to her every month.
      10              Q.         And for how long did you send
      11      it to her every month?
      12              A.         I don't remember when it
      13      started.      I think sometime in 2013.              And it's
      14      still being done now, to the current VP.
      15              Q.         And who is that?
      16              A.         Cindy Moehring.
      17      M-O-E-H-R-I-N-G.
      18              Q.         Are you still sending those?
      19              A.         I do not know.
      20              Q.         Who sends those today?
      21              A.         She's going to love this one.
      22      Sreevid Hydaeaswaran, S-R-E-E-V-I-D
      23      H-Y-D-A-E-A-S-W-A-R-A-N, I think.                  Close
      24      enough.
      25              Q.         Thank you.

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       1                         When did you stop sending these
       2      to Phyllis?
       3                         MS. FUMERTON:        Objection, form.
       4                         THE WITNESS:        I moved to
       5              Miranda's position in July of 2015.
       6              So I would have stopped either that
       7              month or shortly thereafter.                There
       8              was some time where I was helping
       9              Casey until he replaced me.
      10              Q.         (BY MR. BOWER)         So after you
      11      moved to work with Miranda, Casey replaced
      12      you and would have been sending these; is
      13      that correct?
      14              A.         Yes.
      15              Q.         So let's just look at the cover
      16      email for a moment.
      17                         And then, so my first question
      18      is, do you see the cc here?               Is there a
      19      reason, or are you familiar with the way
      20      those email addresses are -- appear on here?
      21              A.         I have no idea why they would
      22      appear like that.
      23              Q.         Okay.     Do you know who else in
      24      addition to Ms. Harris would have received
      25      these scorecards?

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       1              A.         So based on what looks to be
       2      the user ID, the first one is likely
       3      Jim Langman, who's no longer with the
       4      company, but he was our VP of health and
       5      wellness compliance.            Tariq Abdullah was in
       6      billing compliance.           T.O. Koch is Tim Koch.
       7      JM Som is Jennifer Sommer.              Shelly Tustiton,
       8      Diane Kazimi, Beau Sylvester, Rebeka Burgess.
       9      Will Center.        The only reason I know these
      10      user IDs is I need them sometimes in Archer.
      11                         Caroline Riogi.
      12                         Those are the ones I recognize
      13      by going through here.
      14              Q.         And why would you need their
      15      IDs in Archer?
      16              A.         So the back end of Archer uses
      17      user ID for -- to -- I use user ID to check
      18      Access.      Because I'm an admin, I would use it
      19      in that way.
      20              Q.         So you would go in Archer and
      21      look whether someone had access to the
      22      database?
      23              A.         Yes.
      24              Q.         And so in your email attaching
      25      the scorecard, you write, "Also attached is a

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       1      web link to the Tableau version of the
       2      scorecard, which provides interactive and
       3      detailed views for each program area."
       4                         Do you see that?
       5              A.         Yes.
       6              Q.         What does that mean?
       7              A.         So for this scorecard, there
       8      wasn't any interlinking of reports.                  Like I
       9      mentioned earlier, the Tableau can -- if you
      10      click on one, it goes to another report.
      11      That wasn't built into this scorecard at this
      12      time.     I don't know what it does now, but at
      13      the time that I was creating them, it wasn't
      14      dynamic.
      15                         You could jump to a section, so
      16      there was like a menu.             And if you wanted --
      17      and if you'd look in the report, there's like
      18      the billing compliance section.                 The HIPAA
      19      section.      If you wanted to jump to the
      20      practice compliance section, instead of
      21      scrolling all the way through the Tableau
      22      dashboard, you could hit practice compliance
      23      and it would jump to that portion of the
      24      Tableau.
      25                         So that was the interactive

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       1      piece.     You could just click and go where you
       2      wanted to go instead of scrolling.
       3              Q.         So if I were to -- if you look
       4      again at where you're looking at which is
       5      starting on 27997; right?              If I were to go
       6      into this same information on Tableau, would
       7      I see anything different?
       8              A.         No.
       9              Q.         Could I scroll over these
      10      things and have additional information pop
      11      up?
      12              A.         Not that I know.          It would just
      13      tell you the number.            Like if it was one that
      14      had a line, which I don't think any of these
      15      do.
      16                         No, they're all bar graphs.               It
      17      would -- if you scroll over it, it would just
      18      say like 168.        But all the ones we have would
      19      be labeled in that way as well.
      20              Q.         Why are you providing -- why
      21      not just provide this document?                 Why are you
      22      providing a link to the Tableau?
      23              A.         To allow for people to jump to
      24      the section that they want to go to.
      25              Q.         Well, this document appears to

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       1      be three pages; right?
       2              A.         Yes.
       3              Q.         So are you telling me that
       4      this -- if I were to receive this document
       5      and click on the link -- receive your email,
       6      click on the link, this is the exact same
       7      thing I would see in Tableau?
       8              A.         Yes.
       9              Q.         So what's the reason for using
      10      Tableau?
      11              A.         Because it makes it look pretty
      12      like this.       It's visually appealing.              This
      13      would be hard to get at if you used Excel.
      14      Like, this format would be hard to achieve in
      15      another program, like, to get, you know, each
      16      graph like they are with the headers and
      17      things like that.          It would be much more
      18      cumbersome to do in Excel than it is to do in
      19      Tableau.
      20                         So visually it's more appealing
      21      in Tableau.
      22              Q.         And how do you get from Excel
      23      to this up in Tableau?
      24                         MS. FUMERTON:        Objection, form.
      25                         THE WITNESS:        How was Tableau

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       1              created?
       2              Q.         (BY MR. BOWER)         Yeah, how was
       3      this document that you attached to your email
       4      created?
       5                         MS. FUMERTON:        Objection, form.
       6                         THE WITNESS:        So Tableau links
       7              to data sources, and in this case
       8              there's multiple data sources, some of
       9              which are -- the majority of this is
      10              an Excel document.
      11                         For this, there was a SAS.              Are
      12              you familiar with what SAS is?
      13              Q.         (BY MR. BOWER)         Why don't you
      14      just explain it for the record.
      15              A.         SAS is another analytical tool.
      16      It uses a language -- I don't know what
      17      language it is.
      18                         So it's an analytical tool that
      19      you program it to do things.               And so Mu Sigma
      20      helped develop this SAS code that would like
      21      say -- for example, with the billing data, it
      22      would pull data out of Teradata, and then
      23      analyze that data, look for outliers, things
      24      like that, and then create a spreadsheet that
      25      would then be used to create this portion of

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       1      the Tableau worksheet.
       2              Q.         What data sources does this
       3      Tableau worksheet pull from?
       4                         MS. FUMERTON:        Objection, form.
       5                         THE WITNESS:        So there's --
       6              there's multiple data sources
       7              depending on -- on which section.
       8              Q.         (BY MR. BOWER)         Okay.     So let's
       9      just focus on maybe a more relevant section
      10      than the first page.            Let's turn to the
      11      second page and do -- look at "Practice
      12      compliance controlled substances"?
      13              A.         Okay.
      14              Q.         Do you see that?
      15                         Where does this information
      16      come from?       For example, let's start with
      17      number of investigation cases.
      18              A.         That information is in Archer.
      19              Q.         Okay.     So Tableau pulls
      20      information from Archer; is that correct?
      21                         MS. FUMERTON:        Objection, form.
      22                         MR. BOWER:       I'll strike that,
      23              then.
      24              Q.         (BY MR. BOWER)         How did Archer
      25      information come to appear in this document?

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       1              A.         The report is pulled out of
       2      Archer.      So the report is ran, exported into
       3      Excel.     SAS takes that Excel report that came
       4      from Archer, runs it through the code that's
       5      looking for errors, making sure that all the
       6      fields that are needed for this are filled
       7      out.    If it's not, it kicks back an error
       8      report for the analyst that's working it to
       9      make sure that the data is correct and
      10      accurate.
      11                         Once the data clears all the
      12      error checks, another spreadsheet is created.
      13      That is then used for Tableau.
      14              Q.         Is all -- that process you just
      15      described, is that done manually on a monthly
      16      basis?
      17                         MS. FUMERTON:        Objection, form.
      18                         THE WITNESS:        The reports are
      19              pulled out of Archer manually on a
      20              monthly basis.          The code in SAS is all
      21              automated.
      22              Q.         (BY MR. BOWER)         Is there any
      23      automated workflow that's connected to the
      24      creation of this Tableau document?
      25                         MS. FUMERTON:        Objection, form.

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       1                         THE WITNESS:        So the way
       2              Tableau is set up, you have
       3              essentially a template that's
       4              connected to data sources.               And so all
       5              of this -- all the headers and all the
       6              pretty graphs are set up.               And then
       7              the analyst goes in and updates the
       8              references to the updated data sets.
       9                         So instead of pointing at
      10              October's data, it's now going to
      11              point at November's data.
      12              Q.         (BY MR. BOWER)         And the analyst
      13      does that manually?
      14              A.         At the time I did it, it was
      15      manually.       I went in and changed the data
      16      sources to the updated data.               I don't know if
      17      they've changed that as -- you know, new
      18      coding and new updates have been made as
      19      Tableau has changed.            I'm not sure.
      20              Q.         So let's go -- we talked about
      21      investigation cases.            What about this more
      22      specific information, like loss in transit or
      23      employee pilferage.           Do you see that?
      24              A.         Yes.
      25              Q.         Is that information also pulled

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       1      from Archer?
       2              A.         Yes.
       3              Q.         Okay.
       4              A.         It would be the same report.
       5              Q.         Okay.     And what about -- going
       6      all the way over to the right, the percent of
       7      split of sources investigation information.
       8      Is that also pulled from Archer?
       9              A.         Yes.    In the same report.
      10              Q.         Do you know what the Archer
      11      cleanup refers to, kind of in the box?                    Under
      12      it says, "Open cases, closed cases and DEA
      13      106."
      14                         Do you see that?
      15                         And then that next box has -- a
      16      couple sentences in, it says, "The number of
      17      DEA 106s files are increased TY" -- which I
      18      assume means this year -- "versus LY" --
      19      which was last year -- "due to Archer
      20      cleanup."
      21                         Do you know what that refers
      22      to?
      23              A.         So if I remember correctly, it
      24      was incidents were -- or investigations and
      25      then determined that they're using it -- were

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       1      worked and everything was done, but the
       2      record was left open instead of finishing out
       3      the step to close out the record in Archer.
       4              Q.         A few sentences further, it
       5      refers to the team, and it says, "The team is
       6      also undertaking initiatives to decrease the
       7      amount of losses occurring at the store level
       8      (e.g., increased diversion controls)."
       9                         Do you see that?
      10              A.         Yes.
      11              Q.         Do you know what that refers
      12      to?
      13              A.         I do not.
      14              Q.         Do you know what team it refers
      15      to?
      16              A.         That would be practice
      17      compliance, and with diversion controls, I --
      18      and partnership with the global
      19      investigations.
      20              Q.         If you could go back down to
      21      the bottom of the document for a moment.
      22                         It says "Practice
      23      compliance-board orders."
      24                         Do you see that?
      25              A.         Yes.

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       1              Q.         Do you know what a "board
       2      order" refers to?
       3              A.         It is an order from a pharmacy
       4      board.
       5              Q.         What does that mean?
       6              A.         My understanding, which I don't
       7      deal with pharmacy boards, it's some
       8      communication that's been had with a pharmacy
       9      board, and some action has to take place
      10      because of that.
      11                         And based on this, it looks
      12      like there's, you know, multiple different
      13      reasons that we could receive a board order.
      14              Q.         Well, what did -- do you know
      15      what, for example, "controlled substance
      16      loss" refers to?
      17              A.         Controlled substance loss is
      18      anytime that there's a loss of controlled
      19      substances.        So the controlled substance on
      20      hand is different than once they actually
      21      count the pills.
      22              Q.         And then what does the next one
      23      over, "diversion," refer to?
      24              A.         So in this case, I would be
      25      assuming it was Walmart diversion, which

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       1      would be a loss of a controlled substance by
       2      an employee.
       3              Q.         And where is this pulling
       4      information from?
       5              A.         Archer.
       6              Q.         How does diversion occurrences
       7      get populated into Archer?
       8              A.         So in this instance, this is
       9      talking about the board action that resulted
      10      from diversion.         So that would be an analyst
      11      on a practice compliance team would have
      12      entered that into Archer.
      13              Q.         What do you mean by "board
      14      action that occurred from diversion"?
      15              A.         The reason for the board order
      16      in this instance is diversion.                So something
      17      happened with diversion that led to a board
      18      order.
      19              Q.         Would Archer have additional
      20      information on those orders, for example,
      21      where they occurred?
      22              A.         Yes.    It would have the store
      23      or the state that it occurred in.
      24                         (Walmart-Reed Deposition
      25              Exhibit 10, was marked for

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       1              identification.)
       2              Q.         (BY MR. BOWER)         You've been
       3      handed what's been marked as Exhibit 10 to
       4      today's deposition.           It's just a one-page
       5      document numbering 9035.             It's a Walmart
       6      document.
       7                         Just let me know when you have
       8      a chance -- have had a chance to review it.
       9      My first question is going to be whether this
      10      refers to the Reddwerks enhancements.                   Okay?
      11              A.         Yes.
      12              Q.         You've reviewed --
      13              A.         Sorry.
      14                         MS. FUMERTON:        Have you read
      15              the document?
      16                         THE WITNESS:        Yes.     Yes.
      17                         MS. FUMERTON:        And you're
      18              answering his question?
      19                         I'll let you clean it up.
      20              Q.         (BY MR. BOWER)         Have you had a
      21      chance to review the document?
      22              A.         Yes.
      23              Q.         And does that conversation
      24      refer to the Reddwerks enhancements at 6045?
      25              A.         Yes.

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       1              Q.         Okay.     Just generally speaking,
       2      in what format are these communications
       3      taking place?
       4              A.         This would be -- it would be an
       5      instant message, in, I'm assuming, Jabber?
       6              Q.         Okay.     What is Jabber?
       7              A.         It's a program that's used by
       8      Walmart for instant messaging.
       9              Q.         And under what circumstances
      10      would you use Jabber?
      11              A.         I use Jabber on a daily basis
      12      to quickly communicate something.                  If
      13      somebody's in a meeting and you can't call
      14      them, you could quickly send them a Jabber,
      15      and so they could kind of answer, multitask a
      16      little bit more.
      17              Q.         And do you have a Jabber
      18      application on your phone?
      19              A.         I do.
      20              Q.         Okay.     Do you know whether that
      21      application preserves Jabber communications?
      22              A.         As far as I know, yes.
      23              Q.         Do you know for how long it
      24      preserves those communications?
      25              A.         I do not.

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       1              Q.         What's the basis for your
       2      statement that the communications are
       3      preserved?
       4              A.         I've seen them on my computer.
       5              Q.         Okay.
       6              A.         And you can search for them on
       7      your computer.         Like, if you search for a
       8      title, Jabber communications come up.
       9              Q.         And you would expect, since you
      10      use it on a daily basis, to have hundreds of
      11      communications come up for you; correct?
      12                         MS. FUMERTON:        Objection, form.
      13                         MR. BOWER:       Strike that.
      14              Q.         (BY MR. BOWER)         How long have
      15      you been using Jabber on a daily basis?
      16              A.         I'm not sure.        I don't know how
      17      long we've had Jabber.
      18              Q.         Certainly you've had it
      19      since --
      20              A.         Since 2015 at least, yes.
      21              Q.         Did you, in addition to Jabber,
      22      use any other type of instant messaging
      23      program at Walmart to communicate?
      24              A.         So prior to Jabber, we had a
      25      program called Link, I think was the name of

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       1      it.
       2                         And then we currently have
       3      Zoom.
       4              Q.         Okay.     When did Walmart stop
       5      using Link?
       6              A.         I don't recall.
       7              Q.         Do you remember approximately?
       8              A.         I have no idea.
       9              Q.         Do you recall using Link
      10      yourself?
      11              A.         Yes.
      12              Q.         Do you recall, if you refer
      13      back to maybe Exhibit 1, what positions you
      14      would have been in when you were using Link?
      15                         If that's not helpful, then
      16      it's not helpful.
      17              A.         Yeah.     I mean, it's not super
      18      helpful.
      19              Q.         Okay.
      20              A.         I don't know.        We change, you
      21      know, and get new systems and evolve, and I
      22      don't necessarily keep track of when we
      23      started using something new.
      24              Q.         What's the basis for your
      25      statement that you recall using Jabber on a

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       1      daily basis?
       2                         MS. FUMERTON:        Objection, form.
       3                         THE WITNESS:        I work remote,
       4              and so I don't have the ability to
       5              just, you know, walk down the aisle
       6              and talk to somebody.             And so Jabber
       7              is a primary mode of me keeping in
       8              touch with my peers.
       9              Q.         (BY MR. BOWER)         And how long
      10      have you used it as the primary mode for
      11      keeping in touch with your peers?
      12                         MS. FUMERTON:        Objection, form.
      13              Misstates testimony.
      14                         MR. BOWER:       Well --
      15                         THE WITNESS:        I've used it
      16              since it rolled out.
      17                         MR. BOWER:       Okay.
      18                         THE WITNESS:        And I don't know
      19              exactly when that is.
      20                         MR. BOWER:       Okay.     Thank you.
      21              Q.         (BY MR. BOWER)         Did you ever
      22      use text message to communicate with your
      23      peers at work?
      24              A.         Not about work-related things.
      25              Q.         Okay.     You would have used

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       1      Jabber for those communications; correct?
       2              A.         Yes.
       3              Q.         Well, I just want to clean up
       4      this record, then, since there was an
       5      objection made.
       6                         Your testimony was, "So Jabber
       7      is a primary mode of me keeping in touch with
       8      my peers."
       9                         And I just want to have a clean
      10      record with respect to the time period that
      11      you're talking about.            What time period would
      12      you use Jabber as the primary mode of keeping
      13      in touch with your peers at Walmart?
      14                         MS. FUMERTON:        Objection, form
      15              and misstates testimony.
      16                         You keep switching one word in
      17              there.
      18                         MR. BOWER:       You can answer.
      19                         THE WITNESS:        So I've used
      20              instant message, which is Jabber or
      21              Zoom, as a main way to keep in touch
      22              with my peers, since we've had instant
      23              message, which has been as long as I
      24              remember working at -- working here
      25              for Walmart.

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       1                         MR. BOWER:       Okay.     Thank you.
       2                         (Walmart-Reed Deposition
       3              Exhibit 11, was marked for
       4              identification.)
       5              Q.         (BY MR. BOWER)         You've been
       6      handed what's been marked as Exhibit 11.                     An
       7      email from yourself to Miranda Johnson, dated
       8      8-28-2015, and the subject is "Email
       9      notification of SOM eval."              I just had a
      10      couple of questions on this document.                   So
      11      please let me know when you've had a chance
      12      to review it.
      13                         MR. MILLER:       Is there a Bates
      14              on this document?
      15                         MR. BOWER:       Oh, the Bates
      16              number, sure.
      17                         It's 8688 through 8689.
      18                         [Document review.]
      19                         THE WITNESS:        Okay.
      20              Q.         (BY MR. BOWER)         Do you recall
      21      this email exchange?
      22              A.         Yes.
      23              Q.         And what was this regarding?
      24              A.         This was the email notification
      25      that would go out to the field leadership --

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       1      so the market directors -- regarding the fact
       2      that we were holding an order and evaluating
       3      it.
       4              Q.         And when would these emails or
       5      notifications go out to the field leadership?
       6              A.         It would be if the order was
       7      held and reviewed by practice compliance.
       8              Q.         So, in other words, if an order
       9      is flagged as an order of interest; correct?
      10                         Strike that.
      11                         During this time period,
      12      August 2015, what is the process or procedure
      13      in place after an order is flagged as an
      14      order of interest?
      15                         MS. FUMERTON:        Objection, form.
      16                         THE WITNESS:        So the --
      17                         MR. BOWER:       I'll strike that.
      18              I'll ask it a different way.
      19                         THE WITNESS:        Okay.
      20              Q.         (BY MR. BOWER)         During this
      21      time period in August 2015, what happens to
      22      an order that is flagged as an order of
      23      interest?
      24              A.         The logistics team would
      25      review, and they could clear the order at

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       1      their level or they would send the order to
       2      practice compliance for review.
       3                         This email would go out if it
       4      was sent to practice compliance for review.
       5              Q.         Okay.
       6                         So the field leadership is only
       7      informed of an order of interest if it's not
       8      cleared or approved by the logistics team; is
       9      that correct?
      10              A.         During the Reddwerks period,
      11      yes.
      12              Q.         Okay.     Was that procedure
      13      different at a different point in time?
      14              A.         Yes.
      15              Q.         And how was it different?
      16              A.         During the Buzzeo program,
      17      stores were notified immediately that an
      18      order was being held and the market
      19      leadership had visibility into Archer -- in
      20      Archer regarding the orders that were being
      21      held.
      22              Q.         So it sounds like a couple of
      23      changes were made in connection with Buzzeo;
      24      is that correct?
      25                         MS. FUMERTON:        Objection, form.

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       1                         THE WITNESS:        Yes.     Changes
       2              were made.
       3              Q.         (BY MR. BOWER) In connection
       4      with this specific notification; right?
       5              A.         Yes.
       6              Q.         One of those is that now the
       7      field leadership is notified immediately of
       8      an order that's flagged as an order of
       9      interest; correct?
      10              A.         The pharmacy leadership was
      11      notified.
      12              Q.         And one of the other changes
      13      that occurs is that market leadership was
      14      also notified.         Correct?
      15              A.         They had visibility into
      16      Archer.
      17                         An email wasn't sent to them.
      18      They could go into Archer at any one time and
      19      see the orders that were pending.
      20              Q.         Well, at any point was market
      21      leadership affirmatively notified of a pended
      22      order?
      23                         MS. FUMERTON:        Objection, form.
      24                         MR. BOWER:       I'll strike that.
      25              Q.         (BY MR. BOWER)         Did Walmart at

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       1      any point in time notify market leadership of
       2      an order that had been flagged as an order of
       3      interest?
       4                         MS. FUMERTON:        Objection, form.
       5                         THE WITNESS:        They were
       6              notified when practice compliance
       7              reviewed an order during the Reddwerks
       8              period.
       9              Q.         (BY MR. BOWER)         And what about
      10      notification for market leadership during the
      11      Buzzeo period?
      12              A.         During the Buzzeo period, it
      13      was a pull instead of a push.                So they would
      14      go to look at the data instead of us pushing
      15      the data to them.
      16              Q.         During the Reddwerks period,
      17      did you do -- ever do an analysis as to the
      18      percentage of orders of interest that were
      19      cleared by the logistics team versus
      20      escalated to the home office?
      21              A.         There was a weekly report that
      22      I would run and provide to Miranda and the
      23      logistics leadership about the number of
      24      orders that were pended and the number of
      25      orders we reviewed, appropriate orders, you

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       1      know, suspicious orders, those type of
       2      metrics.
       3              Q.         Did the Reddwerks enhancement
       4      change that procedure for reviewing of an
       5      order of interest?
       6                         MS. FUMERTON:        Objection, form.
       7                         MR. BOWER:       I'll ask it a
       8              different way.
       9              Q.         (BY MR. BOWER)         Did the
      10      Reddwerks enhancement change the process by
      11      which an order of interest was reviewed by
      12      Walmart?
      13              A.         I wasn't involved in the
      14      process before, so I can't speak to the
      15      differences.
      16              Q.         Did you ever do any type of
      17      analysis to determine whether the Reddwerks
      18      enhancement was an improvement over the
      19      period prior to the enhancement?
      20                         MS. FUMERTON:        Objection, form.
      21                         THE WITNESS:        I did not.
      22              Q.         (BY MR. BOWER)         Do you know
      23      whether Walmart ever did such an analysis?
      24                         MS. FUMERTON:        Objection, form.
      25                         THE WITNESS:        I'm not sure.

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       1              Q.         (BY MR. BOWER)         Do you know why
       2      Walmart enhanced Reddwerks?
       3                         MS. FUMERTON:        Objection, form.
       4                         THE WITNESS:        I do not.
       5              Q.         (BY MR. BOWER)         Do you know who
       6      might know that question?
       7                         Sorry, do you know -- strike
       8      that.
       9                         Do you know who might know the
      10      answer to that question?
      11              A.         Logistics and compliance
      12      leadership.
      13              Q.         Do you have any -- as you sit
      14      here today, any understanding as to why
      15      enhancements were needed to Reddwerks?
      16                         MS. FUMERTON:        Objection, form.
      17                         THE WITNESS:        I don't.
      18              Q.         (BY MR. BOWER)         As you sit here
      19      today, do you have any understanding as to
      20      why enhancements were made to Reddwerks?
      21              A.         No.
      22              Q.         As you sit here today, do you
      23      have any understanding as to why Walmart
      24      decided to use Buzzeo?
      25                         MS. FUMERTON:        Objection, form.

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       1                         THE WITNESS:        I don't know the
       2              why.
       3              Q.         (BY MR. BOWER)         Do you have any
       4      knowledge as to the factors that went into
       5      deciding to change from Reddwerks to Buzzeo?
       6                         MS. FUMERTON:        Objection, form.
       7                         THE WITNESS:        I know that
       8              Buzzeo was a -- was a dynamic option.
       9              So they looked at rolling numbers and
      10              they looked at active ingredients
      11              other than item-specific.               But other
      12              than that, I wasn't involved in the
      13              decision to switch from one to the
      14              other.
      15              Q.         (BY MR. BOWER)         And who --
      16      strike that.
      17                         Do you know who was involved in
      18      that decision?
      19              A.         I don't know of any one person.
      20      It was -- there was a council, an advisory
      21      council for controlled substances at the
      22      time, and I'm sure they were involved.
      23              Q.         When did you first become aware
      24      that Walmart would be switching to Buzzeo?
      25              A.         I knew Buzzeo was an option in

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       1      the 2014 timeframe, because things like this
       2      document say, an example, Buzzeo.                  So there
       3      was a process of vetting other vendors.                    And
       4      I don't know when for sure I knew that Buzzeo
       5      was the plan.        I know by July of 2015, there
       6      was more information about Buzzeo
       7      specifically in my training documents, so ...
       8                         In between that time, I don't
       9      know that I knew specifically that the RFP
      10      process had been completed.
      11              Q.         When you say "I know by
      12      July 2015, there was more information about
      13      Buzzeo specifically in my training
      14      documents," what are you referring to?
      15              A.         So I remember when I received
      16      my training documents, there was
      17      information -- a presentation, I think, about
      18      Buzzeo.      Just what they did and what it was
      19      and kind of what our plan was with them.
      20              Q.         Did Walmart work with any third
      21      parties in its decision to hire a third party
      22      to assist with its SOM program?
      23                         MS. FUMERTON:        Objection, form.
      24                         THE WITNESS:        I have no idea.
      25              Q.         (BY MR. BOWER)         Are you

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       1      familiar with a company by the name of
       2      Accenture?
       3              A.         No.
       4              Q.         Let's go back to Exhibit 11 for
       5      a moment, before I forget about it.
       6                         So I do have a couple of
       7      questions on kind of the substance of the
       8      email.
       9                         So what is -- what are you
      10      writing about in your email to Miranda, when
      11      you say "team"?
      12              A.         So this was a draft of an
      13      email, so this was my first stab at an email
      14      that we would use.           So that's like the
      15      template.
      16                         As you can see, it has XXX
      17      bottles in store XXX.
      18              Q.         So this was a template for an
      19      email that would go out to the field
      20      leadership when an order was escalated by the
      21      logistics team and not cleared; is that
      22      correct?
      23                         MS. FUMERTON:        Objection, form.
      24                         Misstates testimony.
      25                         MR. BOWER:       Oh, strike that.

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       1              Q.         (BY MR. BOWER)         When would this
       2      notification go out to the --
       3                         MR. BOWER:       Well, I'll -- if it
       4              misstates testimony, then I'll have to
       5              go back.
       6              Q.         (BY MR. BOWER)         To whom was
       7      this notification to be sent?
       8                         MS. FUMERTON:        Objection, form.
       9                         THE WITNESS:        This notification
      10              is a draft.        It wasn't what was
      11              ultimately sent, but the email, in its
      12              final form, would have been sent to
      13              the market leadership.
      14              Q.         (BY MR. BOWER)         And what about
      15      the field leadership?
      16                         Would they have received this?
      17      The same correspondence?
      18              A.         Who are you referring to when
      19      you say "field leadership"?
      20              Q.         I'm just using your language.
      21      That was going to be my follow-up question.
      22      You earlier referred to at some point field
      23      leadership.        So what does that mean?
      24              A.         So market leadership, field
      25      leadership.        Same thing.       Sorry, I tend to

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       1      use them interchangeably.              The market leaders
       2      are in the field.
       3              Q.         And what specific positions are
       4      you referring to?
       5              A.         The market directors and the
       6      regional directors.           There's also a
       7      divisional director at a higher level, and I
       8      don't recall whether they received this email
       9      or not.
      10              Q.         And what was the reason for
      11      sending it to these folks?
      12                         MS. FUMERTON:        Objection, form.
      13                         MR. BOWER:       Go ahead.
      14                         You can answer it if you
      15              understand.        If not, I'm happy to
      16              rephrase.
      17                         THE WITNESS:        So the email was
      18              sent at this point because the order
      19              was delayed.         So that way they would
      20              be aware if their source started
      21              calling them to say, "Hey, we haven't
      22              gotten an order that we placed."                  They
      23              would know where that order was.
      24              Q.         (BY MR. BOWER)         You're not
      25      sending this to the pharmacy, are you?

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       1              A.         No.
       2              Q.         So why are you informing these
       3      folks that an order has been delayed?                   What's
       4      the reason for that?
       5                         Why not just send to the
       6      pharmacy?
       7                         MS. FUMERTON:        Objection, form.
       8                         MR. BOWER:       Well, that's a
       9              compound question, so let me ask it
      10              again.
      11              Q.         (BY MR. BOWER) Instead of
      12      sending this to the field leadership or
      13      others, why not just send it directly to the
      14      pharmacies themselves?
      15              A.         So my understanding is
      16      partially so the market leader is aware that
      17      there's an investigation -- or an evaluation
      18      happening.
      19              Q.         And why would Walmart be
      20      interested or want to inform the market
      21      leader that an evaluation was happening?
      22                         MS. FUMERTON:        Objection, form.
      23                         THE WITNESS:        They're
      24              responsible for the stores, and to let
      25              them -- the pharmacies, and just to

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       1              let them know, for one, we could reach
       2              out to the market director for
       3              additional information.              So it's kind
       4              of a heads-up that, "Hey, we might be
       5              calling you."
       6                         And sometimes they would reach
       7              out to us directly to give us
       8              additional information.              But part of
       9              this is we'll be reaching out to the
      10              market director for more information.
      11              Q.         (BY MR. BOWER)         And what
      12      information would you be seeking to get from
      13      the market director?
      14              A.         So if it was -- if it was
      15      needed, it would be verifying what the
      16      pharmacist said, making sure that they agree
      17      with what the pharmacist said.
      18                         Finding out if this store
      19      differs any from the other stores in their
      20      market.      And if there was any special
      21      circumstances that they knew of that made
      22      this particular store in question different
      23      than its peers.
      24              Q.         Who would be the person to
      25      contact the market director?

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       1              A.         Most of the time it was me.
       2                         Later in the program, I was out
       3      for a while and we had a temporary analyst
       4      there filling in for me.             And he would do it
       5      while I was out.
       6                         And then later, we had analysts
       7      that would help as well.
       8              Q.         And for what time period did
       9      you have this responsibility?
      10              A.         2015, after I was in role, to
      11      2017, when we stopped using Reddwerks.
      12              Q.         And approximately how much of
      13      your time was spent in contacting market
      14      directors?
      15              A.         I'm not sure that I could
      16      answer that, because we didn't contact market
      17      directors for every order that we reviewed.
      18      And I would contact market directors for
      19      other things outside of SOM, so that's kind
      20      of a hard question to answer.
      21              Q.         Okay.     And I appreciate that
      22      clarification.
      23                         So I'm just trying to
      24      understand kind of how the process worked.
      25                         So under what circumstances

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       1      would you contact a market director in
       2      connection with your SOM applications?
       3              A.         If there was any question about
       4      the data that just wasn't clear that we
       5      thought maybe the market director could have
       6      some additional insight into, if there was
       7      anything that the pharmacist said to the
       8      logistics team that wasn't clear that we
       9      wanted clarification from, those type things
      10      would involve a market director.
      11              Q.         And how would you know, for
      12      example, if there was anything that the
      13      pharmacist said to the logistics team that
      14      wasn't clear?
      15              A.         That information was -- their
      16      notes were documented in Archer.
      17              Q.         So you would review those notes
      18      and then determine whether you needed to
      19      contact the market director; is that correct?
      20              A.         I would review the entire
      21      Archer record, their notes, the data that was
      22      entered in Archer as far as the order goes.
      23      I would pull the data, the dispensing data we
      24      talked about earlier, and review all of that
      25      and then determine whether I needed to talk

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       1      to the market director.
       2              Q.         And did you have, during this
       3      time period, the authority to approve an
       4      order that had been flagged as an order of
       5      interest for shipment?
       6              A.         No.
       7              Q.         What would you do with the
       8      information that you learned from the market
       9      director when you spoke with them?
      10              A.         There was a field in Archer to
      11      enter in my notes.
      12              Q.         And then what would happen with
      13      the order after you spoke with the market
      14      director?
      15              A.         I would document any notes that
      16      I needed to in Archer.             There was a field for
      17      additional evaluation notes.               And in the
      18      beginning of the program, I would let Miranda
      19      know that it was ready for her review.                    She
      20      would ask me of any questions, and then she
      21      and Chad Ducote would review the alert.
      22              Q.         In the beginning of the
      23      program, you know, August-September 2015, do
      24      you know approximately how many orders for
      25      Schedule II narcotics were being flagged on a

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       1      daily basis by Reddwerks?
       2              A.         I do not.
       3              Q.         Did you ever do that analysis?
       4                         MS. FUMERTON:        Objection, form.
       5              Asked and answered.
       6                         THE WITNESS:        I don't know.
       7              Q.         (BY MR. BOWER)         Do you recall
       8      ever doing that analysis?
       9              A.         I don't recall.
      10              Q.         I'm just trying to nail down
      11      the procedure.
      12                         How would you know whether an
      13      order was waiting for you to contact the
      14      market director before it was escalated to
      15      Miranda?
      16                         MS. FUMERTON:        Objection, form.
      17                         MR. BOWER:       I'll strike that.
      18              Q.         (BY MR. BOWER)         How would you
      19      know when to contact the market director
      20      about an order that was flagged as an order
      21      of interest?
      22                         MS. FUMERTON:        Objection, form.
      23                         THE WITNESS:        So logistics
      24              would review an order.             They would
      25              market it as send to practice

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       1              compliance for additional evaluation.
       2              Archer sends an email to our team, at
       3              the time Miranda and I.              That would be
       4              the start of my investigation.
       5                         I would review everything, pull
       6              data, make a determination whether to
       7              call a market director, and then
       8              prepare, make sure the Archer record
       9              was updated with all my information,
      10              and then Miranda would review.
      11              Q.         (BY MR. BOWER)         So during this
      12      initial time period, was there anyone else
      13      besides yourself that would review orders
      14      that had been escalated by the logistics
      15      team?
      16                         MS. FUMERTON:        Objection, form.
      17                         MR. BOWER:       I'll strike that.
      18              I want to ask a better question.
      19              Q.         (BY MR. BOWER)         So during this
      20      initial time period when the Reddwerks
      21      enhancements had been rolled out and you were
      22      now involved in the SOM program, okay?                    I'm
      23      going to focus you there.
      24                         During that time period, was
      25      there anyone else besides yourself and

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       1      Miranda that was involved in reviewing an
       2      order of interest that had not been cleared
       3      by the logistics team?
       4                         MS. FUMERTON:        Objection, form.
       5                         THE WITNESS:        No.    The team was
       6              just Miranda and I.
       7              Q.         (BY MR. BOWER)         So during this
       8      time period, every order of interest that was
       9      not cleared by the logistics team would have
      10      had to have been either cleared or otherwise
      11      addressed by either yourself and Miranda; is
      12      that correct?
      13              A.         So any order that wasn't
      14      approved at logistics level would be sent to
      15      practice compliance.            I would do the initial
      16      evaluation, then Miranda would circle back
      17      with logistics and review with him before a
      18      decision was made.
      19              Q.         And who is the "him" you were
      20      referring to?
      21              A.         Chad Ducote at the time.
      22              Q.         And based on your experience, I
      23      mean, how -- how many orders were you
      24      receiving during August-September time period
      25      on a daily basis?

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       1              A.         I don't remember.
       2              Q.         Do you remember approximately
       3      how many?
       4              A.         I do not.
       5              Q.         So your job was to review
       6      everything; right?
       7                         MS. FUMERTON:        Objection, form.
       8              Misstates the testimony.
       9                         THE WITNESS:        My job was to
      10              review the incidents that had been
      11              sent on to practice compliance.
      12              Q.         (BY MR. BOWER)         And for those
      13      instances, I think your words were I would
      14      review all the data -- review everything;
      15      right?
      16              A.         Review all the data that we
      17      talked about earlier.            Those data points that
      18      we reviewed, I had a spreadsheet that -- that
      19      would be populated.
      20              Q.         Okay.     So you're referring now
      21      to that prescriber data; correct?
      22                         MS. FUMERTON:        Objection, form.
      23                         THE WITNESS:        To the
      24              prescribing data or dispensing data.
      25                         MR. BOWER:       Sorry, dispensing

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       1              data.
       2                         THE WITNESS:        Yes, yes.
       3              Q.         (BY MR. BOWER)         Just so the
       4      record is clear, you're referring now, when
       5      you say in your answer, "Those data points
       6      that we reviewed, I had a spreadsheet that
       7      would be populated," that spreadsheet you're
       8      referring to would have dispensing data;
       9      correct?
      10              A.         Yes.
      11              Q.         And you would review that in
      12      connection with your duties and
      13      responsibilities of reviewing orders of
      14      interest; correct?
      15              A.         Yes.
      16              Q.         And would you make a
      17      recommendation to Miranda as to what should
      18      happen to an order of interest?
      19              A.         Early on, no.
      20              Q.         How would Miranda know what
      21      your review had uncovered?              In connection
      22      with an order of interest.
      23                         MS. FUMERTON:        Objection, form.
      24                         THE WITNESS:        There was a field
      25              in Archer for my notes.              There was an

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       1              additional evaluation field, and I put
       2              any notes that were applicable in that
       3              field.
       4              Q.         (BY MR. BOWER)         Okay.     And when
       5      I asked you, "Would you make a recommendation
       6      to Miranda as to what should happen to an
       7      order of interest?"           You said, "Early on,
       8      no."    At some point did that change?
       9              A.         So in 2017, I started
      10      presenting the information to Miranda.                    And
      11      then it was -- Chad had left, and Debbie --
      12      she's in logistics.           I cannot think --
      13              Q.         Debbie Hodges?
      14              A.         Yes.    Was the logistics
      15      representative.         And I would present the
      16      information to them, and at that time, I
      17      would give a recommendation on, "Hey, I think
      18      this is suspicious," or this -- "This seems
      19      like it's okay."
      20              Q.         During this time period -- and
      21      let's talk about at least August-September
      22      2015, and then you tell me if it changed.
      23      But at least in August-September of 2015,
      24      what were the options that you and Miranda
      25      had for an order of interest that had not

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       1      been cleared by the logistics team?
       2                         MS. FUMERTON:        Objection, form.
       3                         THE WITNESS:        During the early
       4              timeframe, that August-September
       5              timeframe, if I recall correctly, our
       6              only options were either appropriate
       7              or suspicious.
       8              Q.         (BY MR. BOWER)         And what would
       9      happen if an order was appropriate?
      10              A.         The order would be shipped.
      11              Q.         And how would you notify the DC
      12      that the order was ready to be shipped?
      13              A.         We would change the Archer
      14      record to the resolution of appropriate
      15      order.     That would trigger an email to go
      16      back to the logistics team.               They would then
      17      go into Reddwerks and clear the order.
      18              Q.         And just so we're clear, the
      19      logistics team that we've been talking about
      20      today, those folks are located at the DCs;
      21      right?
      22              A.         No.
      23              Q.         Okay.     Where are they located?
      24              A.         Well, at the time they were
      25      located in the home office.               Like, I don't

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       1      know that that team exists today in the form
       2      that it was, but at the time, they were in
       3      the Walmart home office.
       4              Q.         Okay.     Well, let's go back
       5      to -- so at that time in 2015, were folks at
       6      the DC reviewing orders of interest?
       7                         MS. FUMERTON:        Objection, form.
       8                         THE WITNESS:        I'm not sure what
       9              level of involvement the folks at the
      10              DC had.
      11              Q.         (BY MR. BOWER)         And do you know
      12      whether they were involved in reviewing an
      13      order of interest in late 2015?
      14                         MS. FUMERTON:        Objection, form.
      15                         THE WITNESS:        I do not know.
      16                         MR. BOWER:       And let me ask a
      17              complete question, because I think
      18              that was a good objection to make.
      19              The question was poor.
      20              Q.         (BY MR. BOWER)         In late 2015,
      21      do you know whether folks at DC 6045 --
      22      strike that.
      23                         In late 2015, do you know
      24      whether anyone at DC 6045 was involved in
      25      reviewing orders of interest that had been

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       1      flagged in Reddwerks?
       2              A.         I don't know.        I'm not familiar
       3      enough with the how.            I know how the process
       4      works at the home office side.                I'm not sure
       5      how it works on the DC side.
       6              Q.         Okay.
       7                         MR. BOWER:       Do you want to take
       8              a break now or do you want to --
       9                         THE WITNESS:        If this is a
      10              logical stopping point, that's fine.
      11                         MR. BOWER:       I think it's a
      12              logical -- I'm not sure how long --
      13                         We can go off.
      14                         THE VIDEOGRAPHER:          1:57.     We
      15              are off the video record.
      16                         (Recess taken, 1:57 p.m. to
      17              2:15 p.m.)
      18                         THE VIDEOGRAPHER:          2:15.     We
      19              are on video record.
      20              Q.         (BY MR. BOWER)         All right.
      21      We're back on the record.              I'm handing you
      22      what's been marked as Exhibit 12.                  Just take
      23      a moment to review the document.                 And I'm
      24      just trying to -- as you review it, I'm just
      25      trying to understand whether this document

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       1      would have been the threshold file in
       2      connection with the enhanced Reddwerks when
       3      it was rolled out in 2015.
       4                         (Walmart-Reed Deposition
       5              Exhibit 12, was marked for
       6              identification.)
       7                         MS. FUMERTON:        And just for the
       8              record, again, this is an excerpt to
       9              the larger file.
      10                         MR. BOWER:       Yes.     I believe
      11              this one was very large, so ...
      12                         MR. MILLER:       Is there a Bates
      13              number for this document?
      14                         MR. BOWER:       Yep.     It's 53351,
      15              and then the attachment is 53352.
      16                         THE WITNESS:        Okay.
      17              Q.         (BY MR. BOWER)         Okay.     Do you
      18      know whether this is the initial threshold
      19      for the Reddwerks enhancements?
      20              A.         For 6045?
      21              Q.         This is 45, yes, thank you.
      22              A.         It looks that way, yes.
      23              Q.         And then I just have a couple
      24      of questions.        I think I got all the columns,
      25      though I'm not sure, but let me just ask

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       1      about the ones we do have here.
       2                         What does, if you know, "Ship
       3      to store number" mean?
       4                         Do you see the fifth column
       5      over from the right?
       6              A.         That's the store number.
       7              Q.         Okay.     That's the ship -- got
       8      it.
       9                         Would you expect, if this had
      10      been in connection with the Reddwerks
      11      rollout, to have the bottle thresholds be the
      12      same for all of these stores?
      13              A.         Potentially, considering it's
      14      an excerpt, we're not seeing all of the data.
      15              Q.         It could be that these are ten
      16      because they were the non-traited products?
      17              A.         Based on the pack size, this
      18      WHPK quantity, that's the pack size.
      19                         And then what the dosage
      20      threshold, or the dosage unit threshold, no,
      21      because it's 5,000 dosage units, which
      22      would -- if it was 100-count bottle would be
      23      50 bottles.        But since this is a 500, it's
      24      ten.    It's likely because it's sorted.                  It's
      25      the way it's sorted.

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       1              Q.         Okay.     I appreciate that.
       2      That's very helpful.
       3                         Did the thresholds that were
       4      provided -- or uploaded into Reddwerks have
       5      the thresholds for the non-titrated [sic]
       6      item numbers in them?
       7              A.         Non-traited.
       8              Q.         Non-traited, right.
       9              A.         Yes.
      10              Q.         Okay.     And then, just going
      11      back to your cover email there, was that the
      12      email address at Reddwerks?               Who was that
      13      person's name?
      14                         Do you know?
      15              A.         I have no idea.
      16              Q.         Okay.     Other than sending
      17      Reddwerks a threshold file, was there
      18      anything else that you needed to do to update
      19      thresholds for 6045 in Reddwerks?
      20                         MS. FUMERTON:        Objection, form.
      21                         THE WITNESS:        So it looks like
      22              for this first one that was sent, I
      23              sent an email.
      24                         This was not the typical way
      25              going forward that we updated

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       1              thresholds.
       2                         I don't know why -- I don't
       3              recall why an email was sent this
       4              time, but later I would have imported
       5              them directly into Reddwerks.
       6                         There was a page on the website
       7              that we used that was for SOM import.
       8              And so you would go there and select
       9              the file and it would validate and
      10              then it would impart into the
      11              Reddwerks system.
      12              Q.         (BY MR. BOWER)         And did you
      13      save -- after you imported those files, did
      14      you save them anywhere in the Walmart system?
      15              A.         Yes.    So before they were
      16      imported, they were saved on our shared
      17      drive.     And then that's where I pulled it
      18      from to import it.
      19              Q.         And who would have been the
      20      person at Walmart to save it on the shared
      21      drive?
      22              A.         Me.
      23              Q.         Was it Walmart's policies and
      24      procedures to save all of those files on the
      25      shared drive?

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       1                         MS. FUMERTON:        Objection, form.
       2                         THE WITNESS:        So all of --
       3              anytime an update was made, that
       4              version was saved as well.
       5              Q.         (BY MR. BOWER)         And your answer
       6      also helped me, because I was looking at some
       7      other updates that didn't have cover emails.
       8      So that wouldn't be unusual in your
       9      experience; is that correct?
      10              A.         That would be the norm.
      11              Q.         Okay.
      12                         So other than looking to the
      13      files saved on the shared drive, would there
      14      be any other way of determining whether
      15      threshold updates were made?
      16              A.         So this shared drive would have
      17      the different versions of the threshold file,
      18      and then if the -- if a threshold was updated
      19      because of a review, Archer would indicate
      20      updated threshold in the record.
      21              Q.         And can you just explain what
      22      you mean by "if a threshold was updated
      23      because of a review"?
      24              A.         So if a store item continued to
      25      alert, and we -- we determined that it was

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       1      alerting because it was a new store, when the
       2      thresholds were initially developed, and so
       3      the initial threshold that developed wasn't
       4      accurate now, we would -- and by "we," I mean
       5      myself -- would pull the data and then update
       6      the threshold accordingly.
       7              Q.         And would there ever -- strike
       8      that.
       9                         Was there ever a circumstance
      10      where the threshold was updated that wasn't a
      11      new store?
      12              A.         Yes.
      13              Q.         And under what circumstances
      14      would that occur?
      15              A.         It could occur if it was just a
      16      high-volume store that we'd reviewed multiple
      17      times and determined that there were no red
      18      flags, nothing of concern.              They were just
      19      higher volume than the 50-set limit.
      20              Q.         And how would you become
      21      comfortable yourself that a high-volume
      22      store's orders were not suspicious?
      23              A.         Reviewing the order and the
      24      dispensing data, and all the other relevant
      25      information, refusal-to-fill information,

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       1      things like that.
       2              Q.         Well, other than the order
       3      itself, and that -- by "order," you mean
       4      order -- that specific item order; correct?
       5              A.         Yes.
       6              Q.         And the dispensing data, what
       7      else would you look at to get comfort that a
       8      high-volume store's orders were not
       9      suspicious?
      10              A.         So the dispensing data would
      11      say a lot.       There's a lot covered in
      12      dispensing data.          But the store profile also
      13      has a lot of information.              Mainly refusal to
      14      fills.     The refusal to fills are a good
      15      indicator that the pharmacists are doing
      16      their due diligence when it comes to
      17      prescriptions.         Whether there's been any
      18      other alerts for other drugs that were
      19      suspicious, that would come into effect.
      20                         Where the store is located.               If
      21      there's no other stores around and it is
      22      truly a high-volume store, things like that.
      23              Q.         Thank you for that answer.              And
      24      that led me to think of another circumstance
      25      that I had a question on, which is SOM

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       1      remediation.
       2                         Are you familiar with that
       3      term?
       4              A.         Yes.
       5              Q.         And what does that term mean to
       6      you?
       7              A.         So when an order was determined
       8      to be suspicious, the store was held to
       9      remediation limit, most often their
      10      threshold.
      11                         So if the -- if an order was
      12      placed the next week that was over their
      13      threshold, the order would be limited to
      14      their threshold amount.
      15              Q.         So I have a couple of questions
      16      on SOM remediation, then.              The first of which
      17      is, is a store -- strike that.
      18                         When you say, "A store was held
      19      to remediation limit," what does that mean?
      20              A.         So it became a hard limit.
      21              Q.         Okay.
      22                         And would a store that's in SOM
      23      remediation -- strike that.
      24                         Would a store only go into SOM
      25      remediation if they had made an order that

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       1      had been deemed suspicious?
       2              A.         Yes.
       3              Q.         Are there any other
       4      circumstances that would cause a store to go
       5      into SOM remediation?
       6              A.         Not that I know of.
       7              Q.         Okay.     And then when a SOM
       8      store is under SOM remediation and they
       9      ordered above their threshold, what would
      10      happen?
      11                         MS. FUMERTON:        Objection, form.
      12                         THE WITNESS:        So I want to
      13              clarify who "they" are.
      14              Q.         (BY MR. BOWER)         Okay.     So let's
      15      assume a store is in SOM remediation.
      16              A.         Mm-hmm.      (Witness nods.)
      17              Q.         Okay?
      18                         And that store places an order
      19      for a Schedule II product that is above its
      20      threshold.
      21                         What happens?
      22              A.         So the store may not have
      23      placed the order.          Our replenishment may have
      24      placed the order for the store.                 So there are
      25      system orders and manual orders.

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       1                         Regardless of who the "they"
       2      is, if a -- if an order is placed for a -- an
       3      item that is on SOM remediation, that order
       4      would be cut and kept at the threshold level.
       5              Q.         So let me just make sure I
       6      understand.
       7                         So if a store is on SOM
       8      remediation, and any order comes in that's
       9      above its threshold, that order is cut to its
      10      threshold and then shipped; is that correct?
      11                         MS. FUMERTON:        Objection, form.
      12                         THE WITNESS:        So orders that
      13              come in, when in SOM remediation, that
      14              weekly amount is kept at the threshold
      15              level.
      16                         The reason for that is the
      17              replenishment system most often is
      18              who's placing the orders.               And it uses
      19              a 13-week history to place orders.
      20              And so to teach the order system to
      21              order a lower amount, we had the
      22              orders capped at the threshold amount.
      23              Q.         (BY MR. BOWER)         Okay.     But I'm
      24      just trying to figure out what happened to
      25      that order, though, that a store has placed

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       1      either by the store or by the replenishment,
       2      that's in remediation.             Okay?
       3                         So we have a store in SOM
       4      remediation.        An order is placed either by
       5      the store itself or by the replenishment
       6      system.      And that order is above an item
       7      threshold.
       8                         What happens to that order?
       9              A.         If the store had not already
      10      received their threshold, they would have
      11      received up to their threshold, and that
      12      would be it.
      13                         If they had already received
      14      their threshold amount for that week, they
      15      would not receive that order.
      16              Q.         Would that order be reported to
      17      the DEA?
      18                         MS. FUMERTON:        Objection, form.
      19                         THE WITNESS:        The order that
      20              they did not receive because they were
      21              under SOM remediation, no.
      22              Q.         (BY MR. BOWER)         Okay.     And just
      23      so that the record is clear, let's say, for
      24      example, a store is under SOM remediation and
      25      their weekly limit for Oxy 10 milligrams is

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       1      50 and they placed an order for 60.
       2                         What happens to that order for
       3      60?
       4              A.         The order would be --
       5                         MS. FUMERTON:        Objection, form.
       6              Q.         (BY MR. BOWER)         And we're
       7      talking about bottles now, just so we're all
       8      clear.
       9                         MS. FUMERTON:        Objection, form.
      10                         THE WITNESS:        The order would
      11              be cut to 50 bottles and then shipped.
      12              Q.         (BY MR. BOWER)         And for how
      13      long was that policy in place?
      14              A.         The remediation policy, or ...
      15              Q.         Yes, the policy we just
      16      discussed, where a store is under SOM
      17      remediation and the orders that are above its
      18      threshold are cut to its threshold and
      19      shipped.
      20              A.         Until the Buzzeo system went
      21      into place.
      22              Q.         Okay.     And how did the Buzzeo
      23      system change that policy?
      24                         MS. FUMERTON:        Objection, form.
      25                         Go ahead.

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       1                         THE WITNESS:        The Buzzeo system
       2              was dynamic and looked at a rolling
       3              history.       And so if an order was held
       4              and reviewed and was -- the red flags
       5              were not cleared, that order wasn't
       6              shipped.
       7                         And then if there were three
       8              orders for that store that were --
       9              that red flags weren't shipped, then
      10              we would put them into a remediation.
      11              Q.         (BY MR. BOWER)         And we'll talk
      12      more about maybe the Buzzeo --
      13              A.         Okay.
      14              Q.         -- period a little bit later.
      15      But thank you for that.
      16                         I want to clear up one other
      17      thing regarding the Reddwerks enhancement.
      18                         So we talked a little bit
      19      before about what happens when yourself and
      20      Miranda, during this time period, were either
      21      deciding to approve or -- well, let me ask it
      22      a different way.
      23                         During the late 2015 time
      24      period, would you and Miranda be able to cut
      25      an order and ship it?

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       1              A.         No.
       2                         MS. FUMERTON:        Objection, form.
       3                         Go ahead.
       4                         THE WITNESS:        No.
       5              Q.         (BY MR. BOWER)         So under the
       6      circumstance where you determined that an
       7      order was appropriate and ready to be
       8      shipped, how would that information be
       9      conveyed to the home office?
      10                         Sorry, strike that.
      11                         During this time period in late
      12      2015, when you and Miranda determined that an
      13      order was appropriate for shipment, how would
      14      that information be conveyed to the folks who
      15      needed to get it out for shipment?
      16              A.         I would go into Archer, update
      17      their resolution to appropriate.                 That would
      18      trigger an email to go out to the logistics
      19      compliance analyst, and they would then clear
      20      the alert in Reddwerks.
      21              Q.         So let me just make sure I have
      22      the process nailed down.
      23                         You would go into Archer and
      24      manually update the order status; correct?
      25              A.         Yes.

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       1              Q.         And once that manual update
       2      occurred, an automatic email would go out to
       3      the logistics compliance analyst; correct?
       4              A.         Yes.
       5              Q.         And that email would inform the
       6      logistics compliance analyst that that order
       7      was ready for shipment; is that correct?
       8              A.         That the order had been
       9      reviewed and cleared, yes.
      10              Q.         And what was the next step in
      11      getting that order shipped to the pharmacy?
      12                         MS. FUMERTON:        Objection, form.
      13                         THE WITNESS:        The logistics
      14              analyst would go into Reddwerks and
      15              clear the alert.           And then from there,
      16              it would follow the Reddwerks process
      17              to go to the DC.
      18              Q.         (BY MR. BOWER)         So the next
      19      step would be the logistics analyst would
      20      have to manually go into Reddwerks to clear
      21      the alert; is that correct?
      22              A.         Yes.
      23              Q.         And then that would alert the
      24      folks at the DC that the order was ready for
      25      shipment?

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       1              A.         I'm not sure how that flows,
       2      but it would -- it would then follow the
       3      typical flow of Reddwerks to get to the DC.
       4              Q.         Okay.     You're not as familiar
       5      with the stuff on the DC end; is that
       6      correct?
       7              A.         Correct.
       8                         (Walmart-Reed Deposition
       9              Exhibit 13, was marked for
      10              identification.)
      11              Q.         (BY MR. BOWER)         Okay.     You've
      12      been handed what's been marked as Exhibit 13
      13      to today's deposition.
      14                         Just take a moment to review
      15      this.
      16                         My first question is going to
      17      be whether this refreshes your recollection
      18      whether a company by the name of Accenture,
      19      A-C-C-E-N-T-U-R-E, was involved in the
      20      Buzzeo.
      21              A.         Yes, it looks like it.
      22                         MS. FUMERTON:        Did you review
      23              the document?
      24                         THE WITNESS:        I'm reading this,
      25              yes.

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       1                         MR. BOWER:       So just take a
       2              moment and tell me when you're done
       3              and then I'll ask the question again.
       4                         MR. MILLER:       Is there a Bates
       5              number for Exhibit 13?
       6                         MR. BOWER:       Yes.     Sorry.     It's
       7              20529 through 31.
       8                         THE WITNESS:        Okay.
       9              Q.         (BY MR. BOWER)         Okay?     Do you
      10      know who Edgar Rivera is?
      11              A.         I do not.
      12              Q.         Does this refresh your
      13      recollection that Walmart used a company by
      14      the name of Accenture in connection with its
      15      search for a SOM cloud proposal?
      16                         MS. FUMERTON:        Objection, form.
      17                         THE WITNESS:        I can tell that
      18              Accenture was on this email with
      19              regards to Buzzeo, but other than
      20              that ...
      21              Q.         (BY MR. BOWER)         Well, you
      22      received this email; right?
      23              A.         Yes.
      24              Q.         Okay.     And if you'd look at the
      25      third page of the email, it states, in the

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       1      email from Edgar Rivera, Accenture, to
       2      Gary Glotz, Edgar writes, "Good afternoon,
       3      Gary.     As you may know, Accenture has been
       4      working with Walmart for a
       5      procurement/sourcing perspective on their
       6      need for the SOM solution."
       7                         Do you see that?
       8              A.         Yes.
       9              Q.         Do you have any reason to doubt
      10      that the information conveyed there by Edgar
      11      is incorrect?
      12              A.         No.
      13              Q.         Do you have any idea what --
      14      why there was a need for a SOM solution?
      15              A.         I do not.
      16                         MS. FUMERTON:        Objection, form.
      17              Q.         (BY MR. BOWER) Do you know what
      18      that refers to, "SOM solution"?
      19                         MS. FUMERTON:        Objection, form.
      20                         THE WITNESS:        Not specifically.
      21              Q.         (BY MR. BOWER)         What about just
      22      generally?
      23              A.         A program to do SOM work would
      24      be the way I would read into that.
      25              Q.         Walmart was looking for a more

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       1      robust SOM program, wasn't it?
       2                         MS. FUMERTON:        Objection, form.
       3                         THE WITNESS:        They were looking
       4              to continuously improve their SOM
       5              program, which is the nature of
       6              Walmart.
       7              Q.         (BY MR. BOWER)         Well, had
       8      Walmart sought to continuously improve its
       9      SOM program up into June 19, 2015?
      10                         MS. FUMERTON:        Objection, form.
      11                         THE WITNESS:        Yes.     Things --
      12              they were talking about Phase 2, a
      13              statistical approach to the SOM
      14              program in 2014 documents that we were
      15              looking at.        So it was something that
      16              they were looking at doing.
      17              Q.         (BY MR. BOWER)         And, in fact,
      18      the Reddwerks enhancement was one of the ways
      19      that Walmart sought to improve its SOM
      20      program; correct?
      21              A.         Yes.
      22              Q.         Are you aware whether Walmart
      23      ever did any analysis as to whether the
      24      Reddwerks enhancement actually was an
      25      improvement to the SOM program?

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       1                         MS. FUMERTON:        Objection, form.
       2                         THE WITNESS:        I'm not aware.
       3              Q.         (BY MR. BOWER)         Would you
       4      expect that Walmart would do such an
       5      analysis?
       6                         MS. FUMERTON:        Objection, form.
       7                         THE WITNESS:        I'm not sure.
       8              Q.         (BY MR. BOWER)         What's your
       9      basis for your statement that Walmart was
      10      always looking to improve?
      11              A.         My personal knowledge of
      12      Walmart and in our culture is one of
      13      continual improvement.
      14                         I mean, I -- I'm encouraged to
      15      do so in my own work, in the things that I
      16      create, continually look for ways to do
      17      better and be better and learn from the ways
      18      we've done things in the past.
      19              Q.         And is it your experience that
      20      someone actually looks at whether that
      21      improvement has taken place?
      22                         MS. FUMERTON:        Objection, form.
      23                         THE WITNESS:        Can you restate
      24              the question?
      25              Q.         (BY MR. BOWER)         Yeah.     You say

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       1      you're "encouraged to do some of my own work,
       2      in the things that I create, continually look
       3      for ways to do better and better."                  And
       4      someone in fact reviews you to determine
       5      whether you're doing better and better;
       6      right?
       7                         MS. FUMERTON:        Objection, form.
       8                         THE WITNESS:        No, that's not
       9              always the case.           Like, we have
      10              performance evaluations, but nobody's
      11              ever said, you know, Here's the way
      12              you -- here's the way this module
      13              worked before, and here's the way this
      14              module works now, and it's better in
      15              X, Y, and Z ways.
      16              Q.         (BY MR. BOWER)         No one's ever
      17      said that to you?
      18                         MS. FUMERTON:        Objection, form.
      19                         THE WITNESS:        Not that I can
      20              recall.
      21              Q.         (BY MR. BOWER)         You were never
      22      nominated for any awards?
      23                         MS. FUMERTON:        Objection, form.
      24                         THE WITNESS:        Not that I know
      25              of.

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       1              Q.         (BY MR. BOWER)         And your
       2      expectation that Walmart always seeks to
       3      improve is based on your experience at
       4      Walmart; is that correct?
       5              A.         Yes.
       6              Q.         And is it your experience that
       7      when Walmart improves something, it then gets
       8      out of the business of doing that same thing?
       9                         MS. FUMERTON:        Objection, form.
      10                         THE WITNESS:        I'm not sure how
      11              to answer that question.              Like, that
      12              that -- yeah, I'm just not sure how.
      13                         Can you restate, maybe?
      14                         MR. BOWER:       Sure.
      15              Q.         (BY MR. BOWER) You are aware,
      16      aren't you, that Walmart no longer
      17      distributes controlled II narcotics?
      18              A.         Yes.
      19              Q.         So you're aware that Walmart
      20      improving that business, why did it get out
      21      of that business?
      22                         MS. FUMERTON:        Objection, form.
      23              Lack of foundation.
      24                         THE WITNESS:        I was not
      25              involved -- we are still very much in

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       1              the pharmacy business.             The
       2              distributing business, I was not
       3              involved in those conversations about
       4              why we were no longer distributing.
       5              Q.         (BY MR. BOWER)         You never
       6      wondered why Walmart was working to
       7      continually improve this business, and then
       8      got out of the business?
       9                         MS. FUMERTON:        Objection, form.
      10                         THE WITNESS:        There's always
      11              decisions being made about the way the
      12              business is headed in whatever Walmart
      13              is doing.       And things change on a
      14              regular basis.          And so it's not
      15              something that surprises me when we
      16              change the direction that we're going.
      17              Q.         (BY MR. BOWER)         Were you
      18      surprised when Walmart decided to no longer
      19      distribute Schedule II narcotics?
      20                         MS. FUMERTON:        Objection, form.
      21                         THE WITNESS:        Walmart decided
      22              not to distribute controlled
      23              substances as a whole, not just
      24              Schedule II narcotics.
      25                         And it wasn't something that I

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       1              expected, no, but it was explained
       2              that that was the way the business was
       3              going, and that's ...
       4              Q.         (BY MR. BOWER)         Did Walmart's
       5      decision to stop distributing controlled
       6      substances affect the jobs of any of the
       7      folks that you work with at Walmart?
       8                         MS. FUMERTON:        Objection, form.
       9                         THE WITNESS:        "Affect the
      10              jobs."      Can you clarify?
      11              Q.         (BY MR. BOWER)         Did anyone lose
      12      their job as a result of Walmart's decision?
      13              A.         So we had temporary associates
      14      that were given notice that those temporary
      15      positions would no longer be necessary.
      16                         We -- some positions, we had a
      17      handful of people that moved on before that
      18      notice, and then from there we ended up
      19      keeping the other people.
      20              Q.         And you never discussed with
      21      any of those, for example, associates that
      22      lost their jobs why Walmart was deciding to
      23      get out of the business?
      24              A.         So --
      25                         MS. FUMERTON:        Objection, form.

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       1                         THE WITNESS:        We told them the
       2              same thing I was told, that Walmart
       3              made the decision that they were
       4              switching gears in their business
       5              practice and would be using McKesson
       6              for all the controlled substances.
       7              Q.         (BY MR. BOWER)         And how were
       8      you told that Walmart was switching gears in
       9      its business practice?
      10                         Was there an email?           A meeting?
      11      Something else?
      12                         MS. FUMERTON:        If it was --
      13              because she's -- if it was --
      14                         MR. BOWER:       You can say it was
      15              an attorney that told you.               Yeah.
      16                         THE WITNESS:        Okay.     Yeah.
      17                         MS. FUMERTON:        If it was an
      18              attorney -- if this is from -- if you
      19              learned this from communications with
      20              counsel, you can say that it was from
      21              communications with counsel.                But do
      22              not go into the details of it, and
      23              we'll see what appropriate or
      24              inappropriate questions he asks after
      25              that.

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       1                         THE WITNESS:        So with
       2              communication from counsel.
       3              Q.         (BY MR. BOWER)         Do you know
       4      whether that counsel was a Walmart counsel or
       5      outside counsel?
       6              A.         Walmart counsel.
       7              Q.         Do you know who communicated
       8      that to you?        The name of the person?
       9              A.         I'm -- Karen Davila.            I'm
      10      almost 100 percent sure.
      11              Q.         And was it an email?            Or was it
      12      something else?
      13              A.         There was a meeting, and then
      14      an email was sent with a nondisclosure
      15      agreement.
      16              Q.         Did you -- were you required to
      17      sign a nondisclosure agreement in connection
      18      with Walmart's decision to stop distributing
      19      controlled substances?
      20              A.         Yes.
      21              Q.         When did you sign that
      22      agreement?
      23              A.         Early 2018.
      24              Q.         Okay.     Did you have any of your
      25      own attorneys review that agreement before

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       1      you signed it?
       2              A.         No.
       3              Q.         Were you required to sign that
       4      agreement to continue your employment at
       5      Walmart?
       6              A.         No.
       7              Q.         Are you aware of other Walmart
       8      employees that did not sign the agreement?
       9              A.         I do not know.
      10              Q.         Did you have any discussions
      11      about the agreement with anyone else besides
      12      counsel for Walmart?
      13              A.         No.
      14              Q.         Did you receive any
      15      compensation in return for signing your
      16      agreement?
      17                         MS. FUMERTON:        I'm going to
      18              object to this.
      19                         MR. BOWER:       That's not a
      20              privileged question.            Whether she had
      21              a conversation in exchange for signing
      22              an agreement?
      23                         MS. FUMERTON:        I don't know
      24              enough --
      25                         It could be part of -- I don't

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       1              know the circumstances of this.
       2                         MR. BOWER:       Well, I'm going to
       3              ask the question.
       4                         MS. FUMERTON:        I'm going to
       5              instruct her not to answer.
       6              Q.         (BY MR. BOWER)         Did you receive
       7      any compensation in connection with signing a
       8      nondisclosure agreement related to Walmart's
       9      decision to stop distributing controlled
      10      substances?
      11                         MS. FUMERTON:        Unless I have an
      12              opportunity to consult with her, I'm
      13              going to instruct her not to answer.
      14              I can consult with her during a break.
      15                         MR. BOWER:       Why don't you do
      16              that.
      17                         MS. FUMERTON:        Consult now?
      18                         MR. BOWER:       Yes.
      19                         MS. FUMERTON:        Okay.
      20                         THE VIDEOGRAPHER:          2:46.     We
      21              are off the video record.
      22                         (Recess taken, 2:46 p.m. to
      23              3:26 p.m.)
      24                         THE VIDEOGRAPHER:          3:26.     We
      25              are on the video record.

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       1                         MS. FUMERTON:        There was a
       2              pending question that the witness had
       3              asked to consult me about with respect
       4              to privilege.         I am going to instruct
       5              her not to answer the pending
       6              question.
       7                         MR. BOWER:       Okay.     And I just
       8              note for the record that we've been
       9              off the record now for about
      10              45 minutes, which I think is a little
      11              bit peculiar to consult on one
      12              question.       And I do have some other
      13              questions which I understand your
      14              counsel may instruct you not to
      15              answer, but I'm going to ask them and
      16              then we'll see how it goes.
      17                         MS. FUMERTON:        And I would just
      18              like to make a statement on the record
      19              that I had asked you during the break
      20              whether or not we could move on from
      21              this question and potentially get back
      22              to it at a later point in time during
      23              today.      And you refused to do that
      24              accomodation.         And so you have an
      25              obligation with respect to your

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       1              clients; I have an obligation with
       2              respect to my clients, and I will
       3              exercise that zealously.
       4                         MR. BOWER:       And I understand
       5              that you will.          I didn't realize we
       6              were making those statements on the
       7              record.      So in fairness to myself,
       8              your question was broader.               You asked
       9              me to move on from this entire topic,
      10              and you asked for a lot of time to get
      11              answers on this.           You stated you were
      12              unaware of this prior to now, which I
      13              think is very unusual and suspect.
      14                         And I said I don't think that's
      15              appropriate.         We're entitled to
      16              truthful testimony from this witness,
      17              and you're entitled to make your
      18              instructions as you see appropriate.
      19                         After you made that request,
      20              you then took the half an hour that
      21              you requested from me, so now you have
      22              had all the time that you need, and I
      23              expect you will be prepared to
      24              instruct your witness as you see fit.
      25                         MS. FUMERTON:        And I disagree

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       1              with your characterization of our
       2              conversation and the extent to which I
       3              asked us to move on.            It was specific
       4              to the nondisclosure agreement.                 I was
       5              not asking for a broader sort of
       6              subject matter change.             It was just
       7              with respect to that one issue.                 And
       8              let's move on.
       9                         MR. BOWER:       I believe your
      10              specific request was, "Can we please
      11              move on from this topic?"
      12                         MS. FUMERTON:        I said specific
      13              to the nondisclosure.
      14                         MR. BOWER:       Right.      Which is, I
      15              think, inappropriate.             She's here for
      16              a deposition.         Unless you're going to
      17              give us more than seven hours, we need
      18              to ask her our questions.               So we're
      19              going to have to do that now.
      20                         MS. FUMERTON:        Well, I was
      21              actually being respectful of the
      22              record and not having this lengthy
      23              discussion on the record and going off
      24              the record and have that conversation
      25              with you so that you would have your

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       1              entire seven hours.            So I think we
       2              should move on, and I will instruct
       3              the witness appropriately.
       4                         MR. BOWER:       So thank you.
       5              Q.         (BY MR. BOWER) And are you
       6      going to follow your counsel's instructions
       7      and not answer the question as to whether you
       8      received compensation in connection with
       9      signing the nondisclosure agreement?
      10              A.         Yes.
      11              Q.         So I'm going to take a step
      12      back, then, and ask some other questions
      13      which I hope that you are willing to answer.
      14      Okay?
      15                         First of those questions is,
      16      you mentioned that there was a meeting
      17      that -- where the decision by Walmart to get
      18      out of the distribution of controlled
      19      substances was first discussed.
      20                         Do you recall that?
      21              A.         There was a meeting where I was
      22      first told of it.
      23              Q.         Okay.     I appreciate the
      24      clarification.
      25                         And who was at that meeting?

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       1              A.         I know for sure myself,
       2      Jamie Newell and Miranda Johnson, and Karen
       3      Davila.
       4              Q.         And Karen Davila is from which
       5      law firm?
       6              A.         She's internal Walmart counsel.
       7              Q.         Were there any counsel there
       8      that were not internal to Walmart?
       9              A.         I don't recall.
      10              Q.         Other than Ms. Davila, were
      11      there any other attorneys there?
      12              A.         Not that I recall.
      13              Q.         Were there other folks that
      14      were at the meeting that you cannot recall as
      15      you sit here today?
      16                         MS. FUMERTON:        Objection to the
      17              form of the question.
      18              Q.         (BY MR. BOWER)         Well, you
      19      said -- your testimony was -- and I'll
      20      clarify -- you said you know for sure myself,
      21      Jamie, and Miranda and Karen Davila; correct?
      22              A.         Yes.
      23              Q.         Do you recall there being more
      24      than five people there?
      25              A.         I do not.

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       1              Q.         Okay.     Do you know whether
       2      Miranda Johnson signed a nondisclosure
       3      agreement?
       4                         MS. FUMERTON:        I am going to
       5              instruct her not to answer that
       6              question if she only knows the answer
       7              because of meetings with counsel.
       8                         MR. BOWER:       So is your
       9              instruction suggesting that the fact
      10              of whether Miranda signed a
      11              nondisclosure agreement is privileged?
      12                         MS. FUMERTON:        My objection is
      13              that if she knows the answer to that
      14              question only because of
      15              communications with counsel, that is
      16              privileged.
      17                         MR. BOWER:       And why would that
      18              be privileged?
      19                         MS. FUMERTON:        Because
      20              communications with counsel are
      21              privileged.
      22                         MR. BOWER:       Well, all
      23              communications with counsel are
      24              privileged?
      25                         MS. FUMERTON:        I mean, I'm not

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       1              going to get into the treatise of what
       2              can be and cannot be privileged, but
       3              most communications with counsel are
       4              privileged.        And in this instance --
       5              if she has knowledge of whether or not
       6              Miranda signed a nondisclosure
       7              agreement outside of communications
       8              with counsel, I'm fine with her
       9              answering that question.              I'm just not
      10              going to allow her to answer that
      11              question if the only reason she knows
      12              whether or not that's true or not is
      13              because of communications with
      14              counsel.
      15                         MR. BOWER:       Okay.     I
      16              understand.
      17              Q.         (BY MR. BOWER)         Do you have
      18      knowledge of whether she signed outside of
      19      communication with counsel?
      20              A.         I do not know.
      21              Q.         And who else did you mention
      22      was a Walmart employee that was present at
      23      that meeting?
      24              A.         Jamie Newell.
      25              Q.         Do you know, outside of

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       1      conversations with counsel, whether Jamie
       2      signed a nondisclosure agreement?
       3              A.         Yes.
       4              Q.         Was that something you spoke
       5      with her about?
       6              A.         Him.
       7              Q.         Sorry, him.
       8              A.         No, we didn't speak about it.
       9      We both signed it at the same time, and the
      10      email was sent back to legal together.
      11              Q.         And how is it that you both
      12      signed at the same time?
      13              A.         Well --
      14              Q.         Can you just explain what
      15      happened?
      16              A.         So we had a meeting, and --
      17                         MS. FUMERTON:        And, look.        I
      18              think portions of that question can be
      19              answered in a way that doesn't reveal
      20              privileged information.              I think some
      21              of it cannot.         So I instruct you to
      22              answer that question only to the
      23              extent that you can do so without
      24              revealing communications with counsel.
      25                         THE WITNESS:        Okay.     We were

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       1              together at the time the meeting was
       2              had, and so instead of both sending a
       3              separate email, we -- the email was
       4              sent.      So we signed; we scanned the
       5              documents; they were sent.
       6              Q.         (BY MR. BOWER)         Okay.     Did you
       7      receive the nondisclosure agreements at the
       8      meeting?
       9                         MS. FUMERTON:        I'm going to
      10              object to that --
      11                         I'm not going to object.
      12                         Go ahead.
      13                         THE WITNESS:        I don't recall.
      14              Q.         (BY MR. BOWER)         How long after
      15      the meeting did you receive the email that
      16      attached the nondisclosure agreement?
      17              A.         I don't recall.
      18              Q.         Did you receive the email while
      19      you were at the meeting?
      20                         MS. FUMERTON:        Objection, asked
      21              and answered.
      22                         THE WITNESS:        I don't recall.
      23              Q.         (BY MR. BOWER)         Did you sign --
      24      strike that.
      25                         Do you recall signing the

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       1      nondisclosure agreement the same day that the
       2      meeting occurred?
       3              A.         I don't recall.
       4              Q.         What do you recall about the
       5      circumstances surrounding the signing of the
       6      nondisclosure agreement?
       7                         MS. FUMERTON:        I'm going to
       8              object to that question because it
       9              calls for attorney-client privilege
      10              and instruct the witness not to
      11              answer.
      12              Q.         (BY MR. BOWER)         Do you have any
      13      recollection as you sit here today
      14      approximately the sequence of events as to
      15      how long after this meeting occurred that you
      16      received the nondisclosure agreement?
      17                         Was it the same day?            Days?
      18      Weeks?     Months?
      19              A.         I don't recall.         It wouldn't
      20      have been months.          It wasn't months until we
      21      weren't --
      22                         MS. FUMERTON:        I would -- just
      23              answer the question, and not go
      24              beyond.
      25                         THE WITNESS:        Yes, it wasn't

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       1              months.      Sorry.
       2                         MS. FUMERTON:        And again, I'm
       3              instructing the witness -- I'm giving
       4              that -- the witness that guidance
       5              only, again, to protect the
       6              attorney-client privilege, not for any
       7              other reason.
       8                         THE WITNESS:        Okay.
       9              Q.         (BY MR. BOWER)         Well, I'm just
      10      trying to figure out how much time occurred
      11      between when this meeting occurred; right?
      12      And when the agreement was provided to you.
      13      That's all I'm trying to get at.
      14                         MS. FUMERTON:        And object to
      15              form, asked and answered.
      16                         MR. BOWER:       Okay.
      17                         MS. FUMERTON:        Go ahead.
      18                         THE WITNESS:        I don't recall
      19              the timing of the meeting, and then
      20              the receiving of the document.                 I
      21              just -- I don't recall that timing.
      22              Q.         (BY MR. BOWER)         And why is it
      23      that you recall signing the document at the
      24      same time as Jamie?
      25                         MS. FUMERTON:        Objection, form.

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       1              Asked and answered.
       2                         THE WITNESS:        I can't explain
       3              why I recall some things and not other
       4              things.
       5              Q.         (BY MR. BOWER)         Well, did you
       6      get -- when you got the email with the
       7      nondisclosure agreement, did you print it
       8      out?
       9              A.         I would have had to print it
      10      out to sign it.
      11              Q.         Did you print a copy out for
      12      Jamie?
      13              A.         Not that I recall.
      14              Q.         And what's Jamie's full name
      15      again?
      16              A.         Jamie Newell.
      17              Q.         Who sent the email with the
      18      signed agreements for both you and
      19      Mr. Newell -- or Ms. Newell.               Is it Jamie --
      20              A.         He's a male.
      21              Q.         Okay.     Sorry.
      22                         MS. FUMERTON:        Objection, form.
      23                         THE WITNESS:        If I recall
      24              correctly, Jamie sent the email.
      25              Q.         (BY MR. BOWER)         Okay.     So you

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       1      printed out the nondisclosure agreement;
       2      right?
       3              A.         Yes.
       4              Q.         Did you sign it the same day
       5      you printed it out?
       6              A.         I don't recall.         I would assume
       7      that I did.
       8              Q.         Okay.
       9              A.         But I -- I don't recall exact
      10      timing.
      11              Q.         Okay.     And then once you print
      12      it out, you sign a hard copy, correct?
      13              A.         Yes.
      14              Q.         And then you scanned it in at
      15      Walmart in some fashion?
      16              A.         Yes.
      17              Q.         You made an electronic version
      18      of it; correct?
      19              A.         Yes.
      20              Q.         Okay.     You sent that electronic
      21      version to Jamie?
      22              A.         I don't recall.         I don't know
      23      if I scanned it back in or if he scanned both
      24      of them together.          Like, I don't recall.
      25              Q.         Do you recall seeing the

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       1      agreement that Jamie signed?
       2              A.         I don't know that I looked.               I
       3      was cc'd on the email when it was sent back
       4      to the attorneys, and it would have included
       5      mine and his.        But I did not -- I don't
       6      recall looking at his compared to mine.
       7              Q.         Do you know whether his
       8      agreement is identical to yours?
       9              A.         I would not know.
      10              Q.         Did you speak with anyone about
      11      the agreement prior to signing it other than
      12      Walmart counsel?
      13              A.         No.
      14              Q.         And why not?
      15              A.         Because I --
      16                         MS. FUMERTON:        Objection, form.
      17                         THE WITNESS:        I didn't have any
      18              reason to speak to anybody.
      19              Q.         (BY MR. BOWER)         How long was
      20      the agreement?
      21              A.         I don't recall.
      22              Q.         Approximately how many pages
      23      was the agreement?
      24              A.         I don't recall.         It was a short
      25      document.       It wasn't -- it wasn't a novel.

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       1              Q.         Okay.
       2              A.         And I don't think it was ten
       3      pages.     I would -- if I recall correctly, it
       4      was two.
       5              Q.         Thank you.       I'm just trying to
       6      get a sense.        And I understand it's difficult
       7      to recall certain details.
       8                         The email that provided the
       9      agreement to you, who sent that email?
      10              A.         Deanna McNeill.
      11              Q.         Is it Dana?       Is that the first
      12      name?
      13                         Is it based on your
      14      recollection?
      15              A.         I thought it was Deanna.
      16              Q.         Deanna?
      17              A.         Deanna.      Yeah.
      18              Q.         Is she also an attorney at a
      19      law firm?       Or is she at Walmart?
      20              A.         I think she's --
      21                         MS. FUMERTON:        Objection, form.
      22                         Go ahead.
      23                         THE WITNESS:        I think she's
      24              internal Walmart, but I don't know for
      25              sure.

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       1              Q.         (BY MR. BOWER)         Had you ever
       2      met her before?
       3              A.         Not that I know of.
       4                         MS. FUMERTON:        I am going to
       5              amend my prior objection.
       6                         MR. BOWER:       Okay.
       7                         MS. FUMERTON:        I will still
       8              object to any questions about
       9              communications with legal, about the
      10              circumstances or the meeting in which
      11              you were in discussing that you
      12              testified about before, but to the
      13              extent that the witness has
      14              recollection about a nondisclosure
      15              agreement, I will allow her to testify
      16              about that.
      17                         Other than what she's already
      18              testified.        So I can't parse through
      19              your questions as to which this
      20              affects or doesn't.            But go ahead.
      21              Q.         (BY MR. BOWER)         So are you
      22      going to allow her to answer the compensation
      23      question?
      24                         MS. FUMERTON:        Yes.
      25              Q.         (BY MR. BOWER)         Did you receive

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       1      compensation in connection with signing the
       2      nondisclosure agreement that related to
       3      Walmart's decision to stop distributing
       4      controlled substances?
       5              A.         I did not receive any
       6      compensation for signing that document.                    I
       7      received my normal paycheck like I always do,
       8      but not for signing that document.
       9              Q.         And were you ever informed as
      10      to what would happen if you refused to sign
      11      the document?
      12                         MS. FUMERTON:        Again, to the
      13              extent that that reveals
      14              communications with counsel, I'm going
      15              to object to her answering that
      16              question.
      17                         But to the extent that there
      18              was discussions outside of
      19              communications with counsel, you can
      20              answer.
      21                         THE WITNESS:        That
      22              communication would have been with
      23              counsel.
      24              Q.         (BY MR. BOWER)         Did
      25      Miranda Johnson sign the agreement?

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       1              A.         I don't know.
       2                         MS. FUMERTON:        Again -- well --
       3              Q.         (BY MR. BOWER)         That's why I
       4      have to ask them again?             Are you --
       5                         MS. FUMERTON:        No, no, I
       6              appreciate it.          That's what I was just
       7              trying to avoid.           But that's why I
       8              have to give the same set of
       9              instructions.
      10                         To the extent that you can
      11              answer his questions.
      12                         MR. BOWER:       So that hasn't
      13              changed?
      14                         MS. FUMERTON:        Correct, that
      15              instruction does not change --
      16                         MR. BOWER:       Okay.     So your
      17              answer won't change?
      18                         MS. FUMERTON:        Yes.
      19              Q.         (BY MR. BOWER)         Who were the
      20      parties to the agreement?
      21              A.         I don't know.
      22              Q.         Do you know whether Walmart is
      23      a party to the agreement?
      24              A.         I don't know.        I'm not a
      25      lawyer.      I don't know what all the different

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       1      terms were.
       2              Q.         Okay.     Did anyone at Walmart
       3      suggest that you should have your own
       4      attorney review the agreement before signing
       5      it?
       6                         MS. FUMERTON:        Again, to the
       7              extent that you can answer that
       8              question outside of communications
       9              with counsel, you can answer the
      10              question.
      11                         If you can only answer that
      12              question in consultation with
      13              communications with counsel, you
      14              cannot.
      15                         THE WITNESS:        That would be a
      16              counsel conversation.
      17              Q.         (BY MR. BOWER)         Do you recall
      18      whether you had a deadline with which you had
      19      to decide whether to sign the agreement or
      20      not?
      21                         MS. FUMERTON:        Same question --
      22              or same instruction.
      23                         THE WITNESS:        That would be
      24              counsel.
      25              Q.         (BY MR. BOWER)         Were you ever

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       1      instructed not to discuss the agreement with
       2      anybody?
       3                         MS. FUMERTON:        Same
       4              instruction.
       5                         THE WITNESS:        Yes, that would
       6              be counsel.
       7              Q.         (BY MR. BOWER)         Did you ever
       8      discuss the agreement with anybody, other
       9      than counsel?
      10              A.         No.
      11              Q.         Discuss the agreement with any
      12      family members or friends?
      13              A.         No.
      14              Q.         What are the terms of the
      15      agreement?       How long does it last?
      16              A.         I don't know.
      17              Q.         What is your understanding as
      18      to how long the agreement lasts?
      19                         MS. FUMERTON:        And again, if
      20              you have an understanding independent
      21              of your communications with counsel,
      22              you can answer the question.                But if
      23              your understanding is only based on
      24              your communication with counsel, you
      25              cannot.

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       1                         MR. BOWER:       Well, wouldn't your
       2              understanding come from the agreement
       3              itself?
       4                         MS. FUMERTON:        It could.
       5              That's why I'm giving the instruction
       6              that I'm giving.           So there is a
       7              potential way ...
       8              Q.         (BY MR. BOWER)         Let me ask it a
       9      different way.
      10                         Does the agreement have a
      11      defined term?        In other words, does the
      12      agreement define how long it will last?
      13              A.         I'm not sure.
      14              Q.         Is that something you
      15      considered before signing the agreement?
      16              A.         I'm not sure.
      17              Q.         Okay.
      18              A.         I understood the reason they
      19      asked me to sign the document, and so I
      20      trusted counsel and signed the document.
      21              Q.         And what was that reason?
      22                         MS. FUMERTON:        Objection.        I
      23              instruct you not to answer that
      24              question.
      25                         THE WITNESS:        Okay.

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       1                         MS. FUMERTON:        That was
       2              specifically a question, Counsel.
       3                         MR. BOWER:       I understand your
       4              objection.
       5                         MS. FUMERTON:        That's fine.
       6              But sometimes I'm saying like
       7              partial -- like if you have separate.
       8              That one fully -- I'm instructing you
       9              not to answer.
      10              Q.         (BY MR. BOWER)         So you signed
      11      the agreement based on the statements made by
      12      Walmart counsel; is that correct?
      13                         MS. FUMERTON:        Objection, form.
      14                         THE WITNESS:        I signed the
      15              document based on my understanding,
      16              and part of that was counsel and -- I
      17              don't remember reading it, but I'm
      18              sure I read it.          I don't tend to sign
      19              things without reading them, but I
      20              don't remember exact wording.
      21              Q.         (BY MR. BOWER)         Was this the
      22      first nondisclosure agreement you've signed
      23      while being employed at Walmart?
      24                         MS. FUMERTON:        Okay.      Now, I'm
      25              instructing you not to answer that

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       1              question unless you are certain
       2              that -- and I don't know whether any
       3              such exist -- that there isn't some
       4              other provision that would prohibit
       5              you from disclosing that information.
       6                         MR. BOWER:       I'm not sure I
       7              understand that instruction, but
       8              the --
       9                         MS. FUMERTON:        Here's my
      10              instruction.
      11                         MR. BOWER:       The question
      12              doesn't call for privileged
      13              information, so you can't instruct her
      14              not to answer.          I mean, it's --
      15                         MS. FUMERTON:        Well, no, the --
      16                         MR. BOWER:       The fact of another
      17              agreement isn't privileged.                I don't
      18              even think the agreement itself is
      19              privileged, but ...
      20                         MS. FUMERTON:        Sometimes
      21              agreements can -- it might not be
      22              privileged, but some agreements can be
      23              confidential.         And I don't know --
      24              sometimes they have notice provisions
      25              and other things that are involved

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       1              before they can reveal the existence.
       2              And those things, I'm not going to
       3              allow her to answer.
       4              Q.         (BY MR. BOWER)         Okay.     So are
       5      you going to follow your counsel's
       6      instruction and not answer that question of
       7      whether you've ever signed another
       8      nondisclosure agreement with Walmart?
       9              A.         Yes.    I'm going to follow my
      10      attorney's guidance.
      11              Q.         Okay.
      12                         MR. BOWER:       And I do have more
      13              questions, but I don't want to forget
      14              to put this on the record.               It would
      15              be our position that these documents
      16              should be produced, should have been
      17              produced, at the very minimum should
      18              have been included on a privilege log
      19              including the occurrence of the
      20              meeting, any communications regarding
      21              a meeting, any communications to any
      22              of the Walmart witnesses regarding the
      23              meeting, and anything related to this
      24              issue should have certainly been
      25              included in our privilege log at a

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       1              minimum.
       2                         And so we will keep this
       3              deposition open, and we will seek to
       4              reopen all the other depositions of
       5              the folks who signed this agreement
       6              but we were not aware of the agreement
       7              prior to today.
       8                         MS. FUMERTON:        Okay.      Well,
       9              first of all, your statement was a
      10              little bit meandering.
      11                         So with respect to the specific
      12              nondisclosure agreement that I have
      13              permitted her to testify about, I do
      14              not think that you have any right to
      15              keep that deposition open.
      16                         MR. BOWER:       She said she
      17              doesn't recall the terms of the
      18              agreement.        How do we ask her about
      19              the terms if we don't have the
      20              agreement?        You should have it here
      21              today.
      22                         MS. FUMERTON:        Well, here is
      23              the other issue.           I said -- I do not
      24              recall whether or not you said all
      25              these other things should have been on

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       1              the privilege log.           I don't know that
       2              they aren't.         So I'm not -- for all I
       3              know that they are actually on a
       4              privilege log.          I'm not saying they
       5              are.     I'm just saying I don't know one
       6              way or another.
       7                         MR. BOWER:       Well, I would be
       8              surprised.        They were given -- your
       9              representation is that this was the
      10              first you've heard about it.                So I
      11              would be surprised if it was on there
      12              if counsel for Walmart in this case
      13              doesn't know about it.
      14                         MS. FUMERTON:        That's -- no,
      15              no, no, no.        Listen, I'm not the only
      16              counsel for Walmart, but that's a
      17              different issue altogether, and
      18              whether you find shocking or not I
      19              cannot comment on -- please let me
      20              finish.
      21                         But all I'm saying is I think
      22              it's inappropriate.            I think you
      23              should -- need to exhaust your
      24              questions to what she recalls about
      25              the nondisclosure agreement, and I

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       1              will not agree that the deposition can
       2              be kept open.         You can make whatever
       3              statements you want, but to be clear,
       4              I'm permitting her to testify about
       5              what she recalls about the
       6              nondisclosure agreement other than
       7              communications with counsel, and so
       8              those questions should be exhausted
       9              today.
      10                         MR. BOWER:       Okay.     Appreciate
      11              that.
      12              Q.         (BY MR. BOWER)         You've
      13      testified already that you don't recall the
      14      term of the agreement; is that correct?
      15                         MS. FUMERTON:        Objection, form.
      16              Q.         (BY MR. BOWER)         Well, I'll just
      17      ask you again.
      18                         Do you recall how long the
      19      agreement lasts?
      20              A.         No.
      21              Q.         Do you believe if you had the
      22      agreement here today, you could answer that
      23      question?
      24              A.         I would assume there would be a
      25      term listed in the agreement.

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       1              Q.         Do you recall my questions
       2      regarding who the parties are to the
       3      agreement?
       4              A.         Yes.
       5              Q.         And do you know who the parties
       6      are to the agreement?
       7              A.         I do not.
       8              Q.         Do you believe you could answer
       9      that question if we had the agreement here
      10      today?
      11              A.         Possibly.
      12                         MS. FUMERTON:        I'll also just
      13              say that the terms of the agreement
      14              will speak for themselves.               So I don't
      15              know, you know, what additional
      16              insights she could possibly offer to
      17              that, since, as I said before, you
      18              could ask other things about the
      19              agreements.        Communications with
      20              counsel, whether or not you choose to
      21              reopen it or not, are still not going
      22              to be answered because they're
      23              communications with counsel and are
      24              privileged.
      25                         MR. BOWER:       So let me just

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       1              keep -- despite those statements, let
       2              me just keep going, okay?
       3              Q.         (BY MR. BOWER)          What is the
       4      scope of the agreement?             What does it cover?
       5                         MS. FUMERTON:        You can answer
       6              to the best of your recollection.
       7                         THE WITNESS:        Okay.
       8                         MS. FUMERTON:        And other than
       9              communications with counsel.                But
      10              based on your recollection of the
      11              agreement.
      12                         THE WITNESS:        My understanding
      13              was to not disclose the fact that we
      14              were stopping distribution of our
      15              controlled substances because the
      16              project was still underway.
      17              Q.         (BY MR. BOWER)         Did the
      18      agreement cover anything else?
      19              A.         I don't recall.
      20              Q.         Would you be able to answer
      21      that question if you had the agreement in
      22      front of you?
      23              A.         I'm assuming that the rest of
      24      the terms would be in the agreement.
      25                         MR. BOWER:       And I'm just a

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       1              little bit curious that if that's the
       2              scope of the agreement, I'm not sure
       3              why there's any -- the facts have
       4              already been revealed, so I don't know
       5              the basis for any of these objections.
       6                         MS. FUMERTON:        Well, I
       7              disagree, because your question has
       8              been broader.         I've not been objecting
       9              or instructing her not to answer about
      10              the facts of the agreement.                I've been
      11              objecting to any questions you ask
      12              that go beyond that with
      13              communications with counsel about the
      14              agreement.
      15              Q.         (BY MR. BOWER)         Who are the
      16      names of the temporary associates that lost
      17      their jobs when Walmart decided to stop
      18      distributing controlled substances?
      19                         MS. FUMERTON:        Objection, form
      20              and lack of foundation.
      21                         THE WITNESS:        So our temporary
      22              associates, none of them lost their
      23              jobs.      They moved on to other
      24              positions and/or went back to their
      25              original position.           It was a temporary

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       1              position from the get-go.
       2              Q.         (BY MR. BOWER)         Well, earlier,
       3      I believe you testified that there were some
       4      folks who lost their jobs in connection with
       5      Walmart's decision to stop distributing
       6      controlled substances.
       7              A.         Well, there were some.
       8                         MS. FUMERTON:        Objection, form,
       9              form.      And that was actually just a
      10              statement about what he believed, so
      11              wait for a question.            And I don't know
      12              if you were finished.             You jumped in.
      13              Q.         (BY MR. BOWER)         Is that true?
      14                         MS. FUMERTON:        Well, objection,
      15              form.
      16                         THE WITNESS:        So there are --
      17              there were people -- that position was
      18              no longer needed.           So there were
      19              people that were no longer in that
      20              position.
      21                         There was nobody that I'm aware
      22              of that was left without a job.
      23              People transferred to other positions.
      24              We had people to go back to the
      25              stores.      So nobody was let go from

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       1              Walmart as -- on our team as part of
       2              this.
       3              Q.         (BY MR. BOWER)         Okay.     What are
       4      some -- who are some of the people that were
       5      repositioned back to the stores?
       6              A.         So Carrie Bohl, B-O-H-L, made
       7      the decision to go back to the store.
       8              Q.         Anyone else?
       9              A.         She, I think, is the only one
      10      that went back to the store, from what I
      11      recollect.
      12              Q.         Let's go back to the
      13      nondisclosure agreement, then, for a minute.
      14                         Do you have any understanding
      15      as to why Walmart wanted you to sign the
      16      agreement?
      17                         MS. FUMERTON:        I object to the
      18              question and instruct you not to
      19              answer to the extent that it would --
      20              your answer would reveal
      21              communications with counsel.
      22                         If you have an independent
      23              understanding, you can answer the
      24              question.
      25                         THE WITNESS:        That would have

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       1              been a counsel conversation.
       2              Q.         (BY MR. BOWER)         Well, did the
       3      agreement itself provide you any explanation
       4      as to why it was necessary?
       5              A.         I don't recall what was
       6      actually in the document.
       7              Q.         So if we had the document, we
       8      might be able to get an answer to that
       9      question; right?
      10                         MS. FUMERTON:        Objection, form.
      11                         THE WITNESS:        It's possible.
      12              Q.         (BY MR. BOWER)         Did you keep --
      13      strike that.
      14                         Do you know whether Walmart
      15      ever signed the agreement?
      16              A.         I don't know.
      17              Q.         Did you ever receive a signed
      18      copy back?
      19              A.         Not that I recall.
      20              Q.         Did you keep the original
      21      signed copy that you signed?
      22              A.         I'm not sure.
      23              Q.         You don't know where that
      24      resides today, do you?
      25              A.         No.

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       1              Q.         And I think I asked this, but I
       2      just want to be sure.
       3                         Did you receive instructions at
       4      the time not to discuss the fact of the
       5      agreement with anyone?
       6                         MS. FUMERTON:        Again, to the
       7              extent that that was -- those
       8              instructions were given by counsel, I
       9              instruct you -- well, I should say
      10              that they were, assumes they were.                   To
      11              the extent the answer to that question
      12              would reveal communications with
      13              counsel, I instruct you not to answer.
      14                         THE WITNESS:        That would have
      15              been a counsel conversation.
      16              Q.         (BY MR. BOWER)         Well, does the
      17      agreement itself provide a provision that you
      18      were not allowed to discuss the fact of its
      19      existence?
      20              A.         I don't know.
      21              Q.         Would you know the answer to
      22      that question if you had the agreement in
      23      front of us today?
      24              A.         I'm assuming that that's in the
      25      document.       I don't recall.

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       1              Q.         Other than the folks we've
       2      discussed already, are you aware of anyone
       3      else that signed the agreement other than
       4      what you may have learned in communications
       5      with counsel?
       6              A.         I wouldn't know.
       7              Q.         I'm going to ask just a few
       8      more questions on this agreement and then I
       9      can move on.        I'm just trying to get a sense
      10      of a timing here.
      11                         Approximately how long before
      12      Walmart actually exited its distribution
      13      operations for controlled substances did you
      14      sign the agreement?
      15              A.         I don't know exact timing.              It
      16      was a couple months before the process
      17      started of moving the controlled substances
      18      to McKesson.
      19              Q.         And does the agreement then
      20      expire once Walmart has completed the
      21      movement of controlled substances to
      22      McKesson?
      23              A.         I'm not sure.
      24              Q.         All right.       Let's kind of take
      25      a step back and go back to where we were

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       1      before we got here.           I may have some -- a few
       2      more questions at the end, but hopefully
       3      not -- okay? -- on the agreement.                  But let's
       4      move on for now.
       5              A.         Okay.
       6              Q.         At some point, did you become
       7      involved in working on "know your customer"
       8      data?
       9              A.         Yes.
      10                         MS. FUMERTON:        Objection, form.
      11                         THE WITNESS:        Yes.
      12              Q.         (BY MR. BOWER)         And what was
      13      your involvement with that?
      14              A.         I built the queries in the
      15      Alteryx module that was used to pull the data
      16      that we thought was relevant with the "know
      17      your customer" information, and then built
      18      the application in Archer to house that
      19      information.
      20              Q.         Let's try to break that down a
      21      little bit more, if we can.
      22                         What did you do to build the
      23      queries in the Alteryx module to pull data --
      24      to pull the data?
      25              A.         So I built queries.           So Miranda

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       1      and I worked together to come up with metrics
       2      that were needed.          And then I built queries
       3      to gather that information.               And then Alteryx
       4      was used to get it in the format that would
       5      be needed to import into Archer.
       6              Q.         And what data source did you
       7      use to run those queries?
       8                         MS. FUMERTON:        Objection, form.
       9                         THE WITNESS:        So Alteryx is the
      10              system that I used to run the queries.
      11              Teradata is the source of the query.
      12              Q.         (BY MR. BOWER)         And why did you
      13      use Alteryx to run the queries on the
      14      Teradata?
      15              A.         Why did I use Alteryx instead
      16      of Teradata?
      17              Q.         No, why did you use Alteryx to
      18      run the queries in the Teradata database?
      19                         MS. FUMERTON:        Object to form.
      20                         THE WITNESS:        So I used Alteryx
      21              because it's an easy-to-use, for me,
      22              analytic tool that allows us to build
      23              modules that allow you to do the same
      24              thing, to replicate the information so
      25              it can be pulled on a routine basis

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       1              and get the same results.
       2              Q.         (BY MR. BOWER)         So can you just
       3      explain a little bit more precisely how that
       4      works?     How does Alteryx pull information
       5      from Teradata?
       6              A.         So Alteryx has a connection
       7      that allows it to essentially talk to
       8      Teradata.       A query is pulled -- is put into
       9      an Alteryx tool, and that, then, connects to
      10      Teradata and pulls back the information.
      11              Q.         And does that query tell
      12      Alteryx what information to pull from
      13      Teradata?
      14              A.         Yes.
      15              Q.         And then how does that
      16      information get populated in Archer?
      17                         MS. FUMERTON:        Objection, form.
      18                         MR. BOWER:       Strike that.
      19              Q.         (BY MR. BOWER)         What happens
      20      after Alteryx pulls the data from Teradata?
      21              A.         So Alteryx pulls the data.
      22      Runs it through the module that I build.
      23      There's a couple of different calculations
      24      and grouping of data and things like that in
      25      the Alteryx module.           It spits out an Excel

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       1      spreadsheet.        That Excel spreadsheet is then
       2      imported into Archer.
       3              Q.         Is that an automated process?
       4                         MS. FUMERTON:        Objection, form.
       5                         THE WITNESS:        No.
       6              Q.         (BY MR. BOWER)         Okay.     And is
       7      that process set up to run so that the
       8      information is continuously updated in
       9      Archer?
      10              A.         My team pulls the data every
      11      quarter, and it's updated in Archer on a
      12      quarterly basis.
      13              Q.         And does your team -- strike
      14      that.
      15                         When did this work start?
      16              A.         In mid-to-late 2015.
      17              Q.         Okay.     And has the data you're
      18      pulling from Teradata changed since
      19      mid-to-late 2015?
      20              A.         Not significantly.           We use a
      21      different query now than we did in 2015.
      22              Q.         Okay.     Is this work, this "know
      23      your customer" work still ongoing today?
      24                         MS. FUMERTON:        Objection, form.
      25                         THE WITNESS:        Yes.

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       1              Q.         (BY MR. BOWER)         And why is
       2      that?
       3                         MS. FUMERTON:        Objection, form.
       4                         THE WITNESS:        The data has
       5              proved useful in other investigations
       6              that don't involve SOM.
       7              Q.         (BY MR. BOWER)         And how else
       8      has the data proven useful?
       9                         MS. FUMERTON:        If these -- if
      10              you're discussing -- are you talking
      11              about investigations with counsel, or
      12              are you talking about something
      13              outside of work with counsel?                With
      14              the legal -- with legal?
      15                         Well, I'm now asking questions.
      16                         I'm going to instruct you not
      17              to -- I apologize.
      18                         I'm going to instruct you not
      19              to answer the question to the extent
      20              that you could only answer that
      21              question based on communication with
      22              counsel.
      23                         If you have an -- if there is
      24              another use outside of communications
      25              with counsel or legal, you can

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       1              testify.
       2                         THE WITNESS:        Sorry, I'm trying
       3              to --
       4                         MR. BOWER:       No problem.
       5                         THE WITNESS:        I do lots of work
       6              with legal, and so I'm trying to make
       7              sure that I'm using an example
       8              that ...
       9                         MR. BOWER:       I will just say I
      10              don't think the fact that you're doing
      11              something necessarily reveals legal
      12              advice and I don't think it's
      13              privileged.
      14                         MS. FUMERTON:        That's not what
      15              you asked.        You asked why would it be
      16              useful.
      17              Q.         (BY MR. BOWER)         Okay.     So let
      18      me ask it a different way.
      19                         What are you doing with the
      20      data today?
      21              A.         So currently, I can't think of
      22      anything that we're using the data for.                    We
      23      continue to pull it because there have been
      24      circumstances where we -- where it's come in
      25      handy.

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       1              Q.         And what are those
       2      circumstances?
       3                         MS. FUMERTON:        I'm going to
       4              instruct her not to answer that
       5              question on the basis that it's
       6              privileged.        She made it clear earlier
       7              that she cannot think of any examples
       8              that would not involve legal.
       9                         MR. BOWER:       She didn't make it
      10              clear, and I don't think that the
      11              fact -- the circumstance is a legal
      12              advice.      I'm just asking what the
      13              circumstances are.
      14                         MS. FUMERTON:        No, you're
      15              asking the circumstances that made it
      16              useful.      And I think that that
      17              would --
      18                         Again, if she can give an
      19              example that would not have been in
      20              connection with a request from legal,
      21              she can answer the question.                If she
      22              can only answer the question in
      23              connection with a request from legal,
      24              I'm going to instruct her not to
      25              answer the question.

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       1                         THE WITNESS:        Can I answer it
       2              in a very generic term?
       3                         MS. FUMERTON:        If it will not
       4              reveal communications with counsel.
       5                         THE WITNESS:        Okay.     Then I can
       6              answer generically.
       7                         MR. BOWER:       Okay.
       8                         THE WITNESS:        So part of the
       9              information that we gather in "know
      10              your customer" is patient distance.
      11              So the patient -- the distance that a
      12              patient is traveling from their home
      13              location that we have on file, to the
      14              store.      And we have that for all
      15              prescriptions and then for controlled
      16              substances.        So having that base
      17              number comparison to compare to a drug
      18              in question data could be useful as an
      19              example.
      20              Q.         (BY MR. BOWER)         Okay.     And
      21      that's helpful, thank you.
      22                         Has Walmart -- strike that.
      23                         Since Walmart has stopped
      24      distributing controlled substances, has
      25      Walmart ever done an analysis as to how the

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       1      shifting in that business for McKesson has
       2      impacted Walmart pharmacies?
       3                         MS. FUMERTON:        Objection, form.
       4                         THE WITNESS:        Can you restate?
       5                         MR. BOWER:       Sure.     Has anyone
       6              at Walmart gone back and looked at the
       7              impact of the pharmacies ordering,
       8              that the shift to McKesson has caused?
       9                         THE WITNESS:        So I can't answer
      10              if anybody has.          I have not.
      11              Q.         (BY MR. BOWER)         Do you know
      12      whether Walmart has done that analysis?
      13              A.         I can't answer that.
      14              Q.         Do you know whether the
      15      decision to move controlled substances to
      16      McKesson was another example of Walmart
      17      seeking to improve the way it does its
      18      business?
      19                         MS. FUMERTON:        Objecting to the
      20              form of the question.             I'm just
      21              asking -- you're interrupting the
      22              witness.       Let her finish.          So she was
      23              continuing with her answer.                I think
      24              we're fine.        Let's move on.          That was
      25              all I was going to say.

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       1                         MR. BOWER:       Okay.     Sorry about
       2              that.
       3                         THE WITNESS:        I don't know.
       4              Q.         (BY MR. BOWER)         Do you know
       5      whether Walmart today monitors orders placed
       6      by its pharmacies to McKesson?
       7                         MS. FUMERTON:        Objection, form.
       8                         THE WITNESS:        We have looked at
       9              our orders, of course, that we placed
      10              to McKesson.         And there have been
      11              times that we -- that we review that,
      12              yes.
      13              Q.         (BY MR. BOWER)         And for what
      14      purpose does Walmart review orders that it
      15      places with McKesson?
      16              A.         If there is a store that meets
      17      McKesson's threshold, then that store reaches
      18      out to us for help as to why they met their
      19      threshold.       And so then we review those
      20      orders to find out what the problem is.
      21              Q.         And what happens after you
      22      review the orders?
      23                         MS. FUMERTON:        Objection, form.
      24              Q.         (BY MR. BOWER)         Well, strike
      25      that.

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       1                         What's the purpose of reviewing
       2      the orders?
       3                         MS. FUMERTON:        Objection, form,
       4              and asked and answered.
       5                         THE WITNESS:        So we review the
       6              order to see if there was a mistake in
       7              the order and then potentially request
       8              a threshold increase from McKesson.
       9              Q.         (BY MR. BOWER)         Well, let me
      10      ask the question, then, because that's a
      11      little bit confusing to me.
      12                         Why would a store reach out to
      13      you if they had a mistake in the order?
      14                         MS. FUMERTON:        Objection, form.
      15                         THE WITNESS:        Because they
      16              don't realize there was a mistake.
      17              Q.         (BY MR. BOWER)         So they reach
      18      out to you, and then who realizes it's a
      19      mistake?
      20                         MS. FUMERTON:        Objection, form.
      21                         THE WITNESS:        It depends on who
      22              is reviewing the order.
      23              Q.         (BY MR. BOWER)         And then what
      24      happens if it was a mistake?
      25                         MS. FUMERTON:        Objection, form.

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       1                         MR. BOWER:       Let's take a step
       2              back, then.
       3              Q.         (BY MR. BOWER) The store
       4      reaches out to you because McKesson has --
       5      they trigger a McKesson threshold; right?
       6      How does the store realize they've triggered
       7      McKesson's threshold?
       8                         MS. FUMERTON:        Objection, form.
       9                         THE WITNESS:        They receive an
      10              email.
      11              Q.         (BY MR. BOWER)         At that point
      12      they reach out to you?
      13                         MS. FUMERTON:        Objection, form.
      14              Q.         (BY MR. BOWER)         Is that
      15      correct?
      16              A.         It can come from multiple
      17      different ways.         They might reach out to
      18      their market director.             But it filters up
      19      through to my team.
      20              Q.         Okay.
      21                         And then what do you do with
      22      that information?
      23              A.         So the first thing I do is look
      24      at the reports that McKesson sends to us, to
      25      see what it was that made them go over their

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       1      threshold.
       2              Q.         And then what do you do next?
       3              A.         So it depends.         If it's that
       4      the store entered 300 bottles, when they
       5      meant to order three bottles, then I call the
       6      store and I'm like, "Did you intend to order
       7      300 bottles?"        And they're like, "Well, no."
       8      And my response is, "Well that's why you hit
       9      your threshold."
      10                         And Walmart pharmacists are
      11      used to thinking in dosage units, so when
      12      they order it, they often think, you know, I
      13      need 300 tablets, and so they enter in 300
      14      and they mean three bottles.
      15                         And so most often that's the
      16      case that happened, is it -- they ordered in
      17      dosage units instead of bottles.
      18              Q.         And in those circumstances, do
      19      you rely on the statements by Walmart
      20      pharmacists in reaching the conclusion that
      21      the order was entered in error?
      22                         MS. FUMERTON:        Objection, form.
      23              Q.         (BY MR. BOWER)         In other words,
      24      how do you know that the store didn't intend
      25      to order 300 bottles?

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       1              A.         Because there's nowhere to put
       2      300 bottles in a pharmacy.
       3              Q.         How do you know that's not a
       4      suspicious order?
       5                         MS. FUMERTON:        Objection, form.
       6                         THE WITNESS:        That's why
       7              McKesson has a program in place.                  I
       8              mean, they're also -- they have a
       9              suspicious order program and so, yes,
      10              we trust our pharmacists.               Because
      11              it's also, you know, logical.                But
      12              especially when they're calling to
      13              complain about it.           People that are
      14              doing nefarious things don't tend to,
      15              like, bring it up.
      16              Q.         (BY MR. BOWER)         So what happens
      17      if an order like that is placed and no one
      18      calls to complain?           What happens to the
      19      order?
      20                         MS. FUMERTON:        Objection, form.
      21                         THE WITNESS:        It would be
      22              omitted by McKesson and then handled
      23              on the McKesson side.
      24              Q.         (BY MR. BOWER)         Would any
      25      product be shipped to the pharmacy?

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       1                         MS. FUMERTON:        Objection, form.
       2                         THE WITNESS:        Omitted means not
       3              shipped.
       4              Q.         (BY MR. BOWER)         So no -- in
       5      that case, there would be -- the order would
       6      be cut to 0 and not shipped; is that correct?
       7                         MS. FUMERTON:        Objection, form.
       8                         THE WITNESS:        I don't know the
       9              term "cut."        I know the order is not
      10              shipped.
      11                         So I don't know the -- I don't
      12              know their processes in any way,
      13              shape, or form.          I know that we are
      14              notified when things aren't shipped.
      15              Q.         (BY MR. BOWER)         And who
      16      notifies you when things are not shipped?
      17                         MS. FUMERTON:        Objection, form.
      18                         THE WITNESS:        There's an
      19              automatic email that comes to our
      20              email distribution.
      21              Q.         (BY MR. BOWER)         And in the
      22      scenario that you mentioned before, where an
      23      order was placed for 300, if that order was
      24      not shipped, would that be -- order be
      25      reported to the DEA?

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       1                         MS. FUMERTON:        Objection, form.
       2              Lack of foundation.
       3                         THE WITNESS:        I don't know
       4              McKesson's process.
       5              Q.         (BY MR. BOWER)         Would anyone
       6      from Walmart report that order?
       7                         MS. FUMERTON:        Objection, form.
       8                         THE WITNESS:        No.    The order
       9              was placed to McKesson.
      10              Q.         (BY MR. BOWER)         And let's say,
      11      for example, I speak to the pharmacist,
      12      right, and they state that the order should
      13      have been 3 instead of 300.               What happens
      14      next?
      15              A.         So that order -- they would not
      16      receive that order.           They would then proceed
      17      to place the correct order that they intended
      18      to place.
      19              Q.         They would have to reorder the
      20      item through to McKesson?
      21              A.         Yes.
      22              Q.         In other words, place an
      23      entirely new order; correct?
      24              A.         Yes.
      25              Q.         At that point would you speak

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       1      with anyone on the McKesson end and inform
       2      them that their order was placed in error?
       3              A.         Not typically, no.
       4              Q.         Would McKesson ever be informed
       5      that the order that they flagged as being
       6      over the threshold was placed in error?
       7                         MS. FUMERTON:        Objection, form.
       8              Lack of foundation.
       9                         THE WITNESS:        Not that I know
      10              of.
      11              Q.         (BY MR. BOWER)         And let's say,
      12      for example, an order was flagged by the
      13      McKesson threshold when it wasn't placed in
      14      error.     It was an intentional order.                What
      15      would happen then?
      16                         MS. FUMERTON:        Objection, form.
      17                         THE WITNESS:        So we don't
      18              review every order that's flagged.
      19              The orders that we do review are ones
      20              where the pharmacy or the market
      21              director say, "Hey, we have a need for
      22              this, and we're not getting -- we've
      23              met our threshold."            And so in that
      24              case, we pull data and look at very
      25              similar data points that we looked at

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       1              during our SOM process, dispensing
       2              trends, things like that, and see if
       3              it makes sense that they're no longer
       4              meeting their threshold, or if it's a
       5              timing issue.
       6                         So this month they -- so last
       7              month, two patients came in -- didn't
       8              come in that typically come in and
       9              they came in in January instead.
      10                         And so that would shift kind of
      11              their numbers around.             And so if it's
      12              a case like that, then we leave it as
      13              is.     But if it's a case where, most
      14              often a new pharmacy, that the
      15              threshold was different, or a case
      16              that there's, you know, closing
      17              pharmacies around it and so the
      18              climate has changed in that area, then
      19              we send data to McKesson and request a
      20              threshold increase.
      21              Q.         (BY MR. BOWER)         And who sends
      22      the data to McKesson?
      23              A.         I do.
      24              Q.         Okay.     And what data would you
      25      send them?       What's an example of the type of

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       1      data you would send?
       2              A.         So we send the reason that
       3      we're -- that we are requesting, and then
       4      they have a template of data that they
       5      request that we send.
       6              Q.         Okay.     And then in that
       7      scenario, once you send the data to McKesson,
       8      is there anything else that you do?
       9              A.         No.
      10              Q.         Do you receive word from
      11      McKesson back as to whether the order has
      12      shipped or not?
      13                         MS. FUMERTON:        Objection, form.
      14                         THE WITNESS:        When we're having
      15              communication, it's not about a
      16              specific order.          It's about the
      17              threshold in general.             And so we do
      18              receive communication back, whether
      19              the threshold was increased or not.
      20              Q.         (BY MR. BOWER)         Just going
      21      back, a few more follow-up questions on now
      22      back to the time period when Walmart was
      23      distributing controlled substances back in
      24      late 2015.       Okay?     In connection with your
      25      "know your customer" work?

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       1              A.         (Witness nods.)
       2              Q.         Other than the data that you
       3      mentioned regarding dispensing, what -- any
       4      other data that you looked at in connection
       5      with the "know your customer" work?
       6              A.         So when you say "know your
       7      customer work," that's a kind of broad --
       8      broad statement.
       9              Q.         Okay.
      10              A.         And I'm assuming has a
      11      different meaning from what I mean.                  So when
      12      I am talking about the "know your customer"
      13      data, I'm referring to the data set that I
      14      pull out of -- out of Teradata and insert
      15      into one portion of our store profile.                    But
      16      the store profile would be included in the
      17      "know your customer" information, because it
      18      has basic store information and other things
      19      about the store.
      20              Q.         Right.     And I'm just asking you
      21      today about the process that you described
      22      where you pulled data in connection with
      23      Walmart's "know your customer" program and
      24      imported it into Archer.             And whether that
      25      program used information other than

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       1      dispensing data.
       2                         MS. FUMERTON:        Objection, form.
       3                         THE WITNESS:        So the "know your
       4              customer" information that I imported
       5              into Archer was dispensing
       6              information.
       7              Q.         (BY MR. BOWER)         And it was
       8      limited to dispensing information; is that
       9      correct?
      10              A.         What was imported into Archer
      11      was limited as far as the dispensing piece of
      12      "know your customer."
      13                         So our store profile is -- the
      14      complete store profile is our customer
      15      information.        So it's not limited to
      16      dispensing data.
      17              Q.         Other than dispensing data,
      18      what does the store profile include?
      19                         MS. FUMERTON:        Objection, form.
      20                         And your time period.            Are you
      21              talking today or back then?
      22              Q.         (BY MR. BOWER)         No, we're still
      23      back in --
      24                         MS. FUMERTON:        Okay, I'm sorry.
      25                         MR. BOWER:       -- at least 2015.

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       1                         Sorry about that.
       2                         THE WITNESS:        Okay.     So the --
       3              late 2015.
       4                         So the basic store information
       5              is there.
       6                         MR. BOWER:       Okay.
       7                         THE WITNESS:        So the DEA
       8              number.
       9                         MR. BOWER:       Okay.
      10                         THE WITNESS:        Who the
      11              pharmacist in charge is.              The refusal
      12              to fills that they've had.               The other
      13              controlled substance loss incidents
      14              that they've had.           Things like that
      15              are all included.
      16              Q.         (BY MR. BOWER)         Okay.     Do you
      17      consider refusal-to-fill information
      18      dispensing information?
      19                         MS. FUMERTON:        Objection, form.
      20                         THE WITNESS:        No.    It would
      21              actually be the lack thereof.
      22                         MR. BOWER:       Okay.     Right.
      23                         And so -- and just -- I know I
      24              asked this, but I don't recall what
      25              the answer was, so I'm just going to

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       1              ask it again.
       2              Q.         (BY MR. BOWER)         The
       3      refusal-to-fill information is manually
       4      populated by the pharmacist; is that correct?
       5              A.         At the timeframe that we're
       6      talking about here?
       7              Q.         Yes.
       8              A.         Yes.
       9              Q.         Okay.
      10              A.         I did back-populate 2014 data.
      11              Q.         And how did you go about doing
      12      that?
      13              A.         We had the refusal-to-fill
      14      information that had been filled out via web
      15      form.     And it was imported into Archer.
      16              Q.         And then at some point, you
      17      began creating weekly reports regarding your
      18      team's reviews of orders of interest; is that
      19      correct?
      20                         MS. FUMERTON:        Objection, form.
      21                         THE WITNESS:        Yes.
      22              Q.         (BY MR. BOWER)         And do you
      23      recall when you started doing that?
      24              A.         I do not.
      25                         MS. FUMERTON:        Is this a --

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       1              could we take a quick break?                I mean,
       2              like five minutes?           It looks like we
       3              have about an hour left on the record.
       4              So that may be natural.
       5                         THE VIDEOGRAPHER:          4:17.     We
       6              are off the video record.
       7                         (Recess taken, 4:17 p.m. to
       8              4:36 p.m.)
       9                         THE VIDEOGRAPHER:          4:36.     We
      10              are on the video record.
      11                         (Walmart-Reed Deposition
      12              Exhibit 14, was marked for
      13              identification.)
      14              Q.         (BY MR. BOWER)         We are back on
      15      the record.        Let me just hand you Exhibit 14.
      16      It's Bates number ending in 9030.                  It's just
      17      a one-page email, and I just have some
      18      general questions on this document.
      19                         So let me know when you've had
      20      a chance to review it, okay?
      21                         [Document review.]
      22                         THE WITNESS:        Yes.
      23              Q.         (BY MR. BOWER)         Just a couple
      24      of questions on this, then.
      25                         What is -- if you note it there

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       1      this is from -- in the "From" line, do you
       2      know what that refers to?
       3              A.         So this is an email generated
       4      from LeanKit.        L-E-A-N-K-I-T, LeanKit.
       5              Q.         And what is that?
       6              A.         It's a task management system,
       7      I believe is the best way to describe it.
       8              Q.         Okay.     And when did Walmart
       9      start using LeanKit?
      10              A.         Walmart as a whole, I can't
      11      speak to.
      12                         Our team, Miranda and I,
      13      started using it early 2016, if I remember
      14      correctly.
      15              Q.         And what does the reference to
      16      "Add CS schedule for top three docs" mean?
      17              A.         So further down, the
      18      question -- so this is from Miranda.                   So
      19      Miranda created a card --
      20              Q.         Okay.
      21              A.         -- in LeanKit, which is just a
      22      task.     And the description of the task would
      23      be can we add the number of prescriptions for
      24      each drug schedule on the "top three doctors"
      25      tab.    This is in reference to the SOM eval.

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       1      So the SOM eval spreadsheet that we create.
       2              Q.         Is that within the Archer
       3      database or is that something different?
       4              A.         No.    When -- I know we've
       5      talked earlier about kind of the flow of
       6      things.      When overview came up to practice
       7      compliance for review, I pulled data, using
       8      Alteryx, out of using Teradata, to pull
       9      dispensing data.          And that's referring to
      10      that spreadsheet that we used for the review.
      11              Q.         So would you create one of
      12      those spreadsheets for each order of interest
      13      that your team reviewed?
      14              A.         Yes.    For each order that was
      15      elevated to our team to review.
      16              Q.         Okay.     And would you save those
      17      spreadsheets anywhere?
      18              A.         Yes.    They would be saved on
      19      the server.
      20              Q.         Were you able to add the number
      21      of prescriptions for each drug schedule on
      22      the "top three doctors" tab?
      23              A.         To the best of my recollection,
      24      yes.
      25              Q.         Okay.     And where would that

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       1      information have come from?
       2              A.         Teradata.
       3              Q.         At some point did you become
       4      involved in pulling information for Buzzeo?
       5                         MS. FUMERTON:        Objection, form.
       6                         MR. BOWER:       Strike that.
       7              Q.         (BY MR. BOWER)         Do you recall
       8      receiving a request that had come from Buzzeo
       9      for Walmart order information?
      10              A.         Yes.
      11              Q.         Okay.     What do you recall about
      12      that?
      13              A.         I recall that there was an ask
      14      to pull 24 months of order history.
      15              Q.         And were you able to provide
      16      Buzzeo with that information?
      17              A.         No.
      18              Q.         And why not?
      19              A.         Because we did not know -- I
      20      did not know where to obtain 24 weeks of
      21      order history.
      22              Q.         Well, did anyone in Walmart
      23      know to obtain that information?
      24              A.         No.    The most we could find was
      25      eight weeks.

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       1              Q.         Was Buzzeo ever provided with
       2      24 weeks of order history from Walmart
       3      pharmacies?
       4                         MS. FUMERTON:        Objection to
       5              form.
       6                         THE WITNESS:        They were not
       7              provided with 24 weeks of order
       8              history.
       9              Q.         (BY MR. BOWER)         Do you know
      10      whether they were provided any data in lieu
      11      of the order history information they
      12      requested?
      13              A.         Yes.
      14              Q.         What data were they provided?
      15              A.         They were provided 24 --
      16      24 months of shipment history.
      17              Q.         And do you recall Buzzeo taking
      18      the position that it preferred to have order
      19      history instead of shipped history?
      20                         MS. FUMERTON:        Objection, form.
      21                         THE WITNESS:        I don't recall
      22              the specific -- that specific
      23              conversation.
      24              Q.         (BY MR. BOWER)         Do you
      25      recall -- do you know who Scott Hardy is?

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       1              A.         Yes.
       2              Q.         Do you recall him telling you
       3      that "the quantity ordered is, of course,
       4      preferred over the quantity shipped"?
       5              A.         I don't recall that
       6      specifically.
       7                         (Walmart-Reed Deposition
       8              Exhibit 15, was marked for
       9              identification.)
      10              Q.         (BY MR. BOWER)         Okay.     You've
      11      been handed what's been marked as Exhibit 15.
      12      I don't really have any other questions than
      13      those I've already asked, so I'm just going
      14      to ask whether this refreshes your
      15      recollection as to whether Mr. Hardy informed
      16      you and others at Walmart that "Quantity
      17      ordered was preferred over quantity shipped."
      18              A.         Yes.
      19              Q.         And just so the record is
      20      clear, is it your testimony that this email
      21      refreshes your recollection that Buzzeo
      22      stated that it preferred to have data
      23      regarding quantity ordered instead of the
      24      quantity shipped?
      25                         MS. FUMERTON:        Objection, form.

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       1                         THE WITNESS:        Yes.
       2              Q.         (BY MR. BOWER)         And let's just
       3      read it so everyone is on the same page.
       4      Okay?
       5                         Mr. Hardy writes to yourself,
       6      Eric Welch, and Miranda Johnson, okay?
       7              A.         Yes.
       8              Q.         And he writes, "Okay.            Quantity
       9      ordered is, of course, preferred.                  And maybe
      10      you supply as much of that data as you can
      11      and also include the 24-month quantity
      12      shipped."       Do you see that?
      13              A.         Yes.
      14              Q.         Do you understand that to mean
      15      that Buzzeo -- in here it's ims -- those are
      16      the same; correct?
      17              A.         Yes.
      18              Q.         Did you understand him to mean
      19      that they preferred to have information
      20      regarding the quantity ordered when compared
      21      to information regarding quantity shipped?
      22              A.         Yes.
      23                         MS. FUMERTON:        Objection, form.
      24                         THE WITNESS:        Yes.
      25              Q.         (BY MR. BOWER)         Were you able

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       1      to provide that information?
       2                         MS. FUMERTON:        Objection, form.
       3              Q.         (BY MR. BOWER)         Strike that.
       4                         Was Walmart able to provide
       5      that information to Buzzeo in connection with
       6      its SOM program?
       7                         MS. FUMERTON:        Objection, form.
       8                         THE WITNESS:        We were not able
       9              to provide 24 months or 13 months of
      10              historical order data, no.
      11              Q.         (BY MR. BOWER)         How much
      12      historical order data were you able to
      13      provide?
      14              A.         Based on my previous email, I
      15      said, "We've only been able to identify eight
      16      weeks of history."           So my assumption would be
      17      I sent that eight weeks of history.                  I don't
      18      recall doing so.
      19              Q.         Do you recall whether, after
      20      Walmart tried to look for historical order
      21      data and couldn't find it, whether it started
      22      to maintain that data?
      23                         MS. FUMERTON:        Objection, form.
      24                         THE WITNESS:        I'm not sure.
      25              Q.         (BY MR. BOWER)         Do you know why

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       1      Walmart wouldn't maintain order data?
       2                         MS. FUMERTON:        Objection, form.
       3                         THE WITNESS:        I do not.
       4              Q.         (BY MR. BOWER)         Who is
       5      Aaron Williams?
       6              A.         Aaron is an analyst that
       7      reports to me.
       8              Q.         What does the "SOM eval macro
       9      in Alteryx" refer to?
      10              A.         It is the module in Alteryx
      11      that is actually a macro that we used to
      12      create the SOM eval spreadsheets.
      13              Q.         And what do you mean it's
      14      "actually a macro"?
      15                         For those who aren't so
      16      technically inclined?
      17              A.         So a module is set up to run --
      18      run once, and you have to go into each
      19      individual tool and make updates for whatever
      20      is in question to update.
      21                         A macro makes it more simple in
      22      that it's -- you select pieces that you'll
      23      always want to update in the query or in a
      24      filter or in a formula, wherever in the
      25      module, and the macro is set up to update

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       1      with the information that you provide it.
       2              Q.         And this macro in Alteryx,
       3      who -- how did Walmart go about selecting the
       4      pieces?      What does that mean?            Of the data?
       5                         MS. FUMERTON:        Objection, form.
       6                         THE WITNESS:        What do you mean?
       7              Q.         (BY MR. BOWER)         Well, I'm just
       8      trying to understand your answer.                  You say,
       9      "A macro makes it more simple in that you
      10      select the pieces that you always want to
      11      update in the query."            What does that mean?
      12              A.         Okay.     So a query is -- the
      13      purpose of a query is to limit data down to
      14      what you want to look at.              So it's pulling
      15      from big data sources to get the data that
      16      you want to look at.
      17                         So, for instance, for SOM, we
      18      would limit by store number, by GPI, and by
      19      date range.
      20                         And in the regular module,
      21      anytime we wanted to pull for a different
      22      store, or a different drug, or a different
      23      timeframe, we would have to go into that tool
      24      and make those updates.
      25                         So you'd have to open up the

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       1      module, wait for it to load, wait for the
       2      connection, make those changes and then run
       3      it.
       4                         A macro is set up where I say,
       5      store number, I want to be able to update
       6      that to whatever I enter into either a
       7      spreadsheet, into a little form that I
       8      create.
       9                         And then GPI, I want to be able
      10      to update that with the information that I
      11      provide.
      12                         And then it runs.          You enter
      13      the data, the store number, the GPI, the date
      14      range into -- depending on the timeframe, you
      15      would enter it into a form in Alteryx, or in
      16      a spreadsheet that would then run the data
      17      and spit out the spreadsheets that we -- that
      18      we needed to look at.
      19              Q.         And what do you mean when you
      20      say "A spreadsheet would run the data"?                    How
      21      does that happen?
      22              A.         So that's called a batch macro.
      23                         And you can have a spreadsheet
      24      that has a list of store numbers, a list of
      25      GPI numbers, and it would run the first one.

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       1      It would update the store and the GPI, run it
       2      all the way through the macro -- or the
       3      module, and spit out the answer.                 Then it
       4      would automatically go to the next one on the
       5      list.     Run it all the way through the process
       6      and spit out the answer.
       7                         And so it goes all the way
       8      through the spreadsheet instead of a person
       9      having to enter in one combination and let it
      10      run, enter in another combination and let it
      11      run.    It automates the process slightly.
      12              Q.         And is that batch macro in
      13      addition to the Alteryx that you described
      14      previously or is that part of the same
      15      process?
      16              A.         It's a type of Alteryx.
      17              Q.         Okay.
      18                         So that's also within Alteryx;
      19      is that correct?
      20              A.         Yes.
      21              Q.         And Alteryx, during this time
      22      period that you were using it for SOM, was
      23      pulling -- still pulling data from Teradata;
      24      is that correct?
      25                         MS. FUMERTON:        Objection, form.

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       1                         THE WITNESS:        Yes.
       2              Q.         (BY MR. BOWER)         Are there any
       3      other sources of data that it was pulling
       4      from?
       5                         MS. FUMERTON:        Objection, form.
       6              Q.         (BY MR. BOWER)         At any time did
       7      the Alteryx macro pull data from any other
       8      source other than Teradata?
       9                         MS. FUMERTON:        Objection, form.
      10                         THE WITNESS:        There -- during
      11              the Buzzeo period there were also some
      12              spreadsheets that it attached to.
      13              Q.         (BY MR. BOWER)         Do you recall
      14      what information or data was on those
      15      spreadsheets?
      16              A.         It was the list of active
      17      ingredients and the GPI drug class code.
      18      Because --
      19              Q.         Did -- I didn't mean to cut you
      20      off.    Please finish.
      21              A.         Because the drug class code
      22      which is a portion of the GPI, when we used
      23      Buzzeo, that was used to pull the data.
      24              Q.         And did that information --
      25      strike that.

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       1                         Was that information added to
       2      the Alteryx macro at the same time that
       3      Walmart began using Buzzeo for its SOM
       4      program?
       5                         MS. FUMERTON:        Objection, form.
       6                         THE WITNESS:        There are two
       7              different Alteryx modules.               So there's
       8              the one we used for the Reddwerks
       9              period, and then there is a completely
      10              different one that we used for the
      11              Buzzeo period.
      12                         MR. BOWER:       Okay.     Thank you.
      13              Q.         (BY MR. BOWER)         When the SOM
      14      program was moved over to Buzzeo, did that
      15      change the process for which Walmart reviewed
      16      an order of interest?
      17                         MS. FUMERTON:        Objection, form.
      18                         THE WITNESS:        Yes.
      19              Q.         (BY MR. BOWER)         And how did
      20      that process change at that time?
      21              A.         The logistics team was no
      22      longer involved in the reviewing of orders.
      23      So --
      24              Q.         Sorry, go ahead and finish.
      25              A.         So our analysts reviewed the

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       1      orders.
       2              Q.         What do you mean by "our
       3      analysts"?
       4              A.         The temporary analysts that we
       5      had on the practice compliance controlled
       6      substances team.
       7              Q.         Do you know why that change was
       8      made?
       9              A.         I do not.
      10              Q.         Do you know who would know the
      11      answer to that question?
      12              A.         Leadership and practice
      13      compliance and logistics.
      14              Q.         And who was that at that time?
      15              A.         Miranda Johnson and
      16      George Chapman on our side and Debbie Hodges
      17      on the logistics side.
      18              Q.         Other than that change where
      19      the logistics team was no longer involved in
      20      reviewing orders of interest, were there any
      21      other changes made in the way that Walmart
      22      was reviewing orders of interest that reflect
      23      like Buzzeo?
      24                         MS. FUMERTON:        Objection, form.
      25                         THE WITNESS:        Yes.     We -- so

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       1              our controlled substances analysts
       2              started reviewing the data.                We -- the
       3              alerts, and then the data that we
       4              created because of that.
       5                         The next level of review was at
       6              a senior manager level, and that would
       7              have been myself, and then we had
       8              three pharmacists that were involved
       9              in that on a temporary basis.
      10                         And depending on the level, a
      11              director would also review before a
      12              final decision was made.
      13              Q.         (BY MR. BOWER)         And what do you
      14      mean when you say "three pharmacists"?                    Can
      15      you just explain what that means?
      16              A.         So we had temporary assignments
      17      for three pharmacists -- or four pharmacists.
      18      Four.     Three of them came from our mail order
      19      facility in Dallas.           Two worked with us full
      20      time.     One of them was kind of a part-time,
      21      as-needed basis.
      22                         And then the other pharmacist
      23      was a local pharmacist that came up to the
      24      Walmart home office to work with us.
      25              Q.         So did these four pharmacists

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       1      physically relocate to the home office in
       2      connection with this assignment?
       3              A.         No.
       4              Q.         Okay.     Can you just explain,
       5      then, generally how that would work?
       6              A.         So one pharmacist relocated to
       7      the home office.          The other three were
       8      located in their facility in Dallas.
       9                         And since it was a web-based
      10      system between Archer and Buzzeo, you didn't
      11      have to be at the home office.
      12              Q.         And this is -- the pharmacists
      13      weren't brought in until the change was made
      14      to Buzzeo; is that right?
      15                         MS. FUMERTON:        Objection, form.
      16                         THE WITNESS:        Yes.
      17              Q.         (BY MR. BOWER)         Okay.     Was that
      18      at the same time that Buzzeo took over or was
      19      it after -- a period of time after Buzzeo
      20      took over?
      21              A.         It was slightly --
      22                         MS. FUMERTON:        Objection,
      23              form -- give me a chance to object.
      24                         THE WITNESS:        Oh, sorry.
      25                         MS. FUMERTON:        Object to form.

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       1                         Go ahead.
       2                         THE WITNESS:        It was slightly
       3              before to account for training.
       4              Q.         (BY MR. BOWER)         And who
       5      provided the training for the pharmacists?
       6              A.         Myself and Miranda.
       7              Q.         And what did that training
       8      entail?
       9              A.         From what I recollect, we
      10      trained them on the -- the Archer system, the
      11      Buzzeo system, why we were doing what we were
      12      doing and exactly what we would be doing.
      13              Q.         And what was the training with
      14      respect to why you were doing what you were
      15      doing?
      16              A.         I don't recall specifically.
      17      It was, you know, we're complying with SOM
      18      regulations.        This is a new, enhanced
      19      program, Buzzeo program, not compliance
      20      program.      And so ...
      21              Q.         I don't want to cut you off.
      22              A.         No, I don't know what else I
      23      was going to say.
      24              Q.         Okay.
      25                         Would you agree that the

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       1      Buzzeo -- strike that.
       2                         Would you agree that the Buzzeo
       3      method for identifying orders of interest was
       4      more robust than the method used at
       5      Reddwerks?
       6                         MS. FUMERTON:        Objection, form.
       7                         THE WITNESS:        I'm not sure I
       8              would use the term "robust."                I would
       9              say it was more dynamic.
      10              Q.         (BY MR. BOWER)         And what do you
      11      mean by "dynamic"?
      12              A.         Because it changed.           As orders
      13      changed, it was a 30-day kind of roll -- it
      14      looked at a 30-day rolling information.                    So
      15      it was more dynamic.            Changing more often.
      16              Q.         Do you understand that Walmart,
      17      when it was distributing controlled II
      18      substances, had an obligation to monitor for
      19      suspicious orders?
      20                         MS. FUMERTON:        Objection, form.
      21                         THE WITNESS:        So I understand
      22              that there was a suspicious order
      23              monitoring requirement for
      24              distributing entities, yes.
      25              Q.         (BY MR. BOWER)         And you

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       1      understand that that was a legal requirement;
       2      correct?
       3                         MS. FUMERTON:        Objection, form.
       4                         THE WITNESS:        Yes.
       5              Q.         (BY MR. BOWER)         And do you
       6      understand, as you sit here today, that
       7      Walmart had an obligation, when it
       8      distributed controlled substances, to review
       9      orders for unusual size?
      10                         MS. FUMERTON:        Objection, form.
      11                         THE WITNESS:        Yes.
      12              Q.         (BY MR. BOWER)         Did you
      13      understand, back in 2017, that Walmart had an
      14      obligation to review orders for unusual
      15      pattern?
      16                         MS. FUMERTON:        Objection, form.
      17                         THE WITNESS:        Yes.
      18              Q.         (BY MR. BOWER)         How did the
      19      Reddwerks platform review orders that may
      20      have been an unusual pattern?
      21                         MS. FUMERTON:        Objection, form.
      22                         THE WITNESS:        I don't know the
      23              exact answer to that.
      24              Q.         (BY MR. BOWER)         And did you
      25      understand back in 2007 that Walmart had an

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       1      obligation to review orders for unusual
       2      frequency?
       3                         MS. FUMERTON:        Objection, form.
       4                         THE WITNESS:        2007, no.
       5              Q.         (BY MR. BOWER)         You don't
       6      believe Walmart had that obligation in 2007?
       7              A.         No, in 2007, I don't know that
       8      I understood that.
       9              Q.         Okay.     When did you first
      10      understand that Walmart had a legal
      11      obligation to review orders for Schedule II
      12      products?
      13                         MS. FUMERTON:        Objection, form.
      14                         THE WITNESS:        So I don't know
      15              that I was aware of our policy or the
      16              statute, law, whatever it is that
      17              dictates that until I started working
      18              with the program, helping out in 2014.
      19              Q.         (BY MR. BOWER)         And did you
      20      understand in 2017 that Walmart had an
      21      obligation to review orders that may have
      22      represented an unusual pattern?
      23                         MS. FUMERTON:        Objection.
      24              Form.
      25                         THE WITNESS:        Yes.

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       1              Q.         (BY MR. BOWER)         And how did
       2      Reddwerks go about doing that?
       3                         MS. FUMERTON:        Objection, form.
       4                         THE WITNESS:        I don't know.
       5                         (Walmart-Reed Deposition
       6              Exhibit 16, was marked for
       7              identification.)
       8                         MR. MILLER:       Can we get a Bates
       9              number on Exhibit 15?             I don't think
      10              that was established.
      11                         MR. BOWER:       Sure.     It's 7071
      12              through 7072.
      13                         MR. MILLER:       That's 16.
      14                         MR. BOWER:       Sorry, yeah, we're
      15              on 16.      Did I say 17?
      16                         MR. MILLER:       No, he asked about
      17              15, I think.
      18                         THE WITNESS:        You put 17 on
      19              here.
      20                         MS. FUMERTON:        All right.        Can
      21              we -- because I have the last one
      22              before that as 15.
      23                         MR. BOWER:       Why don't we go off
      24              the record just for a moment just to
      25              clear that up.

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       1                         THE VIDEOGRAPHER:          Stand by.
       2              5:01.      We are off the video record.
       3                         (Recess taken, 5:01 p.m. to
       4              5:02 p.m.)
       5                         THE VIDEOGRAPHER:          5:02.     We
       6              are on the video record.
       7              Q.         (BY MR. BOWER)         We are back on
       8      the record now and let me clear up my
       9      mistake.      Exhibit 15 is ending in Bates
      10      No. 4624 and 46 for -- to 4626.                 And then
      11      Exhibit 16 is 7071 and 7072.
      12                         MS. FUMERTON:        Okay.      And I
      13              don't think you've had a chance to
      14              review yet, so why don't you go ahead
      15              and review the document.
      16                         [Document review.]
      17                         THE WITNESS:        Okay.
      18              Q.         (BY MR. BOWER)         So this is --
      19      who is the person sending this email?                   Who is
      20      the "From" in that email at the top there?
      21              A.         So we always just call them
      22      Monique.
      23              Q.         Okay.     And he is at -- is he at
      24      ims, or Buzzeo?
      25              A.         Yes.

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       1              Q.         And he refers -- and Miranda's
       2      email below refers to a score.
       3                         Do you see that?
       4              A.         Yes.
       5              Q.         And what does that mean?             What
       6      does a score refer to?
       7                         MS. FUMERTON:        Objection, form.
       8                         MR. BOWER:       Well, strike that.
       9              Q.         (BY MR. BOWER)         Do you know
      10      what "the score" refers to?
      11                         MS. FUMERTON:        Objection, form.
      12                         THE WITNESS:        Yes.     That's the
      13              algorithm score.
      14              Q.         (BY MR. BOWER)         And what does
      15      an algorithm score reflect?
      16                         MS. FUMERTON:        Objection, form.
      17              Q.         (BY MR. BOWER)         For example,
      18      here, we're seeing -- she notes on her email
      19      to -- cc'ing herself, some folks at ims and
      20      some other folks at Walmart, that "seeing
      21      some scores of minus 22."
      22                         Do you see that?
      23              A.         Yes.
      24              Q.         Do you know what that means?
      25              A.         Based on this email, Monique

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       1      explains what those scores are.
       2              Q.         And he states, "That particular
       3      store is an internal representation"; right?
       4      "And should not be shown on UI"?
       5              A.         Yes.
       6              Q.         What is "UI"?
       7                         MS. FUMERTON:        Let him finish
       8              his question.
       9                         THE WITNESS:        Sorry.
      10                         MS. FUMERTON:        Go ahead.       I was
      11              going to object, but just go on.
      12                         THE WITNESS:        UI is user
      13              interface.
      14              Q.         (BY MR. BOWER)         And do you know
      15      why he's saying those should not be shown on
      16      a user interface?
      17              A.         I do not.
      18              Q.         And do you know this little
      19      screenshot here, whatever you would call it,
      20      do you know, is that from the Buzzeo
      21      platform?
      22              A.         Yes.
      23              Q.         Other than the columns here,
      24      does it have any other columns that you are
      25      aware of?

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       1                         MS. FUMERTON:        Objection, form.
       2                         THE WITNESS:        Not that I
       3              recall.
       4              Q.         (BY MR. BOWER)         Have you ever
       5      heard of the term "augmented orders"?
       6              A.         Yes.
       7              Q.         And what is an augmented order?
       8              A.         An augmented order is a system
       9      order that is placed outside of the projected
      10      order.
      11              Q.         And what do you mean by
      12      "projected order"?
      13              A.         So our replenishment system
      14      sets up their projections of what should be
      15      ordered.      And if the store sells more than
      16      they projected for that day or sells a
      17      different amount in some way, then the
      18      replenishment system would augment the
      19      projected system order.
      20              Q.         What about the term "stress
      21      bars" in connection with SOM?
      22              A.         So with Buzzeo, in Buzzeo, an
      23      individual order would have stress bars, so
      24      bars that indicate green, yellow, red, based
      25      on some different criteria.

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       1              Q.         Are those bars order-specific?
       2      Item-specific?         Or something else?
       3                         MS. FUMERTON:        Objection, form.
       4                         THE WITNESS:        Those bars are
       5              comparing an order of an active
       6              ingredient to multiple different
       7              things.
       8              Q.         (BY MR. BOWER)         Okay.     If we
       9      wanted to understand what those multiple
      10      different things that it was looking at were,
      11      where would we go?
      12                         MS. FUMERTON:        Objection, form.
      13                         THE WITNESS:        So Buzzeo itself
      14              would have what those stress bars are.
      15              I can't remember everything off the
      16              top of my head, but there are -- there
      17              were -- there was at least one
      18              document I know of that had what the
      19              different stress bars were.
      20                         MR. BOWER:       Okay.
      21              Q.         (BY MR. BOWER)         And did you
      22      have -- in the time that Buzzeo was active,
      23      did you have access to information that would
      24      inform you what or how those stress bars were
      25      calculated?

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       1                         MS. FUMERTON:        Objection, form.
       2                         THE WITNESS:        I don't recall
       3              seeing anything with the specific
       4              math.
       5              Q.         (BY MR. BOWER)         And do you
       6      recall a document that explained what the
       7      stress bars meant; is that correct?
       8              A.         Yes.
       9              Q.         Do you recall anything else
      10      about that document?
      11              A.         I do not.
      12              Q.         At some point did you begin
      13      reporting orders of interest to the DEA?
      14              A.         Yes.
      15              Q.         And whose decision was it to --
      16      strike that.
      17                         Do you know why you began
      18      reporting orders of interest to the DEA?
      19              A.         It was after the Masters
      20      decision.
      21              Q.         And what is the Masters
      22      decision you're referring to?
      23              A.         It was a court case involving
      24      Masters, and it was related to SOM.
      25              Q.         How did you learn about the

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       1      Masters decision?
       2                         MS. FUMERTON:        If it was
       3              with -- communications with counsel,
       4              you can say that.
       5                         If your concern is about some
       6              other privileged conversation, we can
       7              talk.
       8                         THE WITNESS:        No, I don't think
       9              so.
      10                         It was initially communication
      11              from Miranda.
      12              Q.         (BY MR. BOWER)         Do you recall
      13      approximately when that communication took
      14      place?
      15              A.         I do not.       I know it happened
      16      in 2017, but I don't remember.
      17              Q.         And it's your understanding
      18      that the reason that you began reporting
      19      orders of interest to the DEA was as a result
      20      of Masters; is that correct?
      21              A.         Yes.
      22              Q.         Was it your understanding that
      23      Masters had reflected some change in the
      24      legal requirements for Walmart?
      25                         MS. FUMERTON:        To the extent

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       1              you can answer that question without
       2              revealing communications with counsel,
       3              you can answer.          Otherwise, I instruct
       4              you not to answer.
       5                         THE WITNESS:        My understanding
       6              was that it changed some
       7              interpretations of that requirement.
       8              Q.         (BY MR. BOWER)         Did it change
       9      Walmart's interpretation of that requirement?
      10                         MS. FUMERTON:        Well, I object
      11              to the form of the question.                I also
      12              instruct you not to answer that
      13              question to the extent the answer
      14              would reveal communications with
      15              counsel.
      16                         THE WITNESS:        So I sent the
      17              email, the fax that went to the DEA
      18              that specified why we were changing
      19              what we did.         And I do know that that
      20              document said that, pursuant to
      21              Masters, we changed the
      22              interpretation.
      23              Q.         (BY MR. BOWER)         And who drafted
      24      that document?
      25              A.         Miranda's name is on the

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       1      document.
       2              Q.         Who drafted the document?
       3                         MS. FUMERTON:        Objection, form.
       4              Answer to your knowledge.
       5                         THE WITNESS:        My understanding
       6              is Miranda drafted it, and I'm sure
       7              counsel was involved with the drafting
       8              of that.
       9              Q.         (BY MR. BOWER)         Were you
      10      involved in the drafting of it?
      11              A.         No.
      12              Q.         Did Miranda provide you with a
      13      final version of that document to send to the
      14      DEA?
      15              A.         Yes.
      16                         (Walmart-Reed Deposition
      17              Exhibit 17, was marked for
      18              identification.)
      19              Q.         (BY MR. BOWER)         Let me hand you
      20      Exhibit 17.
      21                         And for those on the phone,
      22              this is 3598 and 3599.
      23                         Just take a moment and review
      24              this document.
      25                         And my first question is going

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       1              to be why you were meeting with folks
       2              at Deloitte regarding controlled
       3              substances.
       4              A.         Okay.
       5              Q.         What did you -- why did you
       6      meet with the folks at Deloitte regarding
       7      controlled substances?
       8                         MS. FUMERTON:        Objection, form.
       9                         MR. BOWER:       Strike that.
      10              Q.         (BY MR. BOWER)         Did you meet
      11      with anyone at Deloitte regarding controlled
      12      substances?
      13              A.         Yes.    We did meet with somebody
      14      from Deloitte.
      15              Q.         And why did you meet with them?
      16              A.         They were given our contact
      17      information.        They were working on some
      18      other -- working with other parts of health
      19      and wellness compliance, and they were given
      20      our contact information to see if there was
      21      anything that Deloitte could provide.
      22              Q.         And what sorts of things were
      23      they offering to provide?
      24              A.         Based on this email and what I
      25      recall of the conversation is one of the

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       1      gentlemen was from the DEA in a past life,
       2      and they were just looking at analytics and
       3      automation of things and all in all, from
       4      what I can tell, just advice in general.
       5              Q.         Did they show you a video?              Do
       6      you see where it says, "I've attached a
       7      simple set of slides with some screen prints
       8      from the dashboard and automation video we
       9      showed"?
      10              A.         I don't remember the exact --
      11      the exact presentation.
      12              Q.         But this email certainly
      13      purports to suggest that they are sending
      14      this presentation to you after the meeting;
      15      right?
      16                         MS. FUMERTON:        Objection, form.
      17                         THE WITNESS:        Yes.
      18              Q.         (BY MR. BOWER)         Do you recall
      19      what the presentation was about?
      20              A.         It was -- it was automation.
      21      So as Jamie states, they were working with
      22      another client in the DEA 222 space about
      23      automation.        And so they were -- they were
      24      trying to sell their services.
      25              Q.         You traveled to North Carolina

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       1      to meet with them?
       2              A.         No.
       3              Q.         Where did you meet with them?
       4              A.         At the home office.
       5              Q.         Miranda was based in
       6      North Carolina at the time?
       7              A.         Yes.
       8              Q.         Did they travel to Bentonville
       9      to meet with you?
      10                         MS. FUMERTON:        Objection, form.
      11                         THE WITNESS:        My understanding
      12              was they were already in Northwest
      13              Arkansas, that they were based in
      14              Northwest Arkansas.
      15              Q.         (BY MR. BOWER)         How did they
      16      arrange a meeting with you?
      17              A.         I don't recall.         I think they
      18      worked through -- it was either Miranda or
      19      Jamie.     I was not -- I attended the meeting.
      20              Q.         Well, this is December of 2017;
      21      right?
      22              A.         Yes.
      23              Q.         A few months before you signed
      24      the agreement with Walmart not to discuss
      25      controlled II substances?

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       1                         MS. FUMERTON:        Objection, form,
       2              misstates the prior testimony.
       3                         THE WITNESS:        It wasn't
       4              discussing controlled substances.
       5              Nothing was signed that I couldn't
       6              discuss controlled substances.                 That
       7              was my job.
       8              Q.         (BY MR. BOWER)         Right.     But
       9      this was approximately two to three months
      10      before you signed that NDC with Walmart;
      11      right?
      12                         MS. FUMERTON:        Objection, form.
      13              Misstates testimony and lack of
      14              foundation.
      15              Q.         (BY MR. BOWER)         Didn't you --
      16                         MR. BOWER:       I'll strike that.
      17              Q.         (BY MR. BOWER)         When did you
      18      sign the NDC with Walmart?
      19                         MS. FUMERTON:        Objection, form.
      20                         THE WITNESS:        The NDA?
      21              Q.         (BY MR. BOWER) Yeah.            The NDA.
      22              A.         It was in early 2018.
      23              Q.         And this is -- this meeting
      24      occurred in December 2018; right?
      25              A.         Yes.

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       1              Q.         A couple of months after you
       2      signed the NDA; right?
       3                         MS. FUMERTON:        Objection, form.
       4              Misstates testimony.
       5                         THE WITNESS:        No, before.        I
       6              signed it in 2018.
       7              Q.         (BY MR. BOWER) This meeting
       8      occurred a couple of months before you signed
       9      the NDA; correct?
      10              A.         Yes.
      11              Q.         And this meeting was about
      12      Walmart's controlled substances monitoring
      13      program; right?
      14                         MS. FUMERTON:        Objection, form,
      15              lacks foundation and misstates prior
      16              testimony.
      17                         THE WITNESS:        This was a
      18              meeting for them trying to sell
      19              services to us.          It wasn't about what
      20              we were currently doing.
      21              Q.         (BY MR. BOWER)         And they were
      22      trying to sell services related to suspicious
      23      order monitoring; correct?
      24              A.         That was included.
      25              Q.         And they were trying to sell

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       1      Walmart services because Walmart's program at
       2      that time wasn't meeting its legal
       3      obligations; right?
       4                         MS. FUMERTON:        Objection, form.
       5                         THE WITNESS:        That is not
       6              correct?
       7              Q.         (BY MR. BOWER)         And, in fact,
       8      they attach a link to a 60 Minutes report on
       9      opioid investigations; right?
      10                         MS. FUMERTON:        Objection, form.
      11                         THE WITNESS:        Yes, that is what
      12              that link appears to be.
      13              Q.         (BY MR. BOWER)         And it appears
      14      that this story on 60 Minutes was going to
      15      focus on McKesson; right?
      16                         MS. FUMERTON:        Objection, form,
      17              lack of foundation.
      18              Q.         (BY MR. BOWER)         Do you see the
      19      reference there, "This one focuses on
      20      McKesson"?
      21              A.         That's what the email says,
      22      yes.
      23              Q.         Did you at the meeting discuss
      24      other reporting on other distributors for
      25      controlled substances?

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       1                         MS. FUMERTON:        Objection, form,
       2              lack of foundation.
       3                         THE WITNESS:        I do not recall
       4              any other reporting by other people.
       5              Q.         (BY MR. BOWER)         And
       6      approximately two months after the folks at
       7      Deloitte refer you folks at Walmart about
       8      this McKesson report, Walmart decides to use
       9      McKesson for its distribution of controlled
      10      substances; correct?
      11                         MS. FUMERTON:        Objection, form.
      12              Lack of foundation.
      13                         THE WITNESS:        So, yes, we were
      14              notified, and yes, that decision was
      15              made.
      16                         (Walmart-Reed Deposition
      17              Exhibit 18, was marked for
      18              identification.)
      19              Q.         (BY MR. BOWER)         Okay.     You've
      20      been handed what has been marked as
      21      Exhibit 18.        This is Walmart Document 7350
      22      through 7354.        It's an email chain with
      23      yourself, Jamie Newell, and Chad Corbin.
      24      Please take a moment and review that, and I
      25      have some questions on this.

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       1                         [Document review.]
       2              Q.         (BY MR. BOWER)         Have you had a
       3      chance to review the document?
       4              A.         Yes.
       5              Q.         What is being discussed in this
       6      document?
       7                         Sorry, let me ask a better
       8      question than that.
       9                         What does the reference to "SOM
      10      talking points" and "FAQs updated" refer to?
      11              A.         So on our intranet, we had a
      12      section that related to talking points and
      13      FAQs for the SOM process.
      14              Q.         And this was an attempt to
      15      update those FAQs; is that right?
      16              A.         Yes.
      17              Q.         And part of that was, if you
      18      note Jamie's email there on the first page
      19      from -- to yourself and Chad, on Friday,
      20      January 5th.        She writes, "Yes, they should."
      21      They are all -- "They all should be.                   We are
      22      going to help change the practices of our
      23      profession and our company with our continued
      24      focus on this topic."
      25                         Do you see that?

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       1              A.         Yes.
       2              Q.         Did you agree that there needed
       3      to be change regarding this topic?
       4                         MS. FUMERTON:        Objection, form.
       5              Misstates the document -- and
       6              misstates the document.
       7                         THE WITNESS:        So I think this
       8              goes back to the continuous
       9              improvement.         You know, improving
      10              the -- what this is referring to is
      11              the pharmacist's knowledge of data
      12              points that we mention on page 2 and
      13              improving their knowledge of that data
      14              at their locations.
      15              Q.         (BY MR. BOWER)         And Jamie
      16      writes, "We are going to help change the
      17      practice of the profession in our company
      18      with our continued focus on this topic";
      19      right?
      20              A.         Yes.
      21              Q.         That was why, one of the
      22      reasons why you were doing this; right?                    To
      23      "help change the practice of the profession
      24      in our company"?
      25                         MS. FUMERTON:        Objection, form.

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       1                         THE WITNESS:        The reason we
       2              were updating FAQs is to make sure
       3              everybody understood.             That was
       4              Jamie's comment and his feeling on how
       5              that -- what we were focusing on, the
       6              effect it was going to have.
       7              Q.         (BY MR. BOWER)         And indeed,
       8      Walmart's been -- even going back to your --
       9      starting with your work in SOM in 2005,
      10      Walmart's been continuously trying to improve
      11      its SOM program; right?
      12                         MS. FUMERTON:        Objection, form.
      13              Lack of foundation.
      14                         THE WITNESS:        I wasn't even
      15              with the company in 2005.
      16              Q.         (BY MR. BOWER)         Would you agree
      17      that at least since 2015, Walmart has been
      18      endeavoring to improve its SOM program?
      19              A.         We have continually worked to
      20      make process improvements, yes.
      21              Q.         Do you disagree that Walmart
      22      has been working to improve its SOM program
      23      since you began working with that program in
      24      2015?
      25                         MS. FUMERTON:        Objection, form.

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       1              Asked and answered.
       2                         THE WITNESS:        No, I don't
       3              disagree that we've been working to
       4              make continual improvements.
       5              Q.         (BY MR. BOWER)         And indeed,
       6      those work on improvements were continuing
       7      even into early 2018; correct?
       8              A.         Yes.
       9              Q.         But shortly hereafter, Walmart
      10      gets out of the business; right?
      11                         MS. FUMERTON:        Objection, form.
      12                         THE WITNESS:        We get out of the
      13              business of distributing controlled
      14              substances, yes.
      15              Q.         (BY MR. BOWER)         Right.     You get
      16      out of the business that you've been trying
      17      to improve for at least the past four years;
      18      correct?
      19                         MS. FUMERTON:        Objection, form.
      20                         THE WITNESS:        Yes.
      21              Q.         (BY MR. BOWER)         And one of the
      22      things discussed here, right, is Jamie's
      23      concern and certainly Chad's concerns that
      24      folks started talking about on order --
      25      delays that were being caused by order

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       1      review; right?
       2              A.         Yes.
       3              Q.         And why was that a concern?
       4              A.         Nobody wanted to cause any more
       5      of a delay than was needed to do our job
       6      properly.
       7              Q.         In other words, you wanted to
       8      move the orders of interest as quickly as
       9      possible; correct?
      10                         MS. FUMERTON:        Objection, form.
      11                         THE WITNESS:        No.
      12                         MS. FUMERTON:        Misstates
      13              testimony.
      14                         THE WITNESS:        No.    Not
      15              necessarily.         We wanted to be sure
      16              that we did a thorough, correct job,
      17              but also meet legitimate customer need
      18              as well.
      19              Q.         (BY MR. BOWER)         And Jamie's
      20      writing, if you look at the email that Jamie
      21      writes on, for example, the bottom of page
      22      ending in 7352.
      23                         Do you see that?
      24                         Jamie to -- on Friday,
      25      January 5th, 2018 at 10:51 a.m.

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       1                         Do you see that?
       2              A.         Yes.
       3              Q.         Jamie is writing, "Can we use
       4      data to help us tell the story of what number
       5      percentage of orders have been delayed and
       6      rejected because of our work?"
       7                         Do you see that?
       8              A.         Yes.
       9              Q.         Did Walmart ever use data to
      10      help tell that story?
      11                         MS. FUMERTON:        Objection, form.
      12                         THE WITNESS:        We did look at
      13              data to look and see the number of
      14              orders that were being delayed.
      15              Q.         (BY MR. BOWER)         And who looked
      16      at that data?
      17              A.         Myself.
      18              Q.         And what did you find?
      19                         MS. FUMERTON:        Objection, form.
      20                         THE WITNESS:        I don't remember
      21              specifically.         I do remember that
      22              there -- there were delays, nothing
      23              significant, when you look at the
      24              grand scheme of how many orders
      25              Walmart filled on a daily, weekly

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       1              basis.
       2                         (Walmart-Reed Deposition
       3              Exhibit 19, was marked for
       4              identification.)
       5              Q.         (BY MR. BOWER)         Hand you what's
       6      been marked as Exhibit 19.              It's just a
       7      one-page email on a conversation with
       8      yourself and Ms. Johnson, Bates No. 8865 and
       9      8866.
      10                         [Document review.]
      11                         THE WITNESS:        Okay.
      12              Q.         (BY MR. BOWER)         Did someone
      13      from the U.S. Department of Justice contact
      14      you or Ms. Johnson in January 2018?
      15                         MS. FUMERTON:        Objection, form.
      16                         THE WITNESS:        It was somebody
      17              from the DEA.
      18              Q.         (BY MR. BOWER)         Okay.
      19      Contacted you or Ms. Johnson?
      20              A.         So they initially contacted me,
      21      and I forwarded them on to Ms. Johnson.
      22              Q.         Okay.     I was just confused
      23      about how that worked.
      24              A.         Yes.
      25              Q.         Thank you for that.           And you

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       1      write to Ms. Johnson, "Well, here's contact.
       2      Keep me posted!"          Right?
       3                         MS. FUMERTON:        Objection, form.
       4                         I withdraw my objection.
       5                         THE WITNESS:        Yes.
       6              Q.         (BY MR. BOWER)         And what did
       7      you mean by "Here's contact"?
       8              A.         So when we sent the initial
       9      email, or fax, in 2017, we were curious as to
      10      what response, if any, we would receive from
      11      the DEA to the change from our reporting.
      12              Q.         And what response did you
      13      receive?
      14              A.         This is the only contact we
      15      received.
      16              Q.         And did Ms. Johnson keep you
      17      posted?
      18              A.         I actually do not recall what
      19      came of this conversation.
      20              Q.         Well, what came of this
      21      conversation is Walmart gets out of the
      22      business; right?
      23                         MS. FUMERTON:        Objection, form.
      24              Lack of foundation.
      25                         THE WITNESS:        Yeah, I don't

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       1              know the -- I am definitely not making
       2              that correlation between this.
       3              Q.         (BY MR. BOWER)         Well, let's
       4      just talk about the facts; right?
       5                         This is in January 19, 2018;
       6      right?
       7              A.         Yes.
       8              Q.         So when the DEA contacts
       9      Walmart regarding suspicious order reports;
      10      right?
      11              A.         Yes.
      12              Q.         Walmart gets out of the
      13      business of distributing controlled
      14      substances soon thereafter; correct?
      15                         MS. FUMERTON:        Objection, form.
      16                         THE WITNESS:        Yes, but that was
      17              definitely a much longer project.
      18              Q.         (BY MR. BOWER)         And how do you
      19      know that?
      20              A.         I've testified that I signed an
      21      NDA in early 2018, and that would have been
      22      in the process before.             I definitely wasn't
      23      brought in at the grand -- at the opening of
      24      such a discussion, at my level, and it was a
      25      big shift, and so it took work to get done.

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       1              Q.         And who -- do you have any
       2      information as to who did that work to get it
       3      done?
       4                         MS. FUMERTON:        Objection, form.
       5                         THE WITNESS:        There was a lot
       6              of different teams that were involved.
       7              Q.         (BY MR. BOWER)         And who was
       8      involved?
       9              A.         Replenishment.         Our team was
      10      involved.       And I'm sure there were other
      11      teams.     I know for sure replenishment and our
      12      team were involved.
      13              Q.         And what specifically are you
      14      referring to now when you say "involved"?
      15      Involved in what?
      16              A.         Involved in the switch, like in
      17      paperwork.
      18              Q.         Okay.     And my question more is
      19      focused on the process to make the change.
      20      Okay?
      21                         Was your team involved in the
      22      decision to make the change?
      23                         MS. FUMERTON:        Objection, form.
      24                         THE WITNESS:        Absolutely not.
      25              Q.         (BY MR. BOWER)         Who was

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       1      involved in that decision?
       2                         MS. FUMERTON:        Objection, form.
       3              Lack of foundation.
       4                         MR. BOWER:       Do you know --
       5              strike that.
       6              Q.         (BY MR. BOWER)         Do you know who
       7      was involved in Walmart's decision to change
       8      the distribution of controlled substances to
       9      McKesson?
      10              A.         I am not.
      11              Q.         (BY MR. BOWER)         Do you know who
      12      would know the answer to that question?
      13              A.         I do not.
      14                         MS. FUMERTON:        And, Zach, you
      15              have just three minutes left on the
      16              record.
      17                         MR. BOWER:       How much time do we
      18              have left?
      19                         THE VIDEOGRAPHER:          More like
      20              six.
      21                         MS. FUMERTON:        I stand
      22              corrected.
      23                         MR. BOWER:       So let me just
      24              finish up this email, and then we'll
      25              take a quick break and I'll finish up.

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       1                         MS. FUMERTON:        Okay.
       2              Q.         (BY MR. BOWER)         So just at the
       3      top of this email, you write to Ms. Johnson,
       4      "In the SOM folder there is a folder
       5      DEA/state reports."
       6                         Do you see that?
       7              A.         Yes.
       8              Q.         What does that refer to?
       9              A.         That is where the different
      10      reports that were sent out would be stored.
      11                         MR. BOWER:       Okay.     Thank you.
      12              Why don't we just take a quick break.
      13                         MS. FUMERTON:        Okay.
      14                         MR. BOWER:       We can keep it
      15              quick.
      16                         THE VIDEOGRAPHER:          5:34.     We
      17              are off the video record.
      18                         (Recess taken, 5:34 p.m. to
      19              5:42 p.m.)
      20                         THE VIDEOGRAPHER:          5:42.     We
      21              are on the video record.
      22                         (Walmart-Reed Deposition
      23              Exhibit 20, was marked for
      24              identification.)
      25              Q.         (BY MR. BOWER) We are back on

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       1      the record.        I just have two quick --
       2      hopefully -- documents I'm going to show you.
       3      I'm going to give them to you one at a time
       4      so we can hopefully move quickly through
       5      them.     Exhibit 20.        Bates No. 28865 through
       6      66.
       7                         And my only question on this
       8      document -- or the only thing I want to
       9      discuss on this document is a reference to
      10      Kristy's email to you regarding SOM audits
      11      from 6045.
      12                         On the bottom of that page, the
      13      first part of the email from Kristy to
      14      yourself and Miranda Johnson.                "Roxy/Miranda,
      15      As we've been working on SOM audits from
      16      6045?"
      17                         Do you see that?
      18              A.         Yes.
      19              Q.         Do you know what that refers
      20      to?
      21              A.         I do not.
      22              Q.         We'd have to ask Kristy that?
      23              A.         Yes.
      24              Q.         Okay.
      25                         (Walmart-Reed Deposition

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       1              Exhibit 21, was marked for
       2              identification.)
       3              Q.         (BY MR. BOWER)         The next
       4      document is marked Exhibit 21.                Bates
       5      No. 46437.
       6                         Oh, sorry.       That's not the
       7      first page.        The first page is 46435 through
       8      46441, and then my questions are on
       9      page 46437, and they relate to your
      10      nomination on -- for a quarterly impact
      11      award.
      12                         Do you see that, on page 3
      13      there of the document?
      14                         "Nominee, Roxy Reed, Senior
      15      Analyst, Health and Wellness Compliance
      16      Controlled Substances."
      17                         Do you see that?
      18              A.         Yes.
      19              Q.         Do you recall being nominated?
      20              A.         I do not.
      21              Q.         Do you recall developing a
      22      process for analyzing data that would
      23      identify appropriate dispensing as reflected
      24      here?
      25                         MS. FUMERTON:        Objection, form,

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       1              and this is now getting back into a
       2              much longer topic.           She hasn't said
       3              this is going to refresh her
       4              recollection.
       5                         I mean, if there's a way to do
       6              that shortly, but ...
       7                         Answer the question.
       8                         THE WITNESS:        No, I'd have to
       9              read this a little bit more to -- and
      10              I'm not sure this would give me the
      11              information I need to refresh my
      12              recollection.
      13              Q.         (BY MR. BOWER)         Okay.     Well,
      14      what about the -- at the bottom of the page,
      15      where it says, "She has been instrumental in
      16      helping us meet our board of directors'
      17      objectives related to suspicious order
      18      monitoring this year."
      19                         Do you see that?
      20              A.         I do.
      21              Q.         Do you know what that refers
      22      to?
      23              A.         I do not.
      24              Q.         You don't know what the "board
      25      of directors' objectives" refers to?

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       1              A.         I know that the board of
       2      director has objectives.             I don't know what
       3      the specific one was regarding suspicious
       4      order monitoring.
       5              Q.         (BY MR. BOWER)         Do you have any
       6      reason to disagree that they had an objective
       7      related to suspicious order monitoring for
       8      this year?
       9                         MS. FUMERTON:        Objection, form.
      10                         THE WITNESS:        Based on this,
      11              I'm assuming yes, there was a board of
      12              director objective.
      13              Q.         (BY MR. BOWER)         And you would
      14      assume that this document would be accurate;
      15      right?
      16                         MS. FUMERTON:        Objection, form.
      17              And I'll actually object that
      18              apparently there's a cover email that
      19              was produced with this that's missing
      20              that would have given more context.
      21                         So I object to the exhibit in
      22              its entirety.
      23                         MR. BOWER:       You can object to
      24              it.
      25              Q.         (BY MR. BOWER)         The question

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       1      is, do you have any reason to doubt the
       2      veracity of this statement in this document?
       3                         MS. FUMERTON:        Objection, form.
       4              She's testified that she has no
       5              knowledge of it.
       6                         THE WITNESS:        I don't even know
       7              who put in the recommendation, so I --
       8              I wouldn't know their level of
       9              involvement and so I -- I don't know
      10              that I can answer that, because I
      11              really don't know.
      12              Q.         (BY MR. BOWER)         Well, the --
      13                         MS. FUMERTON:        And you're
      14              over -- we're over --
      15                         She says she doesn't know.
      16              This does not refresh her
      17              recollection, that she has no
      18              knowledge of that document, and we're
      19              over our seven hours.
      20                         MR. BOWER:       Well, look.        We're
      21              over our seven hours for a variety of
      22              reasons, a lot of which was discussion
      23              with counsel on the record, so I'm
      24              going to -- do you want to cut me off?
      25                         I have a few more questions.

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       1              It's your decision.
       2                         MS. FUMERTON:        We're ending the
       3              deposition.
       4                         Are we at seven hours?
       5                         We're ending the deposition.
       6                         MR. BOWER:       Okay.
       7                         And just for the record, I do
       8              have more questions on this document,
       9              and other documents, and we will keep
      10              the deposition open from our
      11              perspective based on the witness's
      12              refusal to answer certain questions
      13              that were raised today based on the
      14              lack of documents, including the
      15              nondisclosure agreement, and based on
      16              the other reasons discussed on the
      17              record today.
      18                         MS. FUMERTON:        Okay.      Well, we
      19              obviously disagree with that, but that
      20              will be, I'm sure, a fight for another
      21              day.
      22                         THE VIDEOGRAPHER:          5:47 p.m.
      23              We are off the video record.
      24                         This concludes the video
      25              deposition.

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       1                         (Proceedings recessed at
       2              5:47 p.m.)
       3                                 --o0o--
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       1                       CERTIFICATE
       2                 I, DEBRA A. DIBBLE, Registered
              Diplomate Reporter, Certified Realtime
       3      Reporter, Certified Realtime Captioner,
              Certified Court Reporter and Notary Public,
       4      do hereby certify that prior to the
              commencement of the examination, ROXANNE REED
       5      was duly sworn by me to testify to the truth,
              the whole truth and nothing but the truth.
       6
                         I DO FURTHER CERTIFY that the
       7      foregoing is a verbatim transcript of the
              testimony as taken stenographically by and
       8      before me at the time, place and on the date
              hereinbefore set forth, to the best of my
       9      ability.
      10                 I DO FURTHER CERTIFY that pursuant
              to FRCP Rule 30, signature of the witness was
      11      not requested by the witness or other party
              before the conclusion of the deposition.
      12
                         I DO FURTHER CERTIFY that I am
      13      neither a relative nor employee nor attorney
              nor counsel of any of the parties to this
      14      action, and that I am neither a relative nor
              employee of such attorney or counsel, and
      15      that I am not financially interested in the
              action.
      16
      19      __________________________________
              DEBRA A. DIBBLE, RDR, CRR, CRC
      20      NCRA Registered Diplomate Reporter
              NCRA Certified Realtime Reporter
      21      Certified Court Reporter
      22
              Dated: 15 January 2019
      23
      24
      25

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       1                      INSTRUCTIONS TO WITNESS
       2

       3                      Please read your deposition over
       4      carefully and make any necessary corrections.
       5      You should state the reason in the
       6      appropriate space on the errata sheet for any
       7      corrections that are made.
       8                      After doing so, please sign the
       9      errata sheet and date it.
      10                      You are signing same subject to
      11      the changes you have noted on the errata
      12      sheet, which will be attached to your
      13      deposition.
      14                      It is imperative that you return
      15      the original errata sheet to the deposing
      16      attorney within thirty (30) days of receipt
      17      of the deposition transcript by you.                   If you
      18      fail to do so, the deposition transcript may
      19      be deemed to be accurate and may be used in
      20      court.
      21

      22

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       1                                 ERRATA
       2      Page    LINE     CHANGE
       3      ____    ____     _________________________________
       4              REASON: _______________________________
       5      ____    ____     _________________________________
       6              REASON: _______________________________
       7      ____    ____     _________________________________
       8              REASON: _______________________________
       9      ____    ____     _________________________________
      10              REASON: _______________________________
      11      ____    ____     _________________________________
      12              REASON: _______________________________
      13      ____    ____     _________________________________
      14              REASON: _______________________________
      15      ____    ____     _________________________________
      16              REASON: _______________________________
      17      ____    ____     _________________________________
      18              REASON: _______________________________
      19      ____    ____     _________________________________
      20              REASON: _______________________________
      21      ____    ____     _________________________________
      22              REASON: _______________________________
      23      ____    ____     _________________________________
      24              REASON: _______________________________
      25

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       1                   ACKNOWLEDGMENT OF DEPONENT
       2
       3
       4                      I, ROXANNE REED, do hereby certify
              that I have read the foregoing pages and that
       5      the same is a correct transcription of the
              answers given by me to the questions therein
       6      propounded, except for the corrections or
              changes in form or substance, if any, noted
       7      in the attached
              Errata Sheet.
       8
       9
      10
      11
      12      ___________________________________________
               ROXANNE REED                                          DATE
      13
      14
      15      Subscribed and sworn to before me this
      16      _______ day of _______________, 20 _____.
      17      My commission expires: _______________
      18
      19      _______________________________
      20      Notary Public
      21
      22
      23
      24
      25

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       1                           LAWYER'S NOTES
       2

       3      PAGE       LINE
       4      ____       ____        _____________________________
       5      ____       ____        _____________________________
       6      ____       ____        _____________________________
       7      ____       ____        _____________________________
       8      ____       ____        _____________________________
       9      ____       ____        _____________________________
      10      ____       ____        _____________________________
      11      ____       ____        _____________________________
      12      ____       ____        _____________________________
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      18      ____       ____        _____________________________
      19      ____       ____        _____________________________
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      21      ____       ____        _____________________________
      22      ____       ____        _____________________________
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      24      ____       ____        _____________________________
      25

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